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Director of the FULTON COUNTY               )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
MARY CAROLE COONEY, VERNETTA )
NURIDDIN, DAVID J. BURGE, STAN              )
MATARAZZO and AARON JOHNSON )
in their individual capacities and official )
capacities as members of the FULTON         )
COUNTY BOARD OF REGISTRATION )
AND ELECTIONS;                              )
                                            )
THE FULTON COUNTY BOARD OF                  )
REGISTRATION AND ELECTIONS;                 )
                                            )
MAXINE DANIELS, in her individual           )
capacity and her official capacity as       )
Director of VOTER REGISTRATIONS             )
AND ELECTIONS FOR DEKALB                    )
COUNTY;                                     )
                                            )
MICHAEL P. COVENY, ANTHONY                  )
LEWIS, LEONA PERRY, SAMUEL                  )
E. TILLMAN, and BAOKY N. VU                 )
in their individual capacities and official )
capacities as members of the DEKALB         )
COUNTY BOARD OF REGISTRATIONS )
AND ELECTIONS;                              )
                                            )
THE DEKALB COUNTY BOARD OF                  )
REGISTRATIONS AND ELECTIONS;                )
                                            )
JANINE EVELER, in her individual            )
capacity and her official capacity as       )
Director of the COBB COUNTY                 )
BOARD OF ELECTIONS AND                      )
REGISTRATION;                               )
                                            )
PHIL DANIELL, FRED AIKEN, JOE               )
PETTIT, JESSICA BROOKS, and                 )

                                        2
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DARRYL O. WILSON in their individual   )
capacities and official capacities as  )
members of the COBB COUNTY             )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
THE COBB COUNTY BOARD OF               )
ELECTIONS AND REGISTRATION;            )
                                       )
MERLE KING, in his individual capacity )
and his official capacity as Executive )
Director of the CENTER FOR ELECTION )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY; and                        )
                                       )
THE CENTER FOR ELECTION                )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY                             )
                                       )
      Defendants.                      )

PLAINTIFFS’ MOTION FOR LEAVE TO FILE AMENDED COMPLAINT

      COME NOW, Plaintiffs in the above-styled case to respectfully move this

Court to grant them leave to amend their Verified Complaint for Declaratory

Relief, Injunctive Relief, and Writ of Mandamus (“Original Complaint”) by

filing their Verified Amended Election Contest and Complaint for Declaratory

Relief, Injunctive Relief, Damages, and Writs of Mandamus (“Amended

Complaint”), attached as “Exhibit 1” (“Motion”). Furthermore, for the reasons

described below, Plaintiffs respectfully request that this Court either grant

Plaintiffs’ Motion without further briefing or set an expedited briefing schedule.




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I.    Statement of Facts

      1.       On July 3, 2017, Plaintiffs filed their Complaint with this Court. The

Original Complaint contains the following claims related to the June 20, 2017

Runoff Election between Karen Handel and Thomas Jonathan “Jon” Ossoff for

Georgia’s 6th Congressional District (“Runoff”) and Georgia’s unconstitutional

and illegal ballots and election system:

            1. A claim under Article II, Paragraph 1 of the Georgia Constitution for
               declaratory and injunctive relief based on plaintiffs’ rights to have
               elections “conducted in accordance with procedures provided by law”;

            2. A due process claim pursuant to 42 U.S.C. § 1983 for declaratory and
               injunctive relief;

            3. An equal protection claim pursuant to 42 U.S.C. § 1983 for
               declaratory and injunctive relief;

            4. An election contest of the Runoff pursuant to O.C.G.A. § 21-2-520 et
               seq., seeking declaratory and injunctive relief based on misconduct
               and irregularities in employing an unsecure, uncertified voting
               system;

            5. An election contest of the Runoff pursuant to O.C.G.A. § 21-2-520 et
               seq. seeking declaratory and injunctive relief based on misconduct and
               irregularities in using illegal ballots;

            6. A claim for declaratory and injunctive relief based on certain
               Defendants’ failure to recanvass votes upon requests pursuant to Ga.
               Comp. R. & Regs. 183-1-12;

            7. A claim for declaratory and injunctive relief based on certain
               Defendants’ failure to approve Georgia’s voting system pursuant to
               O.C.G.A. 21-2-379.2 and failure to certify the voting system pursuant
               to Ga. Comp. R. & Regs. 590-8-1-.01; and




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            8. A claim for a writ of mandamus requiring Secretary of State Brian
               Kemp to reexamine Georgia’s voting system pursuant to O.C.G.A.
               § 21-2-379.2(b).

      2.       Pursuant to election contest procedures, the Complaint was due to be

filed within 5 court days of the certification of the election, which occurred on June

26, 2017, leaving little time to work out the many details of Plaintiffs’ extensive

Complaint.

      3.       The Complaint is in various stages of service, with no responsive

pleadings having yet been filed.

      4.       Plaintiffs hereby seek to make the following changes to its claims by

filing the Amended Complaint:

            1. Adding as a Defendant Mr. Mark Wingate, who recently became a
               member of the Fulton County Board of Registration and Elections;

            2. Adding an additional mandamus claim against the Defendant
               members of State Board, the State Board, Daniels, members of the
               DeKalb Board, DeKalb Board, Eveler, members of the Cobb Board,
               Cobb Board, Barron, members of the Fulton Board, and Fulton Board,
               in their Official Capacities to require the use of legally compliant
               voting mechanisms in future elections;

            3. Removing the Center for Election Services from the caption and as a
               referenced party; those claims remain against its Executive Director,
               Merle King, in the Amended Complaint;

            4. Revising the relief sought to include nominal damages, attorneys’ fees
               and costs, and modified declaratory and injunctive relief;

            5. Removing the Defendants Barron and the members of the Fulton
               County Board of Registration and Elections from Plaintiff Coalition
               for Good Governance’s claim for declaratory and injunctive relief



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            based on certain Defendants’ failure to recanvass votes upon requests
            pursuant to Ga. Comp. R. & Regs. 183-1-12;

         6. Revising the capacity in which individuals have been sued with
            respect to certain claims:

                • Removing election contest claims against Defendants in their
                  individual capacities (retaining those claims against Defendants
                  only in their official capacities);

                • Adding Plaintiffs’ two 42 U.S.C. § 1983 claims against all
                  individual Defendants in their individual capacities (in addition
                  to the same claims against them in their official capacities)

         7. Adding additional exhibits, including a declaration and an additional
            affidavit;

         8. Revising language, fixing typos, including additional authority,
            modifying allegations, and changing the order of the claims;

         9. Adding a section under the caption to indicate the names of the
            candidates involved in the election contest.

II.   Argument and Citation to Supporting Authority

      Although Plaintiffs may usually amend a pleading “as a matter of course and

without leave of court at any time before entry of a pretrial order” (O.C.G.A. § 9-

11-15(a)), this case includes election contest claims, which are governed by special

procedures. For election contest claims, the Georgia Code states that, “[a]fter

filing, any petition … may be amended with leave of the court so as to include the

specification of additional grounds of contest, other relevant facts, or prayer for

further relief.” O.C.G.A. § § 21-2-524(g). Since this action includes both election-




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contest claims and non-election-contest claims, Plaintiffs have, in an abundance of

caution, sought leave of the court to amend its entire Complaint.

      Here, Plaintiffs wish to revise and supplement their factual allegations,

adjust their claims, and pray for further relief as listed above. They respectfully

request this Court grant them leave to do so.

      Additionally, Plaintiffs wish to add a new party in their Amended

Complaint. Plaintiffs request that the Court permit them to do so. Georgia Code

section § 9-11-21 provides, “Parties may be dropped or added by order of the court

on motion of any party… on such terms as are just.” Here, Mr. Wingate recently

became a member of the Fulton County Board of Registration and Elections (on

information and belief, this happened on July 1, 2017—two days before the

Complaint was filed). Mr. Wingate thereby became responsible for the election

systems that are at issue in this case and for which Plaintiffs seek, inter alia,

injunctive and declaratory relief. Accordingly, Plaintiffs respectfully request that

the Court permit them to add Mr. Wingate as a defendant in this case.

III. Conclusion

      For the above-stated reasons, Plaintiffs respectfully request that this Court

grant its Motion and grant them leave to file their Amended Complaint, attached

hereto, in accordance with O.C.G.A. § 21-2-524(g), O.C.G.A. § 9-11-15(a), and

O.C.G.A. § 9-11-21. Because this matter includes an election contest, Plaintiffs



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understand that the matter is to be handled with all due expediency. See O.C.G.A.

21-2-524 et seq. For that reason and because the Amended Complaint constitutes

an early and non-controversial refining of its claims, Plaintiffs respectfully request

that this Motion be granted without the need for a briefing from Defendants or, if it

deems briefing necessary, that the Court set an expedited briefing schedule.

      This 4th day of August 2017.

                                              /s/ Bryan Ward_________________
                                              Bryan Ward, Esq.
                                              Georgia Bar No. 736656
                                              Marvin Lim, Esq.
                                              Georgia Bar No. 147236
                                              Holcomb + Ward LLP
                                              3399 Peachtree Rd NE, Suite 400
                                              Atlanta, GA 30326
                                              (404) 601-2803 (office)
                                              (404) 393-1554 (fax)
                                              Bryan.Ward@holcombward.com
                                              Marvin@holcombward.com




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            IN THE SUPERIOR COURT OF FULTON COUNTY
                        STATE OF GEORGIA

DONNA CURLING, an individual;            )
                                         )
COALITION FOR GOOD                       )
GOVERNANCE, a non-profit corporation )
organized and existing under Colorado    )
Law;                                     )
                                         )
DONNA PRICE, an individual;              )
                                         )
JEFFREY SCHOENBERG, an individual; )
                                         )
LAURA DIGGES, an individual;             )
                                         )
WILLIAM DIGGES III, an individual;       )
                                         )
RICARDO DAVIS, an individual;            )
                                         )
             Plaintiffs,                 )
                                         )
      v.                                 )    CIVIL ACTION
                                         )    FILE NO.: 2017CV292233
BRIAN P. KEMP, in his individual         )
capacity and his official capacity as    )
Secretary of State of Georgia and        )
Chair of the STATE ELECTION BOARD; )
                                         )
DAVID J. WORLEY, REBECCA N.              )
SULLIVAN, RALPH F. “RUSTY”               )
SIMPSON, and SETH HARP, in their         )
individual capacities and their official )
capacities as members of the STATE       )
ELECTION BOARD;                          )
                                         )
THE STATE ELECTION BOARD;                )
                                         )
RICHARD BARRON, in his individual        )
capacity and his official capacity as    )

                                     9
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Director of the FULTON COUNTY               )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
MARY CAROLE COONEY, VERNETTA )
NURIDDIN, DAVID J. BURGE, STAN              )
MATARAZZO and AARON JOHNSON )
in their individual capacities and official )
capacities as members of the FULTON         )
COUNTY BOARD OF REGISTRATION )
AND ELECTIONS;                              )
                                            )
THE FULTON COUNTY BOARD OF                  )
REGISTRATION AND ELECTIONS;                 )
                                            )
MAXINE DANIELS, in her individual           )
capacity and her official capacity as       )
Director of VOTER REGISTRATIONS             )
AND ELECTIONS FOR DEKALB                    )
COUNTY;                                     )
                                            )
MICHAEL P. COVENY, ANTHONY                  )
LEWIS, LEONA PERRY, SAMUEL                  )
E. TILLMAN, and BAOKY N. VU                 )
in their individual capacities and official )
capacities as members of the DEKALB         )
COUNTY BOARD OF REGISTRATIONS )
AND ELECTIONS;                              )
                                            )
THE DEKALB COUNTY BOARD OF                  )
REGISTRATIONS AND ELECTIONS;                )
                                            )
JANINE EVELER, in her individual            )
capacity and her official capacity as       )
Director of the COBB COUNTY                 )
BOARD OF ELECTIONS AND                      )
REGISTRATION;                               )
                                            )
PHIL DANIELL, FRED AIKEN, JOE               )
PETTIT, JESSICA BROOKS, and                 )

                                       10
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DARRYL O. WILSON in their individual   )
capacities and official capacities as  )
members of the COBB COUNTY             )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
THE COBB COUNTY BOARD OF               )
ELECTIONS AND REGISTRATION;            )
                                       )
MERLE KING, in his individual capacity )
and his official capacity as Executive )
Director of the CENTER FOR ELECTION )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY; and                        )
                                       )
THE CENTER FOR ELECTION                )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY                             )
                                       )
              Defendants.              )

                       CERTIFICATE OF SERVICE

       The undersigned hereby certifies that Plaintiffs—through their attorney—
delivered a true and correct copy of their MOTION FOR LEAVE TO FILE
AMENDED COMPLAINT and VERIFIED AMENDED COMPLAINT FOR
DECLARATORY RELIEF, INJUNCTIVE RELIEF, AND WRITS OF
MANDAMUS—filed with the Court in the above-styled case—to the following
parties, as addressed, via United States First Class Mail:

      Defendants

      Secretary of State Brian Kemp and The State Election Board
      214 State Capitol
      Atlanta, Georgia 30334

      David J. Worley
      107 Regents Square
      Peachtree City, GA 30269



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Rebecca N. Sullivan
Georgia Department of Administrative Services
200 Piedmont Avenue, SE
Suite 1804, West Tower
Atlanta, Georgia 30334

Ralph F. Simpson
1020 N. College Avenue
Tifton, GA 31794

Seth Harp
936 Second Avenue
Columbus, GA 31901

Fulton County Board of Registration and Elections
130 Peachtree Street
Suite 2186
Atlanta, GA 30303

Richard Barron
707 Pershing Avenue, SE
Atlanta, GA 30312

Mary Carole Cooney
380 Robin Hood Road, NE
Atlanta, GA 30309

Vernetta Nuriddin
1233 Spring Park Drive, SW
Atlanta, GA 30311

David J. Burge
Smith, Gambrell, & Russell, LLP
1230 Peachtree Street, NE
Suite #3100
Atlanta, GA 30309




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Stan Matarazzo
3873 Roswell Road, NE
Apt. #15
Atlanta, GA 30342

Aaron Johnson
2918 Edgewater Street, SW
Atlanta, GA 30331

DeKalb County Board of Registrations and Elections
1300 Commerce Drive
Decatur, GA 30030

Maxine Daniels
1406 Saint Dustans Road
Lithonia, GA 30058

Michael P. Coveny
1716 Barkston Court
Atlanta, GA 30341

Anthony Lewis
3147 Flat Shoals Road
Decatur, GA 30034

Leona Perry
1808 Cashmere Court
Lithonia, GA 30058

Samuel E. Tillman
2283 Troutdale Drive
Decatur, GA 30032

Baoky N. Vu
517 Sycamore Drive
Decatur, GA 30030




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Cobb County Board of Elections and Registration
736 Whitlock Avenue, NW
Suite 400
Marietta GA 30064

Janine Eveler
2992 Goldfinch Circle
Marietta, GA 30066

Phil Daniell
1804 Milford Way, SW
Marietta, GA 30008

Fred Aiken
4020 Pineview Drive, SE
Smyrna, GA 30080

Joe Pettit
3300 Windy Ridge Parkway
Unit 1215
Atlanta, GA 30339

Jessica Brooks
1991 O'Shea Lane
Marietta, GA 30062

Darryl O. Wilson
3278 Yorktown Drive
Roswell, GA 30075

Merle King
Kennesaw State University
Center for Election Systems
3205 Campus Loop Road
Kennesaw, GA 30144




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Candidates

Representative Karen Handel
3085 Roxburgh Drive
Roswell, GA 30076

Jon Ossoff
c/o Russell D. Waldon, Esq.
900 Circle 75 Parkway
Suite 1040
Atlanta, GA 30339


This 4th day of August 2017.



                                    /s/ Bryan Ward
                                    Bryan Ward




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                    EXHIBIT 1
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           IN THE SUPERIOR COURT OF FULTON COUNTY
                       STATE OF GEORGIA

DONNA CURLING, an individual;            )
                                         )
COALITION FOR GOOD                       )
GOVERNANCE, a non-profit corporation )
organized and existing under Colorado    )
Law;                                     )
                                         )
DONNA PRICE, an individual;              )
                                         )
JEFFREY SCHOENBERG, an individual; )
                                         )
LAURA DIGGES, an individual;             )
                                         )
WILLIAM DIGGES III, an individual;       )
                                         )
RICARDO DAVIS, an individual;            )
                                         )
      Plaintiffs,                        )
                                         )
      v.                                 )    CIVIL ACTION
                                         )    FILE NO.: 2017CV292233
BRIAN P. KEMP, in his individual         )
capacity and his official capacity as    )
Secretary of State of Georgia and        )
Chair of the STATE ELECTION BOARD; )          DEMAND FOR
                                         )    JURY TRIAL
DAVID J. WORLEY, REBECCA N.              )
SULLIVAN, RALPH F. “RUSTY”               )
SIMPSON, and SETH HARP, in their         )
individual capacities and their official )
capacities as members of the STATE       )
ELECTION BOARD;                          )

                                     1
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                                            )
THE STATE ELECTION BOARD;                   )
                                            )
RICHARD BARRON, in his individual           )
capacity and his official capacity as       )
Director of the FULTON COUNTY               )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
MARY CAROLE COONEY, VERNETTA )
NURIDDIN, DAVID J. BURGE, STAN              )
MATARAZZO, AARON JOHNSON,                   )
and MARK WINGATE, in their individual )
capacities and official capacities as       )
members of the FULTON COUNTY                )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
THE FULTON COUNTY BOARD OF                  )
REGISTRATION AND ELECTIONS;                 )
                                            )
MAXINE DANIELS, in her individual           )
capacity and her official capacity as       )
Director of the DEKALB COUNTY               )
BOARD OF REGISTRATION AND                   )
ELECTIONS;                                  )
                                            )
MICHAEL P. COVENY, ANTHONY                  )
LEWIS, LEONA PERRY, SAMUEL                  )
E. TILLMAN, and BAOKY N. VU                 )
in their individual capacities and official )
capacities as members of the DEKALB         )
COUNTY BOARD OF REGISTRATION )
AND ELECTIONS;                              )
                                            )

                                        2
      Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 19 of 249




THE DEKALB COUNTY BOARD OF             )
REGISTRATION AND ELECTIONS;            )
                                       )
JANINE EVELER, in her individual       )
capacity and her official capacity as  )
Director of the COBB COUNTY            )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
PHIL DANIELL, FRED AIKEN, JOE          )
PETTIT, JESSICA BROOKS, and            )
DARRYL O. WILSON in their individual )
capacities and official capacities as  )
members of the COBB COUNTY             )
BOARD OF ELECTIONS AND                 )
REGISTRATION;                          )
                                       )
THE COBB COUNTY BOARD OF               )
ELECTIONS AND REGISTRATION;            )
                                       )
MERLE KING, in his individual capacity )
and his official capacity as Executive )
Director of the CENTER FOR ELECTION )
SYSTEMS AT KENNESAW STATE              )
UNIVERSITY; and                        )
                                       )
      Defendants.                      )
____________________________________)
                                       )
KAREN HANDEL and                       )
THOMAS JONATHAN OSSOFF                 )
                                       )
Candidates in Contested Election.      )
____________________________________)


                                    3
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           VERIFIED AMENDED ELECTION CONTEST AND
     COMPLAINT FOR DECLARATORY RELIEF, INJUNCTIVE RELIEF,
              DAMAGES, AND WRITS OF MANDAMUS


      COMES NOW, Plaintiffs, named above, to show this Honorable Court the
following for their Complaint against the above-named Defendants:


I.     INTRODUCTION

        Georgia’s 6th Congressional District voters can never know who was

legitimately elected on June 20, 2017 to become their Representative to the 115th

United States Congress. They know only the output of an undeniably compromised

voting system that—according to Plaintiffs and many of the nation’s most qualified

experts—generated a result that cannot reasonably be relied upon. To declare that

result to be will of the voters—as Defendants have done—is to engage in farce.

       The high-profile June 20, 2017 Runoff Election between Karen Handel and

Thomas Jonathan “Jon” Ossoff for Georgia’s 6th Congressional District

(“Runoff”) took place in an environment in which sophisticated hackers—whether

Russian or otherwise—had the capability and intent to manipulate elections in the

United States. These hackers not only had the capability, but they also had easy

access. From at least August 2016 through early March 2017, all the computer files

that a bad actor would need to manipulate the Runoff and all of Georgia’s

elections—including tabulation database programs, voting system passwords,


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programs used to create voting machine memory cards, and voter registration

information—were left out in the open on the internet, without requiring so much

as a password to obtain. Without solving these known issues, Defendants willfully

conducted the Runoff almost entirely on illegal, unverifiable electronic ballots for

which discrepancies cannot be corrected, providing perfect cover for electronic

manipulation.

      The speculative nature of the Runoff’s purported result was caused by

Defendants’ willful violation of numerous mandatory requirements of Georgia’s

Election Code, O.C.G.A. Title 21, Chapter 2 (“Election Code”). These

requirements prohibited the use of the voting systems that were employed and the

resulting certification of their results. Furthermore, Defendants abridged electors’

statutory rights of recanvass—rights the electors invoked to attempt to address

suspected irregularities in the post-election process prior to the certification of the

election results.

      This action seeks to set aside the purported result of the Runoff to ensure

that 6th Congressional District electors have the free and fair elections to which

they are entitled pursuant to the federal Constitution, federal statutory civil rights

law, the Georgia Constitution, Georgia statutory law, and Georgia regulations

governing elections. It also seeks injunctive relief to ensure that upcoming

elections meet statutory and constitutional guarantees.


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II.      PARTIES

         A.      PLAINTIFFS

                                                  1.

         Plaintiff DONNA CURLING (“Curling”) is an elector of the State of

Georgia and a resident of Fulton County and the 6th Congressional District of the

State of Georgia. Curling is a member of the COALITION FOR GOOD

GOVERNANCE. Curling is a Georgia elector who requested that Secretary of

State Brian P. Kemp (“Secretary Kemp”) reexamine Georgia’s Voting System.1

Curling is an “aggrieved elector who was entitled to vote” for a candidate in the

Runoff under Georgia Code Section 21-2-521. Furthermore, the Optical Scanning

System2 under which she cast her vote substantially burdens her right to vote as the

system was fundamentally insecure during the Runoff, is not compliant with

applicable statutes, and cannot be reasonably relied upon to have properly recorded

and counted her vote or the votes of other electors. Curling experienced

considerable inconvenience to cast her vote by paper absentee ballot so as to

ensure that her vote was permanently recorded on an independent record that could

be recounted in an election contest and to avoid the risk of voting on non-


1
  “Georgia’s Voting System” is defined below in Section IV.B.1, ¶ 55. Georgia’s Voting System
includes both a DRE system and an optical scanning system that share certain underlying
components but are governed by separate statutory schemes, as discussed below.
2
    “Optical Scanning System” is defined below in Section IV.B.1, ¶¶ 55; 59 – 60.



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compliant Direct Recording Electronic (“DRE”) machines used in Georgia’s DRE

System.3 Curling intends to vote in the upcoming November municipal elections in

the City of Roswell and wishes to vote in her neighborhood precinct on election

day. Without the intervention of this Court, Curling will be forced to cast her

ballots under a system that substantially burdens her right to vote as Georgia’s

Voting System is fundamentally insecure, illegally employed, and cannot be

reasonably relied upon to record and count properly her votes or the votes of other

electors. As such, she has standing to bring her claims.

                                                 2.

         Plaintiff COALITION FOR GOOD GOVERNANCE (“CGG”) (formerly

Rocky Mountain Foundation) is a non-profit corporation organized and existing

under the laws of the State of Colorado. CGG’s purpose is to advance the

constitutional liberties and individual rights of citizens, with an emphasis on

elections. CGG is a membership organization and its membership includes

Curling, Donna Price, Ricardo Davis, and other electors of the State of Georgia

who reside in, variously, Fulton County, Cobb County, DeKalb County, the 6th

Congressional District of the State of Georgia, and various municipalities that will

conduct elections in November 2017. Several of CGG’s Georgia elector members

voted in the Runoff, with some using the DRE System and some using the Optical

3
    “DRE System” is defined below in Section IV.B.1, ¶¶ 55 – 57.



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Scanning System. Depending on the method of voting, members were subjected to

a system that provided unequal treatment and differing weights to their votes and

that abridged their rights to recanvass.

                                           3.

      Plaintiff CGG has associational standing to bring this complaint on behalf of

CGG’s Georgia individual elector members because (1) those members would

otherwise have standing to sue in their own right; (2) the interests CGG seeks to

protect are germane to CGG’s purpose; and because (3) with the exception of

Counts VI and VII, the relief requested herein does not require the participation of

CGG’s individual Georgia elector members in the lawsuit.

                                           4.

      Plaintiff DONNA PRICE (“Price”) is an elector of the State of Georgia and

a resident of DeKalb County. Price is a Georgia elector who requested that

Secretary Kemp reexamine Georgia’s Voting System. She plans to vote in all

future elections for which she is an eligible elector. Without the intervention of this

Court, Price will be forced to cast her ballots under a system that substantially

burdens her right to vote as Georgia’s Voting System is fundamentally insecure,

illegally employed, and cannot be reasonably relied upon to record and count

properly her votes or the votes of other electors. As such, she has standing to bring

her claims.


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                                          5.

      Plaintiff JEFFREY SCHOENBERG (“Schoenberg”) is an elector of the

State of Georgia and a resident of DeKalb County and the 6th Congressional

District of the State of Georgia. Schoenberg is an “aggrieved elector who was

entitled to vote” for a candidate in the Runoff under O.C.G.A. § 21-2-521.

Furthermore, the DRE System under which he cast his vote substantially burdens

his right to vote as the system is fundamentally insecure, illegally employed, and

cannot be reasonably relied upon to have recorded and counted properly his vote or

the votes of other electors. He is a registered elector in the City of Dunwoody and

plans to vote in the November 2017 municipal election. Without the intervention of

this Court, Schoenberg will be forced to cast his ballots under a system that

substantially burdens his right to vote as Georgia’s Voting System is

fundamentally insecure, illegally employed, and cannot be reasonably relied upon

to record and count properly his votes or the votes of other electors. As such, he

has standing to bring his claims.

                                          6.

      Plaintiff LAURA DIGGES (“L. Digges”) is an elector of the State of

Georgia and a resident of Cobb County and the 6th Congressional District of the

State of Georgia. L. Digges is an “aggrieved elector who was entitled to vote” for a

candidate in the Runoff under Georgia Code Section 21-2-521. Furthermore, the


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Optical Scanning System under which she cast her vote substantially burdens her

right to vote as the system is fundamentally insecure, not compliant with applicable

statutes, and cannot be reasonably relied upon to have recorded and counted

properly her vote or the votes of other electors. L. Digges experienced considerable

inconvenience to cast her vote by paper absentee ballot to ensure that her vote was

permanently recorded on an independent record that could be recounted in an

election contest. L. Digges plans to vote in all future elections in which she is

eligible. Without the intervention of this Court, L. Digges will be forced to cast her

ballots under a system that substantially burdens her right to vote as Georgia’s

Voting System is fundamentally insecure, illegally employed, and cannot be

reasonably relied upon to record and count properly her votes or the votes of other

electors. As such, she has standing to bring her claims.

                                           7.

      Plaintiff WILLIAM DIGGES III (“W. Digges”) is an elector of the State of

Georgia and a resident of Cobb County and the 6th Congressional District of the

State of Georgia. W. Digges is an “aggrieved elector who was entitled to vote” for

a candidate in the Runoff under Georgia Code Section 21-2-521. Furthermore, the

Optical Scanning System under which he cast his vote substantially burdens his

right to vote as the system is fundamentally insecure, not compliant with applicable

statutes, and cannot be reasonably relied upon to have recorded and counted


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properly his vote or the votes of other electors. W. Digges experienced

considerable inconvenience to cast his vote by paper absentee ballot to avoid the

risk of a DRE ballot and ensure that his vote was permanently recorded on an

independent record that could be recounted in an election contest. W. Digges plans

to vote in all future elections in which he is eligible. Without the intervention of

this Court, W. Digges will be forced to cast his ballots under a system that

substantially burdens his right to vote as Georgia’s Voting System is

fundamentally insecure, illegally employed, and cannot be reasonably relied upon

to record and count properly his votes or the votes of other electors. As such, he

has standing to bring his claims.

                                           8.

      Plaintiff RICARDO DAVIS (“Davis”) is an elector of the State of Georgia

and a resident of Cherokee County. Davis is a Georgia elector who requested that

Secretary Kemp reexamine Georgia’s Voting System. Davis plans to vote in all

future elections in which he is eligible. Without the intervention of this court,

Davis will be forced to cast his ballots under a system that substantially burdens

his right to vote as Georgia’s Voting System is fundamentally insecure, illegally

employed, and cannot be reasonably relied upon to record and count properly his

votes or the votes of other electors. As such, he has standing to bring his claims.




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      B.     DEFENDANTS

                                           9.

      Defendant BRIAN P. KEMP (“Kemp” or “Secretary Kemp”) is the

Secretary of State of Georgia and, in that role, is also Chair of the State Election

Board. Secretary Kemp is and was, for the Runoff, responsible for the orderly and

accurate administration of Georgia’s electoral processes. This responsibility

includes the duty to approve the use of legally compliant voting systems and to

conduct any reexaminations of Georgia’s DRE System and Optical Scanning

System currently in use, upon request or at his own discretion. See O.C.G.A. § 21-

2-379.2(a)-(c); O.C.G.A. § 21-2-368(a)-(c); O.C.G.A. § 21-2-50.

                                           10.

      Defendants DAVID J. WORLEY, REBECCA N. SULLIVAN, RALPH F.

“RUSTY” SIMPSON, and SETH HARP (“Members of the State Election Board”)

are members of the State Election Board in Georgia. As members, they are, and

were for the Runoff, responsible for (1) promulgating rules and regulations to

ensure the legality and purity of all elections, (2) investigating frauds and

irregularities in elections, and (3) reporting election law violations to the Attorney

General or appropriate district attorney. See O.C.G.A. § 21-2-31.




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                                            11.

      Defendant STATE ELECTION BOARD (“State Board”) is, and was for the

Runoff, responsible for (1) promulgating rules and regulations to ensure the

legality and purity of all elections, (2) investigating frauds and irregularities in

elections, and (3) reporting election law violations to the Attorney General or

appropriate district attorney. See O.C.G.A. § 21-2-31.

                                            12.

      Defendant RICHARD BARRON (“Barron”) is the Director of the Fulton

County Board of Registration and Elections. As such, he was responsible for

conducting the April 18, 2017 Special Election for Georgia’s 6th Congressional

District (“Special Election”) and Runoff in Fulton County and continues to have

such responsibility for upcoming elections.

                                            13.

      Defendants MARY CAROLE COONEY, VERNETTA NURIDDIN,

DAVID J. BURGE, STAN MATARAZZO, AARON JOHNSON and MARK

WINGATE (“Members of Fulton County Board of Registration and Elections”)

are members of the Fulton County Board of Registration and Elections, other than

Stan Matarazzo, who, on information and belief, was a member of the Fulton

County Board of Registration and Elections until he was replaced by Mark

Wingate. As members, they (other than Mark Wingate) were responsible for


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conducting the Special Election and Runoff in Fulton County, and they (other than

Stan Matarazzo) continue to have such responsibility for future elections in Fulton

County.

                                          14.

      Defendant FULTON COUNTY BOARD OF REGISTRATION AND

ELECTIONS (“Fulton Board”) is and was, for the Special Election and the Runoff,

responsible for conducting elections in Fulton County.

                                          15.

      Defendant MAXINE DANIELS (“Daniels”) is the Director of the DeKalb

County Board of Registration and Elections for DeKalb County. As such, she is,

and was for the Special Election and the Runoff, responsible for conducting the

elections in DeKalb County.

                                          16.

      Defendants MICHAEL P. COVENY, ANTHONY LEWIS, LEONA

PERRY, SAMUEL E. TILLMAN, and BAOKY N. VU (“Members of DeKalb

County Board of Registration and Elections”) are members of the DeKalb County

Board of Registration and Elections. As members, they were responsible for

conducting the Special Election and Runoff in DeKalb County and continue to

have such responsibility for future elections in DeKalb County.




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                                          17.

      Defendant DEKALB COUNTY BOARD OF REGISTRATION AND

ELECTIONS (“DeKalb Board”) is, and was for the Special Election and the

Runoff, responsible for conducting elections in DeKalb County.

                                          18.

      Defendant JANINE EVELER (“Eveler”) is the Director of the Cobb County

Board of Elections and Registration. As such, she is, and was for the Special

Election and the Runoff, responsible for conducting the elections in Cobb County.

                                          19.

      Defendants PHIL DANIELL, FRED AIKEN, JOE PETTIT, JESSICA

BROOKS, and DARRYL O. WILSON (“Members of Cobb County Board of

Elections and Registration”) are members of the Cobb County Board of Elections

and Registration. As members, they were responsible for conducting the Special

Election and Runoff in Cobb County and continue to have such responsibility for

future elections in Cobb County.

                                          20.

      Defendant COBB COUNTY BOARD OF ELECTIONS AND

REGISTRATION (“Cobb Board”) is, and was for the Special Election and the

Runoff, responsible for conducting elections in Cobb County.




                                         15
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                                            21.

      Defendant MERLE KING (“King”) is Executive Director of the Center for

Election Systems at Kennesaw State University. As such, he was responsible for

overseeing, managing, and securing the electronic election infrastructure for the

State of Georgia, including portions of both the DRE System and the Optical

Scanning System, and creating Georgia’s ballots used in both the Special Election

and the Runoff. King is expected to have these responsibilities for the remainder of

2017 and some part of 2018.

      C.     CANDIDATES

                                            22.

      Candidate KAREN HANDEL (“Handel”) was certified the winner of the

Runoff on June 26, 2017 and was sworn into the United States House of

Representatives on that date. Under the provisions of Georgia Code Section 21-2-

524(f), Handel is deemed to be a litigant in this action.

                                            23.

      Candidate THOMAS JONATHAN “JON” OSSOFF (“Ossoff”) was a

candidate in the Runoff. Under the provisions of Georgia Code Section 21-2-

524(f), Ossoff is deemed to be a litigant in this action.




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III.   JURISDICTION AND VENUE

                                          24.

       Plaintiffs bring claims under the United States Constitution, the Georgia

Constitution, and the laws, rules, and regulations of the State of Georgia. This

Court has jurisdiction based upon Georgia Code Sections 9-4-1 to -10 to grant

declaratory relief; based on Georgia Code Sections 9-5-1 to -11 to grant injunctive

relief; and based upon Georgia Code Sections 9-6-20 to -28 to grant relief by way

of issuing writs of mandamus. The Fulton County Superior Court has jurisdiction

to hear the election contest contained herein based upon Georgia Code Section 21-

2-523. Id. (“A contest case governed by this article shall be tried and determined

by the superior court of the county where [a] defendant resides.”)

                                          25.

       Venue in this Court is proper under Georgia Code Section 9-10-30 because

Fulton County is the county of residence of at least one of the Defendants against

whom substantial equitable relief is prayed. The principal office of the Secretary of

State’s Elections Divisions is located at 2 Martin L. King Jr. Drive SE, Suite 1104,

Atlanta, Fulton County, Georgia, 30334. As such, jurisdiction and venue are proper

in this Court.




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IV.   FACTUAL BACKGROUND

      A.     Georgia’s Voting System Was Breached and Its Systems Exposed
             for at Least Seven Months.

                                           26.

      In August of 2016 Logan Lamb (“Lamb”), a professional cybersecurity

expert was curious about the Center for Election Systems at Kennesaw State

University (“CES”), an entity, directed by King, that served as an agent for the

Secretary of State, responsible for overseeing, maintaining, and securing the

electronic election infrastructure for the state of Georgia. Lamb discovered that he

was able to access key parts of Georgia’s electronic election infrastructure through

CES’s public website on the internet, without so much as entering a password.

(See, generally, Affidavit of Logan Lamb, June 30, 2017, attached as “Exhibit A.”)

                                           27.

      In accessing these election files, Lamb discovered numerous critical

vulnerabilities. For one, CES, under King’s direction, had improperly configured

its server and also failed to patch a security flaw, publicly known since 2014, that

could execute, create, copy, modify, or delete anything on CES’ server. (See

Exhibit A, ¶ 5.) These vulnerabilities allowed anyone to access the internal

executable files and election information stored on CES’s servers such as the

following:

           • Global Election Management Systems (“GEMS”) server databases;


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            • Executable files;

            • PDFs with instructions and passwords for election workers to sign in

               to a central server on Election Day; and

            • a database containing registration records, including private,

               personally identifying information for the state’s voters.

(See id., ¶4.) On information and belief, Lamb also discovered software files for

the state’s electronic pollbooks and county election databases used to prepare paper

and electronic ballots, tabulate votes, and produce summaries of vote totals.

                                            28.

      In addition, the documents Lamb discovered included training videos, at

least one of which “instructed users to first download files from the

elections.kennesaw.edu website, put those files on a memory card, and insert that

card into their local county voting systems.” (Exhibit A, ¶11.) This would be a

serious security concern, allowing malicious software to be uploaded to voting

machines in Georgia simply through the public portal that Lamb had easily

accessed.

                                            29.

      The files that Lamb discovered constituted everything a bad actor (such as a

hacker) would need in order to interfere with the election and manipulate its

outcome.


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                                          30.

      It is unknown how long King had left this data exposed before Lamb

discovered it.

                                          31.

      Lamb immediately alerted King to the serious security vulnerabilities that he

had discovered, advising King that CES should “[a]ssume any document that

requires authorization has already been downloaded without authorization.”

(Exhibit A, ¶5.)

                                          32.

      King did not remediate the vulnerabilities to secure CES’ system. (Exhibit

A, ¶7.)

                                          33.

      Seven months after Lamb was able to access critical information concerning

Georgia’s Voting System via CES’s publicly available website on the internet,

another cybersecurity expert was able to do the same. On or about March 1, 2017,

Chris Grayson (“Grayson”), a colleague of Lamb’s, discovered that King had not

fixed all of the security issues identified by Lamb in August 2016. That is, from at

least August of 2016 to March of 2017—a time period that overlapped with known

attempts by Russia to hack elections in the United States—King left exposed for

anyone on the internet to see and potentially manipulate: election-related


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applications, passwords for the central server, and private voter registration

records.4

                                               34.

       On information and belief, King had failed to patch the known security flaw

from 2014 on CES’ server despite the FBI’s explicit recommendation that

responsible parties “[e]nsure all software and applications … are fully patched.”

(Email Brian D. Newby, Executive Director, Election Assistance Commission to

Kemp et al., August 23, 2016, attached as “Exhibit B,” p 5.)

                                               35.

       Lamb confirmed Grayson’s findings. Lamb then determined that he was still

able to download information he had accessed in August 2016, as well as new

information, including more recent database files and passwords. (Exhibit A, ¶8.)

                                               36.

       On information and belief, when Lamb notified King of the issue in August

2016, King told him, “It would be best if you were to drop this now,” and warned




4
 Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 (last visited July 27, 2017).



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that, if Lamb talked, “the people downtown, the politicians … would crush

[him].”5

                                               37.

       This time, in March 2017, rather than notifying King directly, Grayson

notified Andrew Green, a colleague and a faculty member at Kennesaw State

University (“KSU”). (See email chain from Merle King to Stephen Gay, dated

March 1, 2017, attached as “Exhibit C.”) Mr. Green then notified KSU’s

University Information Technology Services (“UITS”) Information Security

Office, which in turn notified King. (Id.) KSU’s UITS Information Security Office

is not directly affiliated with CES. (See KSU UITS Information Security Office,

“Incident Report,” April 18, 2017, attached as “Exhibit D.”)

                                               38.

       Within an hour of Grayson’s notification, the KSU UITS Information

Security Office established a firewall to isolate CES’s server. (See Exhibit D, pp.

1-2.) King took no such action after Lamb’s notification in August 2016.

                                               39.

       The day after Grayson’s notification, the KSU UITS Information Security

Office seized CES’s server to preserve evidence “for later analysis and handoff to

5
 Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 (last visited July 27, 2017).



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federal authorities.” (Exhibit D, p. 2.) King took no such action after Lamb’s

notification in August 2016.

                                          40.

      Two days after Grayson’s notification, the FBI was alerted and took

possession of the server. (See Exhibit D, p. 1.) King took no such action after

Lamb’s notification in August 2016.

                                          41.

      The KSU UITS Information Security Office physically removed the backup

server. (See Exhibit D.) King took no such action after Lamb’s notification in

August 2016.

                                          42.

      The KSU UITS Information Security Office also noted the presence of a

wireless access point in the CES facility and live access to an external network in

the private network closet. (See Exhibit D, pp. 3 – 4.)

                                          43.

      Although system security was a key responsibility of King and CES, the

“Incident Report” also found that no security assessment had been performed on

the supposedly isolated CES network. (See Exhibit D, p. 4.)




                                         23
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                                          44.

      While KSU UITS Information Security Office was attempting to correct the

multiple security failures at CES, King was, on information and belief, bringing its

backup server online. (See email chain from Michael Barnes, Director CES, to

King, dated March 4, 2017, attached as “Exhibit E.”) On March 3, 2017, King

brought the CES backup server online, and, on March 4, 2017, KSU UITS

Information Security Office discovered that, in doing so, King had again exposed

confidential information. (See id.)

                                          45.

      The backup server hosted election databases and programs similar to those

Lamb and Grayson had accessed, all available without authentication or

authorization to people on the campus network. (See Exhibit E, pp. 2 – 3.)

                                          46.

      On March 4, 2017, shortly after discovering that the backup server was on

line, KSU UTIS requested that the server be shut down until further assessment

could be made and sensitive data protected. The server was reportedly shut down

approximately one and a half hours later, at about 7:00 pm. (See Exhibit E.)

                                          47.

      This at least seven-month long security breach constituted just one example

of the irregularities and misconduct preceding and associated with the Runoff, as


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detailed below. Further, even if the security breaches resulted in no detectable

manipulation of the Runoff election process, the DRE system employed did not

and can never meet Georgia’s statutory requirements. Nevertheless, on June 20,

2017, the Runoff was held to fill a vacancy left by the previous incumbent,

Congressman Tom Price, and was conducted as if such security failures had not

occurred. On the evening of June 26, 2017, within minutes of the certification of

the result from DeKalb County, the final county to certify the result, Secretary

Kemp, fully aware of the security failures, certified Handel as the winner of the

election.6 As noted below, the Runoff and certification of Handel were undertaken

in violation of Plaintiffs’ constitutional and statutorily protected rights.

       B.      Defendants Violated Plaintiffs’ Right To Vote in the Runoff on
               Systems That Would Correctly Count Their Votes.

                                                 48.

       The right to vote is the foundation of our democracy. It is how we ensure

that our government has the consent of the governed. It is enshrined in the


6
 Kemp Certifies June 20 Runoff, Office of the Secretary of State of the State of Georgia, June
27, 2017, http://sos.ga.gov/index.php/general/kemp_certifies_june_20_runoff (last visited July 3,
2017).
   O.C.G.A. § 21-2-524 requires that “A petition to contest the result of a primary or election
shall be […] within five days after the official consolidation of the returns of that particular
office or question and certification thereof by the election official having responsibility for
taking such action under this chapter.” This would place the filing deadline on Saturday July 1,
2017. O.C.G.A. § 1-3-1(d)(3) (“When the period of time prescribed is less than seven days,
intermediate Saturdays, Sundays, and legal holidays shall be excluded in the computation.”)
Thus, the deadline for filing a challenge to the Runoff was July 3, 2017.



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Constitution of the United States and in the Constitution of the State of Georgia.

Electors have the right to vote, the right to do so by a legally constructed ballot, the

right to have their ballots accurately tabulated, and the right to be assured that their

votes will be counted and recorded accurately and in compliance with Georgia law.

When electors have a factual basis not to trust that their votes will be accurately

counted and recorded, it has a chilling effect and violates those rights. When, as in

the Runoff, votes are not properly recorded or counted—or cannot be

independently audited and verified, with discrepancies corrected—then those rights

have been violated. In fact, the Georgia Constitution at Article II, Section I,

provides an unusual measure of protection for the purity of elections and Georgia

electors’ rights by incorporating the requirement for election officials to comply

with all election statutes in the State Constitution.

                                             49.

       Plaintiffs are electors who are residents of Georgia, including residents of

Georgia’s 6th Congressional District, as well as an association that includes among

its members electors of the State of Georgia, who are concerned about the

integrity, credibility, security, and reliability of the electoral process.

                                             50.

       Georgia’s 6th Congressional District spans portions of Fulton, Cobb, and

DeKalb counties.


                                            26
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                                              51.

       Defendants Secretary Kemp, Members of the State Election Board, and the

State Board (“Statewide Election Officials”) used, and instructed the use of,

Georgia’s DRE System and Optical Scanning System to conduct the Special

Election and Runoff in Georgia’s 6th District.

                                              52.

       Defendants Barron, Members of Fulton County Board of Registration and

Elections, and the Fulton Board (“Fulton County Election Officials”) used

Georgia’s DRE System and Optical Scanning System to conduct the Special

Election and Runoff in Fulton County.

                                              53.

       Defendants Daniels, Members of DeKalb County Board of Registration and

Elections, and the DeKalb Board (“DeKalb County Election Officials”) used

Georgia’s DRE System and Optical Scanning System to conduct the Special

Election and Runoff in DeKalb County.

                                              54.

       Defendants Eveler, Members of Cobb County Board of Elections and

Registration, and the Cobb Board (“Cobb County Election Officials”)7 used


7
 The Fulton County Election Officials, Dekalb County Election Officials, and Cobb County
Election Officials are collectively referred to as “County Election Officials.”



                                             27
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Georgia’s DRE System and Optical Scanning System to conduct the Special

Election and Runoff in Cobb County.

             1.     Georgia’s Voting System Has Fundamental Flaws.

                                             55.

      To conduct its elections, Georgia employs more than one “system,” as that

term is defined by statute. Thus, as used herein, “Georgia’s Voting System” refers

to the totality of the physical, electronic, and legal infrastructure related to the

processes and procedures of voting, counting votes, and conducting elections in

general. Georgia’s Voting System is primarily comprised of a “DRE System,”

governed by Georgia Code Sections 21-2-379.1 to -379.12, and an “Optical

Scanning System” governed by Georgia Code Sections 21-2-365 to -379.

Georgia’s DRE System did not and can never meet Georgia’s statutory

requirements. On the other hand, the Optical Scanning System, although non-

compliant in the Runoff because of security breaches, can be brought into

compliance with Georgia law in future elections.

                                             56.

      For in-person voting, including election day voting, Georgia primarily uses

voting computers, referred to as DRE voting machines, along with various voting

and tabulation programs, that, when working properly, directly record an elector’s

vote on an electronic medium (“DRE System”). See O.C.G.A. §§ 21-2-379.1 to -


                                           28
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379.12; see also Ga. Comp. R. & Regs. 183-1-12.01. The DRE voting machines

used in Georgia, unlike other voting methods, do not allow voters to verify that

their votes have been correctly recorded and do not create auditable paper records

of votes cast. (See Affidavit of Edward W. Felten ¶¶ 5 – 6, attached as “Exhibit

F.”) This absence of a paper trail is the reason “computer scientists and

cybersecurity experts typically recommend against the use of DREs.” (Id., ¶7.)

                                           57.

      On information and belief, Georgia’s DRE System, currently in use in all

159 of Georgia’s counties in various configurations, consists of the following

components and related firmware and software:

   • Touch Screen: R6 – Ballot Station 4.5.2! and TSx – Ballot Station 4.5.2!;

   • ExpressPoll: ExpressPoll 4000 and 5000 running software; EZRoster; 2.1.2
     and Security Key 4.5+ with Card Writer 1.1.4;

   • Election Management System: GEMS 1.18.22G!; and

   • Honeywell barcode scanner: MK1690-38-12-ISI, used with ExpressPoll
     pollbooks.

This configuration, referenced herein as the “DRE System,” was used to accept

and process the majority of votes in the Runoff despite the fact that its use does not

comply with Georgia statutes for DRE systems provided for in Georgia Code

Section 21-2-379.




                                          29
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                                            58.

       Georgia Code Section 21-2-379.2(c) prohibits the use, in any primary or

election, of any kind of DRE voting system that the Secretary of State has not

certified can be “safely or accurately used.” The intent of this rule is to ensure that

“hardware, firmware, and software have been shown to be reliable, accurate, and

capable of secure operation before they are used in elections in the state.” Ga.

Comp. R. & Regs. 590-8-1-.01(a)(3). On information and belief, the Secretary of

State never approved of or certified the DRE System as safe and accurate in its

current form, nor is it possible that he can do so in the future because the DRE

System cannot be brought into compliance with the provisions of Section 21-2-

379.

                                            59.

       For absentee ballots, Georgia primarily uses Optical Scanning voting

machines, along with various tabulation and report generation programs (“Optical

Scanning System”). See O.C.G.A. §§ 21-2-365 to -379; see also Ga. Comp. R. &

Regs. 183-1-12.01.

                                            60.

       On information and belief, Georgia’s Optical Scanning System, as currently

used in Georgia’s elections consists of the following configuration of components

and related firmware and software:


                                           30
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   • Optical Scanner: AccuVote OS 1.94W and

   • Election Management System: GEMS 1.18.22G!.

                                            61.

      Georgia Code Section 21-2-368(c) prohibits the use, in any primary or

election, of any kind of Optical Scanning System that the Secretary of State has not

certified can be “safely or accurately used.” The intent of this rule is to ensure that

“hardware, firmware, and software have been shown to be reliable, accurate, and

capable of secure operation before they are used in elections in the state.” Ga.

Comp. R. & Regs. 590-8-1-.01(a)(3). On information and belief, the Secretary of

State never approved of or certified the Optical Scanning System as safe and

accurate in its current form and as was used in the Runoff.

                                            62.

      County Election Officials likewise had a duty to certify the equipment used

in the Optical Scanning System. Georgia Code Section 21-2-368(d) states that,

“[a]t least ten days prior to any primary or election, including special primaries,

special elections, and referendum elections, the election superintendent shall verify

and certify in writing to the Secretary of State that all voting will occur on

equipment certified by the Secretary of State.” On information and belief, County

Election Officials did not do so for the Runoff. By so failing, the County Election




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Officials violated the Election Code and the rights of the electors in their respective

counties.



                                             63.

          Georgia’s DRE System and Optical Scanning System are fifteen years old,

run on an insecure operating system that is years past its support life, and rely on

the same tabulation software and server, GEMS, that was exposed by the security

failures at CES.

                                             64.

          Security researchers have repeatedly demonstrated that the hardware and

software of the types used by Georgia are vulnerable to hacking. (See Exhibit F.)

For example, in 2006, security researchers from Princeton, including Edward W.

Felten, the former Deputy U.S. Chief Technology Officer, were able to hack an

AccuVote TS, the primary DRE machine in use in Georgia, in less than four

minutes using just $12 worth of tools.8 This hack allowed them to infect a single

AccuVote TS machine in a way that would spread to the total election result when

the device’s memory card was used to tabulate the result.9 The researchers were


8
  Daniel Turner, How to Hack an Election in One Minute, MIT Technology Review, September
18, 2016, https://www.technologyreview.com/s/406525/how-to-hack-an-election-in-one-minute/
(last visited June 30, 2017).
9
    Id.



                                            32
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able to prove that these machines could be physically hacked in a matter of

minutes, that malicious software could be installed, and that malicious software

could then spread.10 (See also Exhibit F.) Since these machines do not provide a

voter-verified paper ballot, there is no independent method to confirm that votes

were counted, and counted as cast.

                                                     65.

           Because of accuracy concerns, several states have decertified these voting

machines and/or the software running on them. For example, in 2006 Maryland’s

House of Delegates voted unanimously to stop using these machines,11 North

Carolina has banned the use of DRE machines that do not produce voter-verifiable

paper ballots, like those used in Georgia's DRE System, beginning in 2018,12 and

in 2009 the Secretary of State for the State of California decertified the code

running on them, GEMS 1.18.19.13 The version of GEMS that California

decertified was only three minor revisions earlier than the version of GEMS now



10
     Id.
11
  Common Sense in Maryland, New York Times, March 23, 2006,
http://www.nytimes.com/2006/03/23/opinion/common-sense-in-maryland.html?mcubz=1 (last
visited June 30, 2017).
12
     See N.C. Gen. Stat. §§ 163-165.1. to -165.10.
13
  Withdrawal of Approval of Premier Election Solutions, Inc./Diebold Election Systems, Inc.,
GEMS 1.18.19, Office of the Secretary of State of the State of California, March 30, 2009,
http://votingsystems.cdn.sos.ca.gov/vendors/premier/premier-11819-withdrawal-
approval033009.pdf (last visited June 30, 2017).



                                                 33
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being used in Georgia in both its DRE System and its Optical Scanning System,

GEMS 1.18.22.G!.

                                            66.

      These problems are exacerbated by the fact that Georgia uses DRE machines

(voting computers) that run on antiquated software that is programmed by and

downloaded from one central location: CES. (Exhibit F, ¶26.) This makes Georgia

far easier to infiltrate than states that use multiple systems that are distributed and

managed at the county level across the state, as only one vulnerable site in Georgia

(CES) needs to be exploited to manipulate the entire state’s elections. On

information and belief, due to press reports of Lamb’s and Grayson’s access of

CES as well as an earlier lawsuit, these security vulnerabilities were known to

Defendants.

                                            67.

      The fact that the electronic infrastructure, including all election management

data and programs, is centralized at a single location, CES, provides a tempting

and vulnerable target. Since CES exposed passwords to the server, exposed code,

left key rooms unlocked, and permitted unauthorized internet access, the election

tabulation programming and election data were left open to manipulation by

malicious hackers. (See Exhibits A and D.) Such security failures would impact

both the DRE System and the Optical Scanning System, since both use the same


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tabulation program. In other states, a single point of failure would not render the

entire state’s election suspect as most use decentralized systems.

                                           68.

      Furthermore, would-be hackers can gain physical access to the hardware,

firmware, and software with relative ease, given lax storage policies. On

information and belief, the physical security of DRE voting equipment used in

Georgia’s DRE System has been inadequate during pre- and post-election machine

storage, leaving the machines vulnerable to attack and compromise. During the

Runoff (and in past elections), the security practices and procedures did not

comply with the statutory requirements for storage of DRE units.

      As Dr. Felten notes:

         Because of the vulnerability of the DRE voting machines to
         software manipulation, and because of the intelligence reports
         about highly skilled cyber-attackers having attempted to affect
         elections in the United States, [stringent] precautions appear to
         be indicated for the CES systems. In the absence of stringent
         precautions to find and expel potential intruders in the CES
         systems, the ability of voting-related systems that have been in
         the CES facility to function correctly and securely should be
         viewed with greater skepticism. (Exhibit F, ¶ 29.)

                                           69.

      A further vulnerability of Georgia’s Voting System derives from the fact

that, on information and belief, on all election nights, Fulton County transmits

ballot data from touchscreen machine memory cards to the GEMS tabulation



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server via a modem in an unauthorized configuration that does not use adequate

encryption. Applicable voting system standards require that security of data

transmission be assured. The lack of security in electronic transmission exposes

both the memory cards and the GEMS system to, and invites, attack.

                                          70.

      On information and belief, the physical security of DRE voting equipment

used in Georgia’s DRE System has been inadequate during pre- and post-election

machine storage, in violation of Georgia Code Section 21-2-379.9 and the rules

and regulations promulgated thereunder. See Ga. Comp. R. & Regs. 183-1-

12.02(2). These security failures have left and continue to leave the machines, and

thus the entire DRE System, vulnerable to attack and compromise.

                                          71.

      On information and belief, Georgia’s Voting System does not meet

minimum standards, including mandatory audit capacity standards, required by the

Help America Vote Act, 52 U.S.C. § 21081.

                                          72.

      There are additional significant security and accuracy violations that

prevented Georgia’s Voting System, including the DRE System and the Optical

Scanning System, from being used safely and accurately in the Runoff. Such

violations and non-compliance prevent the certification and use of Georgia’s DRE


                                         36
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System. (See Exhibits A; D; F; Affidavit of Duncan Buell, attached as “Exhibit G”;

Declaration of Barbara Simons, attached as “Exhibit H.”)

              2.      Defendants Failed to Heed Warnings of Outside Threats to
                      Georgia’s Voting System.

                                               73.

       According to then-Director of the Federal Bureau of Investigation (“FBI”),

James Comey, hackers were “scanning” election systems in the lead-up to the

election in the fall of 2016.14 Subsequent reporting has suggested that as many as

39 states were targeted.15 Secretary Kemp, through his spokesman, has denied that

Georgia was one of the states so targeted.16




14
  Kristina Torres, Georgia Not One of 20 States Targeted by Hackers Over Election Systems,
Atlanta Journal-Constitution, September 30, 2016, (http://www.ajc.com/news/state--regional-
govt--politics/georgia-not-one-states-targeted-hackers-over-election-
systems/FvCGGjulVUm7VNMp8a9vuO/ (last visited June 30, 2017).
15
  Michael Riley and Jordan Robertson, Russian Cyber Hacks on U.S. Electoral System Far
Wider Than Previously Known, BloombergPolitics, June 13, 2017,
https://www.bloomberg.com/news/articles/2017-06-13/russian-breach-of-39-states-threatens-
future-u-s-elections (Last visited June 30, 2017).
16
  Kristina Torres, State Considers Dropping Election Data Center, Atlanta Journal-Constitution,
June 14, 2017, http://www.myajc.com/news/state--regional-govt--politics/state-considers-
dropping-election-data-center/YLERatmHYmLEqnOjUng2GL/ (last visited June 30, 2017).



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                                               74.

       In August 2016 the Department of Homeland Security (“DHS”) offered

assistance to any state that wanted help securing its electronic election

infrastructure.17 Secretary Kemp refused the offer.18

                                               75.

       Around the same time, on August 23, 2016, the Election Assistance

Commission (“EAC”) sent to various state election officials, including Secretary

Kemp, an email sharing an alert from the FBI. (See Exhibit B.) This email attached

a copy of the FBI’s August 18, 2016 alert number T-LD10004-TT, which provided

detailed information on the cybersecurity threats facing the nation’s election

systems and recommended specific steps that should be taken to reduce the risk.

(See id.)

                                               76.

       Despite the warnings from DHS, the FBI, and the EAC, on information and

belief, no entity or responsible official, including Secretary Kemp, King, or any

election official, took meaningful action to ensure the security of Georgia’s Voting

17
  DHS Press Office, Readout of Secretary Johnson’s Call With State Election Officials on
Cybersecurity, Department of Homeland Security, August 15, 2016,
https://www.dhs.gov/news/2016/08/15/readout-secretary-johnsons-call-state-election-officials-
cybersecurity (last visited June 30, 2017).
18
  Marshall Cohen and Tom LoBianco, Hacking the Election? Feds Step in as States Fret Cyber
Threats, CNN, September 23, 2016, http://www.cnn.com/2016/09/23/politics/ohio-pennsylvania-
election-2016-hack/index.html, (last visited June 30, 2017).



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System or acted to bring it into compliance with Georgia’s statutes and regulations.

Press reports indicate that Georgia was the only state to refuse all federal assistance

to help ensure the security of its election infrastructure.19

                                               77.

       After the CES security breach had been reported, Defendants received more

warnings of the need to secure Georgia’s Voting System. For example, on March

15, 2017, a group of over 20 experts in the field of computer security and voting

systems sent a letter to Secretary Kemp expressing their concerns with the security

of Georgia’s election systems. (See letter from various experts to Secretary Kemp

dated March 15, 2017, attached as “Exhibit I,” pp. 1-2.) And on March 16, 2017,

the Democratic Party of Georgia, also responding to those reports, wrote

Kennesaw State University, copying Secretary Kemp, expressing concerns over the

security of the election.20




19
  Massimo Calabresi, Inside the Secret Plan to Stop Vladimir Putin’s U.S. Election Plot, Time,
July 20, 2017, http://time.com/4865982/secret-plan-stop-vladimir-putin-election-plot/ (last
visited July 27, 2017).
20
  Letter from Chairman DuBose Porter, Democratic Party of Georgia to President Samuel
S.Olens, Kennesaw State University, March 16, 2017, http://www.georgiademocrat.org/wp-
content/uploads/2017/03/KSU-Letter-of-Request-031617.pdf (last visited June 30, 2017).



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                                              78.

           As with the warnings from DHS, the FBI, and EAC, none of these warnings

appear to have resulted in any meaningful remedial action on the part of any of the

Defendants, demonstrating their misconduct and abuse of discretion.

                 3.    Stolen Electronic Pollbooks Escalated Risk of Compromised
                       Election.

                                              79.

           On April 15, 2017, an additional known security breach occurred when four

electronic pollbooks containing a voter registration database and software to

program voter access cards were stolen from an election worker’s truck.21 The

Chairman of the Cobb County GOP was quoted as saying that, “The theft could

just be a random thing, but the timing makes it much more worrisome, […] I think

there is cause to be concerned about the integrity of the elections.”22 Pollbooks are

used to confirm a voter’s name and address and to create a voter access card for the

DRE machine. Once chain of custody of a pollbook is lost, officials must presume

that black market copies exist and will be used for illicit purposes.




21
  Christopher Wallace, New details emerge in theft of Ga. Voting machines, Fox News April 18,
2017, http://www.foxnews.com/politics/2017/04/18/new-details-emerge-in-theft-ga-voting-
machines.html, (last visited June 30, 2017).
22
     Id.



                                             40
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                                                80.

       On information and belief, this theft of electronic pollbooks did not motivate

Secretary Kemp and other Defendants to take adequate remedial action.

              4.      Special Election Irregularities Were Recklessly Minimized.

                                                81.

       Technical problems arose during the April 18th Special Election. For

example, Fulton County voters were being improperly sent from one precinct to

another to vote due to glitches in the electronic pollbook software. In addition, the

Special Election experienced technical problems caused by Fulton County’s

uploading of improper and unauthorized memory cards—something the system is

not supposed to allow—resulting in errors and delays in uploading election

results.23

                                                82.

       On information and belief, unconventional procedures, including deleting

precinct voting results in the database, were used to attempt to correct the error

caused by Fulton County’s uploading of improper and unauthorized memory cards,

but the purported corrections themselves lacked a verifiable audit trail.



23
  Arielle Kass, ‘Rare Error’ Delays Fulton County Vote Counts in 6th District Race, Atlanta
Journal-Constitution, April 19, 2017, http://www.ajc.com/news/local-govt--politics/rare-error-
delays-fulton-county-vote-counts-6th-district-race/dleYXJvjL1R9gSsw1swwAJ/ (last visited
June 30, 2017).



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                                               83.

       On May 24, 2017, after becoming aware of the database breach, pollbook

theft, and problems with the electronic tabulation of the votes cast in Fulton

County in the Special Election, sixteen computer scientists wrote Secretary Kemp

to express profound concerns about the lack of verifiability and unacceptable

security of Georgia’s Voting System. (See Letter from various experts to Secretary

Kemp dated May 24, 2017, attached as “Exhibit J.”) The computer scientists urged

Secretary Kemp to treat the breach at CES “as a national security issue with all

seriousness and intensity.” (Id., p 1.) They stated that “a truly comprehensive,

thorough and meaningful forensic computer security investigation likely would not

be completed in just a few weeks.” (Id.) They warned that the error that occurred in

Fulton County during the Special Election could indicate a corrupted database that

must be investigated, and urged the use of paper ballots. (Id., p. 2.)

                                               84.

       These errors were sufficiently severe that Secretary Kemp called for an

investigation into them.24 No results from this investigation have been announced,

nor has the public been told that it has been completed. Yet with that pending

investigation ongoing and warnings from credible sources, Defendants improperly

24
  Aaron Diamant and Berndt Petersen, State Opens Investigation into Issues With 6th District
Race, WSBTV, May 26, 2017, http://www.wsbtv.com/news/local/atlanta/state-opens-
investigation-into-issues-with-6th-district-race/514213222 (last accessed June 30, 2017).



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instructed that the Runoff be conducted on the compromised voting systems, which

constitutes official misconduct, abuse of discretion, and election irregularity.

             5.     Defendants Were Authorized to Use Only Certified
                    Elections Systems That Would Ensure Plaintiffs’ Votes
                    Were Properly Counted.

                                           85.

      Prior to the Runoff, Kemp and King were aware of the multiple security

breaches at CES, the unresolved theft of the electronic pollbooks, pollbook

problems in the Special Election, Fulton County memory card issues, the non-

compliance with Georgia election statutes, and the security issues raised in Curling

v Kemp (Case No. 2017CV290630).

                                           86.

      Georgia law explicitly allows the Secretary of State to, “at any time, in his or

her discretion,” reexamine the voting systems used in Georgia, and to prevent their

use if they “can no longer be safely or accurately used.” O.C.G.A. § 21-2-368;

O.C.G.A. § 21-2-379.2. Despite this, Secretary Kemp allowed the Special Election

and Runoff to be run on compromised systems with the knowledge that they could

not be presumed to be able to be “safely or accurately used by electors.” Id.

                                           87.

      Georgia Code Section 21-2-379.2(a) grants to any ten or more concerned

electors the right to require the Secretary of State “at any time” to conduct a



                                          43
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reexamination of a previously examined and approved DRE voting system.

Specifically, Section 21-2-379.2(a) reads as follows:

         (a) Any person or organization owning, manufacturing, or
         selling, or being interested in the manufacture or sale of, any
         direct recording electronic voting system may request the
         Secretary of State to examine the system. Any ten or more
         electors of this state may, at any time, request the Secretary of
         State to reexamine any such system previously examined and
         approved by him or her. Before any such examination or
         reexamination, the person, persons, or organization requesting
         such examination or reexamination shall pay to the Secretary of
         State the reasonable expenses of such examination. The
         Secretary of State may, at any time, in his or her discretion,
         reexamine any such system.

Id. The clear intent of the statute is to permit a timely reexamination of a voting

system in question prior to a pending election.

                                           88.

      Georgia Code Section 21-2-379.2(b) provides that, upon receiving such a

request for reexamination from ten or more electors, the Secretary of State has a

duty to reexamine the DRE voting system. The statute reads as follows:

         (b) The Secretary of State shall thereupon examine or reexamine
         such direct recording electronic voting system and shall make
         and file in his or her office a report, attested by his or her
         signature and the seal of his or her office, stating whether, in his
         or her opinion, the kind of system so examined can be safely and
         accurately used by electors at primaries and elections as provided
         in this chapter. If this report states that the system can be so used,
         the system shall be deemed approved; and systems of its kind
         may be adopted for use at primaries and elections as provided in
         this chapter.



                                          44
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Id.

                                          89.

      Importantly, Section 21-2-379.2(c) makes clear that if a DRE voting system

has not been certified by the Secretary of State, then it may not be “used at any

primary or election.” O.C.G.A. § 21-2-379.2(c) provides that:

          (c) No kind of direct recording electronic voting system not so
         approved shall be used at any primary or election and if, upon
         the reexamination of any such system previously approved, it
         shall appear that the system so reexamined can no longer be
         safely or accurately used by electors at primaries or elections as
         provided in this chapter because of any problem concerning its
         ability to accurately record or tabulate votes, the approval of the
         same shall immediately be revoked by the Secretary of State; and
         no such system shall thereafter be purchased for use or be used in
         this state.

Id. (emphasis added).

                                          90.

      Likewise, Georgia Code Section 21-2-368(a) authorizes the Secretary of

State “at any time” to conduct a reexamination of a previously examined and

approved optical scanning voting system. Specifically, Section 21-2-368(a) reads

as follows:

         (a) Any person or organization owning, manufacturing, or
         selling, or being interested in the manufacture or sale of, any
         optical scanning voting system may request the Secretary of
         State to examine the optical scanning voting system. Any ten or
         more electors of this state may, at any time, request the Secretary
         of State to reexamine any optical scanning voting system
         previously examined and approved by him or her. Before any


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         such examination or reexamination, the person, persons, or
         organization requesting such examination or reexamination shall
         pay to the Secretary of State the reasonable expenses of such
         examination. The Secretary of State may, at any time, in his or
         her discretion, reexamine any optical scanning voting system.

Id. The clear intent of the statute is to permit a timely reexamination of a voting

system in question prior to a pending election.

                                           91.

      Georgia Code Section 21-2-368(b) provides that, upon determining that a

reexamination is needed, the Secretary of State has a duty to reexamine the optical

scanning voting system. The statute reads as follows:

         (b) The Secretary of State shall thereupon examine or reexamine
         such optical scanning voting system and shall make and file in
         his or her office a report, attested by his or her signature and the
         seal of his or her office, stating whether, in his or her opinion, the
         kind of optical scanning voting system so examined can be safely
         and accurately used by electors at primaries and elections as
         provided in this chapter. If this report states that the optical
         scanning voting system can be so used, the optical scanning
         voting system shall be deemed approved; and optical scanning
         voting systems of its kind may be adopted for use at primaries
         and elections as provided in this chapter.

Id.
                                           92.

      Section 21-2-368(c) provides that, if reexamination shows that an optical

scanning voting system “can no longer be safely or accurately used,” then the

approval of that system “shall immediately be revoked by the Secretary of State;




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and no such system shall thereafter … be used in this state.” (emphasis added). The

statute reads as follows:

           (c) No kind of optical scanning voting system not so approved
          shall be used at any primary or election and if, upon the
          reexamination of any such system previously approved, it shall
          appear that the optical scanning voting system so reexamined can
          no longer be safely or accurately used by electors at primaries or
          elections as provided in this chapter because of any problem
          concerning its ability to accurately record or tabulate votes, the
          approval of the same shall immediately be revoked by the
          Secretary of State; and no such system shall thereafter be
          purchased for use or be used in this state.

Id. Importantly, Section 21-2-368(c) makes clear that if an optical scanning voting

system has not been certified as safe and accurate by the Secretary of State, then it

may not be “used at any primary or election.”

                                               93.

       On information and belief, Georgia began using a DRE System to conduct

its elections in 2002. The devices used were certified for use by the then Secretary

of State, Cathy Cox (“Secretary Cox”). (Certification of Election Systems for use

in Georgia, attached as “Exhibit K.”) Secretary Cox again certified these systems

in 2003, 2004, 2005, and 2006. (Id.) Her successor, Karen Handel, certified the

DRE System that was used in 2007 and 2008.25 (Id.) On information and belief,

this is the last time a Georgia Secretary of State certified a DRE voting system for

25
  Although the certification was expressly for the DRE System, certain optical scanning
components were included in the certifications from 2004 to 2008.



                                              47
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use in Georgia—and even then, it was without explicitly opining on the safety and

accuracy of the system, as is further required by § 21-2-379.2(b).

                                              94.

       On information and belief, Secretary Kemp has never—in the past seven

years of his two terms in office as Secretary of State—certified that Georgia’s DRE

System “can be safely and accurately used by electors at primaries and elections,”

as required by Georgia law. O.C.G.A. § 21-2-379.2(b). The most recently certified

system has been subject to material modifications since its certification in 2008—

almost ten years ago. Kemp himself penned a 2015 op-ed stating that, “Each time a

component is changed, the entire system is retested to ensure there are no

unintended consequences.”26 Yet, Kemp and King negligently avoided undertaking

such testing and re-certification in advance of the Special Election and Runoff

even after being requested to do so by electors.

                                              95.

       On information and belief, Secretary Kemp has also never certified that

Georgia’s Optical Scanning System “can be safely and accurately used by electors

at primaries and elections,” as required by Georgia law. O.C.G.A. § 21-2-368(b).



26
  Brian Kemp, Georgia’s Voting System in Great Shape, Atlanta Journal-Constitution, October
29, 2015, http://www.myajc.com/news/opinion/georgia-voting-system-great-
shape/T49mQ6KNioWWLUJUYQg68L/ (last visited August 2, 2017).



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                                         96.

      Given the known vulnerabilities in the system, the security breaches, and—

most importantly—the DRE System’s inability to meet statutory requirements (as

detailed in Section IV.E.), Secretary Kemp would have been unable to make a

good faith determination that the DRE System or the Optical Scanning System

could be “safely and accurately used.” O.C.G.A. § 21-2-379.2(b); O.C.G.A. § 21-

2-368(b).

                                             97.

      On May 10, 2017, based on the publicly available information, and fearing

that the Runoff could be compromised, a group of Georgia electors, including

Davis, exercised their rights under O.C.G.A. § 21-2-379.2(a) by requesting that

Georgia’s Voting System be reexamined and listing a number of security concerns.

On May 17, 2017, a second letter was sent explaining the irreversible security

issues in the system in support of the request that Georgia’s Voting System be

immediately reexamined. Two additional letters followed, on May 19 and June 2,

each requesting a timely response. No answer was received until after the electors

filed suit on May 25, 2017 against Secretary Kemp over his failure to reexamine

the system. See Curling v. Kemp, Case No. 2017CV290630.




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                                          97.

      The Secretary of State’s Office did not respond to the electors’ requests until

June 5, 2017. It indicated that it would complete the reexamination in

approximately six months, putting the completion date after the date of elections

that will be held in November. (See letter from C. Ryan Germany to various

electors dated June 5, 2017, attached as “Exhibit L.”)

                                          98.

      Pending the reexamination, Secretary Kemp declined to use his authority

under Georgia Code Section 21-2-379.2 to prevent the use of the unsecure DRE

System for the Runoff and declined to use his authority under Section 21-2-368 to

prevent the use of the Optical Scanning System for the Runoff—despite the fact

that Georgia law allows for voting to be done by paper ballot if the voting system

is unusable.

                                          99.

      Georgia’s election laws contemplate that elections normally required to be

conducted using voting equipment may instead be conducted using paper ballots if

circumstances so require. O.C.G.A. § 21-2-281. The County Election Officials

maintain the authority and responsibility for making the decision to employ paper

ballots when “the use of voting equipment is impossible or impracticable.”

O.C.G.A. § 21-2-334. Moreover, Georgia Code Section 21‑2, Article 11, Part 2,


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provides the detailed procedures that are required to be used in precincts that

conduct primaries and elections using paper ballots. County Election Officials

abused their discretion by failing to exercise this authority to order the use of paper

ballots.

       C.      Improper Certification of the Election Results

                                         100.

       To provide for election transparency and citizen oversight of Georgia

elections, Georgia election regulations provide for citizen-initiated recanvassing of

any precincts that seem to have erroneous results from the DRE-voting machines.

Ga. Comp. R. & Regs. 183-1-12.02(7). These regulations permit citizens to choose

any or all precincts to demand recanvassing of the votes, by having the memory

cards reread by the tabulation server and conducted by the election officials prior

to the county-level certification of results.

                                         101.

       Members of CGG (then Rocky Mountain Foundation) and other citizens

wrote to DeKalb Board and Cobb Board prior to county-level certification,

specifying the precincts they believed may contain erroneous results and

requesting a recanvassing prior to the certification. (See letters to DeKalb Board

and Cobb Board by various electors, attached as “Exhibit M.”) On information and

belief, and in each case, a board discussion was held and Defendants Barron,


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Daniels, Cobb Board, DeKalb Board, Members of Cobb County Board of

Elections and Registration, and Members of DeKalb County Board of Registration

and Elections affirmatively denied the electors’ properly submitted requests for

recanvassing, constituting an irregularity and misconduct on the part of these

Defendants.

                                        102.

      Prior to each county election board meeting, on behalf of its members who

are eligible electors in the 6th Congressional District, CGG filed letters requesting

that Fulton Board, Cobb Board, and DeKalb Board (collectively “County Boards”)

deny certification of the election because of the numerous violations of law

occurring during the conduct of the election. (See letters to County Boards by

CGG (then Rocky Mountain Foundation), attached as “Exhibit N.”) On

information and belief, these letters (and the concerns expressed) were not

discussed at any of the County Boards. Instead, the County Boards simply

rubberstamped the results without concern about the legality or accuracy of the

returns or violations of the Election Code in the conduct of the Runoff. The County

Boards’ and their individual members’ and Directors’ refusal to consider the

alleged illegal aspects of the election constitute irregularities, misconduct and

abuse of discretion.




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                                        103.

      On information and belief, Secretary Kemp almost immediately certified the

consolidated return for the Runoff after the last certification, the DeKalb Board

certification, had taken place, despite the fact that he had been informed that the

County Boards had violated electors’ rights to seek a recanvass of precincts that

appeared to show irregularities or questionable results. Certification of the

consolidated return with valid pending requests for recanvass and known system

security failures constitutes an irregularity and misconduct on the part of Secretary

Kemp.

      D.     Irreparable Harm/Inadequate Remedy at Law

                                        104.

      Georgia electors who cast their votes in person during the Runoff were

required to cast their votes on voting computers using the DRE System in early

voting locations or on June 20, 2017 in their neighborhood precincts.

                                        105.

      Georgia electors who cast their votes by absentee ballot during the Runoff

were required to cast their votes using the Optical Scanning System.

                                        106.

      Georgia’s DRE System could not be safely and accurately used by electors

voting in the Runoff. Georgia’s DRE System violates numerous provisions of the


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Election Code, is demonstrably vulnerable to undetectable malfunctions and

malicious manipulation that cannot be corrected on a timely or reasonable basis,

and results in electors’ casting ballots that cannot be independently audited or

verified.

                                         107.

         Georgia’s Optical Scanning System could not be safely and accurately used

by electors voting in the Runoff. Georgia’s Optical Scanning System, as

configured for the Runoff, violated numerous provisions of the Election Code and

was demonstrably vulnerable to undetectable malfunctions and malicious

manipulation that could not be detected or corrected on a timely or reasonable

basis.

                                         108.

         Each Plaintiff who cast a vote in the Runoff and the Georgia 6th

Congressional District elector members of Plaintiff CGG were harmed in the

exercise of their constitutional fundamental right to vote in the Runoff because

Georgia used an illegal, unsafe, unsecure, and uncertified DRE System and Optical

Scanning System that were subjected to undetected, unauthorized access and

potential manipulation. Experts concur in the conclusion that the systems and their

components had to be considered compromised and unreliable for the

determination of the result. (See Exhibits A, F, G, and H.)


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      E.      Georgia’s DRE System Violates the Election Code.

                                       109.

      Election officials, including all Defendants, are responsible for willful,

substantive violations of the Election Code, causing the votes cast by the majority

of voters to be cast as illegal ballots on the unauthorized, non-compliant DRE

System.

                                       110.

      All Defendants conducted the election by employing procedures that violate

mandatory and essential security provisions of the Election Code. Such violations

include but are not limited to the following:

                                       111.

      First, the DRE voting machines were not evaluated and cannot be evaluated

to determine whether they meet the requirement of Georgia Code Section 21-2-

379.1(8): “It shall, when properly operated, record correctly and accurately every

vote cast.”

                                       112.

      Second, the superintendents did not and cannot meet the requirement of

Georgia Code Section 21-2-379.6(a) to determine that the DRE machines have no

votes recorded at the opening of the polls. The State’s testing methods cannot




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determine whether there are votes recorded on the machine before voting is

authorized.

                                       113.

      Third, superintendents failed to meet basic, reasonable security of machines

in the polling place prior to and after the operation of the polls, as mandated by

Georgia Code Section 21-2-379.6(a) in a manner to prevent the operation of the

“counting machinery” before such operation is authorized. Machines used in the

Runoff have been frequently left unattended in public hallways, as they were

during the Runoff, with inadequate physical locks and seals, subjecting the

“counting machinery” to undetectable manipulation. Id.

                                       114.

      Fourth, the State Board and Secretary Kemp have failed to perform their

duty to promulgate adequate security regulations to protect the DRE machines

from intrusion and manipulation pursuant to Georgia Code Section 21-2-379.6(a).

                                       115.

      Fifth, the DRE machines (voting computers) do not and cannot meet the

mandatory testing standard provisions of Georgia Code Section 21-2-379.6(c),

which require that the machines be tested to determine whether they count votes

accurately. Testing conducted by the state’s Logic and Accuracy Testing did not




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and cannot determine whether the machines correctly count the votes in the

Runoff.

                                         116.

          Sixth, the DRE machines did not and cannot meet the mandatory provisions

of Georgia Code Section 21-2-379.7(b) requiring that machines be “thoroughly

tested” and certified as to their ability to work properly and to ensure that no votes

are recorded in the machine before the opening of the polls. Officials did not and

cannot verify whether the DRE machines are “working properly.” Id.

                                         117.

          Seventh, in violation of Georgia Code Section 21-2-379.7(c), the

superintendents and poll managers failed to provide adequate protection against

“molestation and injury” to the machines when they were stored at polling places.

The State Board and Secretary Kemp failed to provide adequate rules to assure

reasonable security of the equipment, causing the equipment to be stored in public

places with minimal and ineffective security. Under such circumstances, the

machines must be presumed to have been compromised, generating an unreliable

result.

                                         118.

          Eighth, the tabulation mechanisms on the DRE machines were not secured

by the poll managers during the machines’ use on election day as mandated by


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Georgia Code Section 21-2-379.7(d)(3). Such security requirements became

impossible to meet after the CES system was open to the internet as described in ¶¶

26 – 47.

                                       119.

      Ninth, the DRE units have not been maintained in secure storage when not

in use as required by Georgia Code Section 21-2-379.9(b), nor have the DRE

machines been stored in compliance with Ga. Comp. R. & Regs 183-1-12-

.02(2)(b). As a result, the machines have been subjected to significant unknown

risks, leaving no practical way to evaluate whether the machines were

compromised.

                                       120.

      Tenth, Georgia Code Section 21-2-379.9(b) requires that the DRE “related

equipment” for the operation of the election (such as the GEMS servers, memory

cards, and electronic pollbooks) be secured. However, conditions at CES, as well

as in each County Election Official’s location, were such that the “related

equipment” was not properly secured, which exposed the components and voting

system to significant risk. (See Exhibit D.) It was impossible for County Election

Officials to determine the impact of this long-term exposure to significant risk and

whether the system was compromised to operate improperly.




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                                       121.

      Eleventh, any new voting system deployed after April 17, 2005 is required

to meet the certification standards in Ga. Comp. R. & Regs. 590-8-1-.01. That

regulation requires compliance with the most recent EAC voting standards for

certification of a new voting system or substantive change in a previously certified

system. On information and belief, Secretary Kemp has not attempted to certify the

DRE System to those mandatory state standards, nor has he certified that it meets

those standards although the current equipment configuration constitutes a new

system deployed after April 17, 2005. In fact, because inherent weaknesses render

it incapable of meeting statutory requirements, the DRE System cannot be legally

certified, approved, or utilized. It is impossible for the DRE System to meet the

requirements of the Election Code. Yet, on information and belief, Secretary Kemp

and King have knowingly made misleading public claims that the voting system

was “federally and state certified.”

      F.     Georgia’s Optical Scanning System Violates the Election Code.

                                       122.

      All Defendants are responsible for willful substantive violations of the

Election Code, causing the votes cast by the majority of absentee votes to be cast

as illegal ballots on the unauthorized, non-compliant Optical Scanning System.




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                                       123.

      All Defendants conducted the election employing procedures that violate

essential provisions of the Election Code. Such violations include but are not

limited to the following:

                                       124.

      First, the Optical Scanning machines were not evaluated prior to the Runoff

to determine whether they meet the requirement of Georgia Code Section 21-2-

365(8): “It shall, when properly operated, record correctly and accurately every

vote cast.”

                                       125.

      Second, the Optical Scanning System did not meet the mandatory testing

standard provisions of Georgia Code Section 21-2-374(b), which require that the

optical scanning tabulators be tested prior to an election to determine whether they

count votes accurately. Testing conducted by the state’s Logic and Accuracy

Testing did not and could not determine whether the tabulator correctly counted

the votes in the Runoff. Only a hand count supervised by this court can make that

determination.

                                       126.

      Third, in violation of Georgia Code Section 21-2-375(b) and § 21-2-374(a),

the superintendents and poll managers failed to provide adequate protection against


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“molestation and injury” to the machines when they ordered and accepted

programming from CES, whose system they knew to be compromised. The State

Board and Secretary Kemp failed to provide adequate rules to assure reasonable

security of the equipment and its software, causing the CES equipment and system-

wide Optical Scan software and related GEMS programming and databases to be

maintained in lax conditions with minimal and ineffective security. Such

equipment and programs must be presumed to have been compromised, generating

an unreliable result.

                                        127.

      Fourth, the tabulation mechanism on the Optical Scanning machines were

not secured in compliance with the intent of Georgia Code Section 21-2-377 given

the security failures involved in the Optical Scan machine programming. Such

security requirements became impossible to meet after the CES system was open

to the internet as described in ¶¶ 26 – 47.

                                        128.

      Fifth, any new voting system deployed after April 17, 2005 is required to

meet the certification standards in Ga. Comp. R. & Regs. 590-8-1-.01. That

regulation requires compliance with the most recent Election Assistance

Commission (“EAC”) voting standards for certification of a new voting system or

substantive change in a previously certified system. On information and belief,


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Secretary Kemp has not attempted to certify the system in use to those mandatory

state standards, nor has he certified that it meets those standards although the

current equipment configuration constitutes a new voting system deployed after

April 17, 2005. Yet, on information and belief, Secretary Kemp and King have

made misleading public claims before the Runoff that the voting system was

“federally and state certified.”

      G.     Irreparable Harm

                                        129.

      Plaintiffs and the Georgia elector members of Plaintiff CGG cannot be

adequately compensated for these harms in an action at law for money damages.

At equity, Plaintiffs seek–and can obtain only–nominal compensatory relief.




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VI.    COUNTS



COUNT I: VIOLATION OF ARTICLE II, SECTION I, PARAGRAPH I, OF

                  THE GEORGIA CONSTITUTION OF 1983



  (All Plaintiffs against All Defendants in their Individual Capacities, except

          State Board, Fulton Board, DeKalb Board, and Cobb Board)



                        Declaratory and Injunctive Relief

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



      Enjoining Use of Georgia’s DRE System and Optical Scanning System

                                       130.

       The allegation of paragraphs 1 through 129 above are hereby incorporated as

the allegations of this paragraph 130 of Count One of this complaint.

                                       131.

       Article II, Section 1, Paragraph 1 of the Georgia Constitution provides,

“Elections by the people shall be by secret ballot and shall be conducted in

accordance with procedures provided by law.”




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                                       132.

      Elections must be conducted in accordance the statutes and regulations of

the State of Georgia.

                                       133.

      The Runoff was not conducted in accordance with the “procedures provided

by law” because the DRE System was in violation of Georgia Code Section 21-2-

379.1(8) at the time of the Runoff. O.C.G.A. § 21-2-379.1(8) provides that DRE

Systems “shall, when properly operated [by an elector], register or record correctly

and accurately every vote cast.” The Optical Scanning System was similarly in

violation of Section 21-2-365(8), which provides that Optical Scanning Systems

“shall, when properly operated, record correctly and accurately every vote cast.”

                                       134.

      In addition, the DRE System did not and cannot meet additional statutory

requirements for safety and accuracy of the equipment. See O.C.G.A. § 21-2-

379(b); § 21-2-379.6 (a); § 21-2-379(6)(c); § 21-2-379.7(b); § 21-2-379.7(c); § 21-

2-379.7(d)(3); § 21-2-379.9(b). Similarly, the Optical Scanning System did not

meet additional statutory requirements for safety and accuracy because of the CES

system compromise. See O.C.G.A. § 21-2-365(8); § 21-2-374(a); § 21-2-377.

Therefore, Kemp, Members of the State Board, individual County Elections

Officials, and King were and are required to remove this equipment from service.


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                                       135.

      On information and belief, these Defendants knew that these voting systems

had been unsecured, breached, and compromised, could not be presumed to be

safe, and were materially non-compliant with applicable Election Code statutes and

governing regulations. These Defendants were aware of numerous expert opinions

advising against the use of these systems in the Runoff election because they were

neither safe nor accurate and should have been presumed to be compromised.

                                       136.

      Additionally, the Runoff was not conducted in accordance with the

“procedures provided by law” because the DRE System used was in violation of

Georgia Code Section 21-2-379.2. Georgia Code Section 21-2-379.2(a) requires

the Secretary of State to reexamine the DRE voting system, if “[a]ny ten or more

electors of this state request the Secretary of State to reexamine any such system

previously examined and approved by him or her.” Id. Likewise, the Optical

Scanning System used was in violation of Georgia Code Section 21-2-368(a).

Georgia Code Section 21-2-368(a) requires the Secretary of State to reexamine the

optical scanning voting system, if “[a]ny ten or more electors of this state request

the Secretary of State to reexamine any such system previously examined and

approved by him or her.” Id.




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                                       137.

      That was not done here. Concerned about the known system security

compromises, Georgia electors repeatedly requested Secretary Kemp to reexamine

Georgia’s Voting System prior to the Runoff on four separate occasions: on May

10, 17, and 19, and June 2, 2017. Secretary Kemp’s office responded on June 5,

2017, stating that reexamining the systems would cost the requesting citizens

$10,000 and take six months. Despite his knowledge of the recent CES system

security failures, the stolen pollbooks, the warnings from the FBI, EAC, and DHS,

and numerous computer scientists, as well as an escalated risk environment,

Secretary Kemp refused to reexamine Georgia’s Voting System prior to the Runoff

or any currently scheduled 2017 elections.

                                       138.

      On July 17, 2017 Secretary Kemp’s office responded, agreeing to waive the

previously requested $10,000 fee, but did not agree to reexamine the equipment

under the current standards controlling the examination and certification of voting

systems. He also did not agree to a timely reexamination prior to Georgia’s

November 2017 municipal elections, exposing such elections to being illegally

conducted and contested.




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                                       139.

      After a request to examine or reexamine a DRE voting system and the

Secretary of State conducts such an examination, “no kind of [DRE] voting

system” not approved “shall be used at any primary or election.” O.C.G.A. § 21-2-

379.2(c). After a request to examine or reexamine an optical scanning voting

system and the Secretary of State conducts such an examination, “no kind of

[optical scanning] voting system” not so approved “shall be used at any primary or

election.” O.C.G.A. § 21-2-368(c). Furthermore, Georgia’s voting systems must be

certified, to ensure that “hardware, firmware, and software have been shown to be

reliable, accurate, and capable of secure operation before they are used in elections

in the state.” Ga. Comp. R. & Regs. 590-8-1-.01(a)(3). Georgia’s DRE System and

Optical Scanning System did not meet these legal requirements, and, further, the

DRE System cannot be brought into compliance with these requirements.

                                       140.

      Upon reexamination, should it “appear that the [DRE] system… can no

longer be safely or accurately used by electors” as provided under the Georgia

Code “because of any problem concerning its ability to accurately record or

tabulate votes,” then the Secretary of State should “immediately” revoke his

approval. O.C.G.A. § 21-2-379.2(c); see also O.C.G.A. § 21-2-368(c) (similar

provision governing Optical Scanning Systems). Indeed, given the knowledge


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Secretary Kemp and other identified Defendants had of the material non-

compliance and insecurity of these systems, Defendants had the duty and authority

to act to sideline the compromised systems long before the electors requested

system reexamination.

                                       141.

      Despite the request for reexamination and the known security failures, the

DRE System and Optical Scanning System were used during the Runoff. Secretary

Kemp was aware that the security of both systems had been compromised and, for

numerous reasons, did not meet certification requirements, statutory requirements,

nor be approved as safe or accurate. By choosing to move forward in using the

non-compliant system, he willfully and negligently abrogated his statutory duties

and abused his discretion, subjecting voters to cast votes on an illegal and

unreliable system—a system that must be presumed to be compromised and

incapable of producing verifiable results.

                                       142.

      Furthermore, when a ballot does not follow a mandate from the Georgia

Constitution or the Georgia Code, the ballot is “illegal.” See Count VII; Mead v.

Sheffield, 278 Ga. 268, 269 (2004). Such was the case in the Runoff and is

expected to be the case in future elections without the intervention of this Court.




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                                       143.

      Additionally, the identified Defendants violated their duty to recanvass votes

under Ga. Comp. R. & Regs. 183-1-12-.02(7)(a), which states that:

         The election superintendent shall, either of his or her own
         motion, or upon petition of any candidate or political party or
         three electors of the county or municipality, as may be the case,
         order a recanvass of all the memory cards (PCMCIA cards) for a
         particular precinct or precincts for one or more offices in which
         it shall appear that a discrepancy or error, although not apparent
         on the face of the returns, has been made.

See also Count IV.

                                       144.

      These Defendants also violated state equal protection guarantees, as

provided in Georgia Constitution’s Art. I, Sec. I, Para. II. See Count III. They also

violated state due process guarantees. See Count II.

                                       145.

      Since these Defendants individually and collectively did not act to ensure the

Runoff complied with the “procedures provided by law,” as alleged above, they

violated the Georgia Constitution, in addition to other applicable Georgia law.

                                       146.

      Georgia’s DRE System and Optical Scanning System also cannot be legally

used in the upcoming Georgia 2017 municipal elections or other future Georgia

elections for reasons alleged throughout this Amended Complaint.



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                                        147.

       On information and belief, despite their knowledge that the DRE System and

Optical Scanning System do not comply with the Election Code, these Defendants

willfully and knowingly plan to continue to use the non-compliant DRE System

and Optical Scanning System in upcoming elections.

                                        148.

       Accordingly, pursuant to Georgia Code Section 9-4-2, Plaintiffs pray that

this court will declare that these Defendants have violated the Georgia

Constitution. Pursuant to Georgia Code Section 9-4-3, Plaintiffs also pray that this

court will void ab initio the Runoff and the certification of its result because

accurate results tabulated in accordance with Georgia law cannot be determined

and order a new election to be held as the only just relief available under the laws

of Georgia. This court should also enjoin these Defendants’ illegal use in future

elections of Georgia’s DRE System and the illegal use of the Optical Scanning

System as it is currently programmed and configured. Finally, this Court should

award nominal compensatory relief in the amount of $1 in recognition of these

Defendants’ violation of the Georgia Constitution and, as subsequent causation, the

rights of Plaintiffs.




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        COUNT II: VIOLATION OF 42 USC § 1983 – DUE PROCESS



                        VIOLATION OF 42 USC § 1983,

                 DUE PROCESS AND FIRST AMENDMENT



     (All Plaintiffs against All Defendants in their Official and Individual

   Capacities except State Board, Fulton Board, DeKalb Board, and Cobb

                                       Board)



      Declaratory, Injunctive, and Monetary Relief, and Attorneys’ Fees

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



          42 USC § 1983; Fourteenth Amendment; First Amendment

                                        149.

      The allegations of paragraphs 1 through 148 above are hereby incorporated

as the allegations of this paragraph 149 of Count Two of this complaint.

                                        150.

      42 U.S.C. § 1983 provides that “[e]very person who, under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United


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States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be

liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress … .”

                                         151.

      The failure to comply with the Georgia Constitution and the Georgia Code

concerning elections is a violation of federal due process when the patent and

fundamental fairness of the election is called into question.

                                         152.

      Patent and fundamental fairness of an election is called into question when

allegations go well beyond an ordinary dispute over the counting and marking of

ballots. Such is the case here, where patent and fundamental unfairness arises from

egregious and substantive violations of the Georgia Code and Constitution, causing

the election result to be indeterminable.

                                         153.

      Elected Georgia government officials—and those they control—denied the

electorate the right granted by the Georgia Constitution to choose their elected

official in accordance with the procedures provided by state law. Ga. Const. Art. II,

§ 1, ¶ 2. These state officials include Defendants Secretary Kemp, Members of the




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State Board, Barron, Members of the Fulton Board, Daniels, Members of the

DeKalb Board, Eveler, Members of the Cobb Board, and King.

                                        154.

      These Defendants violated Georgia Code Section 21-2-379.1(8), which

provides that any DRE system used in Georgia must, when properly operated by

the elector, “record correctly and accurately every vote cast.” Consistent with

experts who state that Georgia’s DRE System (and, by logical extension and

inference, the Optical Scanning System) must be presumed to have been

compromised, it is more than probable that it was compromised prior to the Runoff

and that the system could not correctly or accurately count every vote during the

Runoff. As a result, the tabulation of the voters’ intent cannot reasonably be

known. Central to the franchise of voting is that a vote cast by the elector’s ballot

be the vote actually counted. That vote should be reviewable to correct

discrepancies in the recording or tabulation process. Even in the contentious case

of Bush v. Gore, the entirety of the Supreme Court appeared to agree on this

fundamental principle, even as they disagreed on whether procedures that existed

in those circumstances violated that principle. See, generally, Bush v. Gore, 531

U.S. 98 (2000) (holding manual recounts ordered by Florida Supreme Court,

without specific standards to implement its order to discern “intent of the voter,”




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did not satisfy minimum requirement for non-arbitrary treatment of voters

necessary, under Equal Protection Clause, to secure fundamental right to vote).

                                           155.

       Instead, despite receiving multiple warnings that the DRE System and

Optical Scanning System had been compromised—and knowing that that

documents capable of enabling a malicious attack were accessed multiple times

and downloaded from CES without authorization—Secretary Kemp refused to

initiate a review of either system and publicly stated “our system’s secure.”27

These actions amount to a purposeful and willful substantial burdening of the

fundamental right to vote and misconduct on his part.

                                           156.

       Voters who wish to protect their rights by voting on verifiable paper ballots

that are reviewable must undertake burdensome efforts to do so. For example,

voters who use paper ballots (absentee ballots) cannot vote in their nearby

convenient neighborhood precincts. Voters wishing to vote by paper must take the

additional steps to complete an application, receive the application in the mail and

fill it out, and mail it several days before an election to ensure receipt on election


27
  Kristina Torres, Georgia’s Voting Machines Face Criticism, but State Says They’re Secure,
Atlanta Journal Constitution, June 12, 2017, http://www.myajc.com/news/state--regional-govt--
politics/georgia-voting-machines-face-criticism-but-state-says-they-
secure/rcxCNafPMorse73l6Gu75M/ (last visited August 2, 2017).



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day or travel to the county election office to cast an election-day ballot. Voters

wishing to vote with paper ballots with the most timely candidate information

available on election day must hand-deliver their ballots to the election office,

sometimes involving considerable transportation effort and time, as Curling

experienced. Furthermore, those who wish to ensure timely receipt must take the

ballot to a county office, not merely mail it. Finally, County and Secretary of State

websites do not contain information on deadlines for requesting absentee ballots,

making it difficult to learn the process for obtaining and casting absentee ballots.

In summary, voting by absentee ballot can involve significant hardship and

inconvenience.

                                        157.

      Georgia’s DRE System and Optical Scanning Systems must be properly

certified, reexamined, and approved by the Secretary of State prior to any election,

when so requested by ten or more electors. O.C.G.A. § 21-2-379.2(a); § 21-2-

368(a); see also Ga Comp. R. & Regs. 590-8-1.01. Here, the Secretary of State did

not certify, reexamine or approve the system in compliance with applicable

statutes. See Counts I and VIII.

                                        158.

      By violating the Georgia Constitution, Georgia’s election officials

distributed to electors in Georgia’s 6th Congressional District an illegal ballot,


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precluding their right to vote on a legal ballot in the Runoff. See Counts VI and

VII, respectively.

                                         159.

       In addition, various board member Defendants who functioned as election

“superintendents” violated their duty to recanvass votes upon the request of the

electorate. See Count IV.

                                         160.

       These Defendants, by burdening the right to vote, violated the Due Process

Clause of the Fourteenth Amendment of the U.S. Constitution and the Georgia

Constitution’s analogue. U.S. Const. Amend. XIV § 1; Georgia Constitution’s Art.

I, § 1, ¶ 1.

                                         161.

       By burdening the right to vote, these Defendants violated the First

Amendment of the U.S. Constitution. U.S. Const. Amend. I.

                                         162.

       Under the circumstances alleged above, relief under 42 U.S.C. § 1983 is

warranted. Accordingly, Plaintiffs ask this Court to declare that these Defendants

violated the fundamental rights to vote and due process, as well as rights afforded

by the Georgia Constitution and Code, of Plaintiffs, declare the Runoff and the

certification of its result void ab initio, and order a new election to be held as the


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only just relief available under the laws of Georgia. This court should also enjoin

these Defendants’ use of Georgia’s DRE System for future elections and the use of

the Optical Scanning System until such time as the Optical Scanning System can

be fully examined, unauthorized software eliminated, authorized software

reinstalled, and the system properly secured. In addition, this Court should award

nominal compensatory relief in the amount of $1, in recognition of these

Defendants’ violation of applicable federal and state laws and, as subsequent

causation, the rights of Plaintiffs. Finally, this Court should award attorneys’ fees

and costs, as per 42 U.S.C. § 1988, for Defendants’ causation of concrete injury to

Plaintiffs, whose fundamental right to have their vote counted as cast was

thwarted. See also Farrar v. Hobby, 506 U.S. 103 (declaratory, injunctive, and

nominal compensatory relief can give rise to attorneys’ fees under Section 1988,

with courts ultimately “obligated to give primary consideration to the amount of

damages awarded as compared to the amount sought”) (internal citation omitted).




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COUNT III: VIOLATION OF 42 USC § 1983 AND EQUAL PROTECTION



     (All Plaintiffs against All Defendants in their Official and Individual

   Capacities, except State Board, Fulton Board, DeKalb Board, and Cobb

                                       Board)



      Declaratory, Injunctive, and Monetary Relief, and Attorneys’ Fees

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                     42 USC § 1983; Fourteenth Amendment

                                       163.

      The allegations of paragraphs 1 through 162 above are hereby incorporated

as the allegations of this paragraph 163 of Count Three of this complaint.

                                       164.

      42 U.S.C. § 1983 provides that “[e]very person who, under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the

District of Columbia, subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any

rights, privileges, or immunities secured by the Constitution and laws, shall be




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liable to the party injured in an action at law, suit in equity, or other proper

proceeding for redress … .”

                                              165.

       The Equal Protection Clause of the Fourteenth Amendment mandates that

“[n]o State shall … deny to any person within its jurisdiction the equal protection

of the laws.” U.S. Const. amend. XIV § 1.

                                              166.

       The Plaintiffs who voted using the DRE System are all similarly situated to

other registered electors in the Runoff who voted by Optical Scanning System.

Furthermore, all Plaintiffs may vote or seek to vote in future Georgia elections

using the DRE System and would be similarly situated in such elections to other

registered electors who vote by Optical Scanning System.

                                              167.

       The Secretary of State and County Boards allowed electors using the Optical

Scanning System28 to vote in the Runoff to vote using verifiable, reviewable, and


28
  Plaintiffs contend the Optical Scanning System is clearly superior to the DRE System. The
Optical Scanning System is, in theory, able to be verified by manual recount, while the DRE
System leaves no paper trail at all. As such, it is a superior system, and those who voted using it
were permitted to vote in a manner superior to those who were not able to vote using the Optical
Scanning System. Plaintiffs note that the Optical Scanning System, while superior to the DRE
System, is still illegally deployed and subject to external manipulation, especially when the
electronic infrastructure is exposed, as it was in the lead up to the Runoff. The Optical Scanning
System is the lesser of two evils, and those who used it were harmed less than those who were
forced to use the DRE System.



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recountable ballots, although they were cast and tabulated on compromised

equipment. These ballots are verifiable and recountable because they can be

counted manually in an election contest rather than counted electronically, in a

manner necessarily exposed to irregularity, especially given the security failures

and non-compliance of the voting systems used. The voters who voted by optical

scanning ballots were able to vote in the election using verifiable, recountable

ballots, which can be counted, reviewed, and discrepancies corrected under the

supervision of this Court, while votes cast in the DRE System are not reviewable

against an independent record–thus creating two unequal classes of electors. The

Optical Scanning System produces an electronic representation of the ballot, which

can be checked against the voter-marked ballot. The DRE System produces only an

electronic representation of a vote, with no independent reference document. The

voters of the respective ballots have their votes unequally weighted, with greater

weighting given to those who voted by optical scanning ballot, whose votes can be

verified and errors identified and corrected.

                                       168.

      Furthermore, the favorable tabulation and post-election review treatment

afforded to those voting through the Optical Scanning System can be accessed only

by those who overcome additional hurdles to mitigate their risk of an unverifiable

ballot, as compared to those voting by the DRE System. See Count II. Ultimately,


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absentee optical scanning ballots and ballots by the DRE-machines are

substantially dissimilar in the manner in which they are recorded, processed,

counted, and reviewed in Georgia’s electoral scheme.

                                       169.

       Comparatively, the above-identified Defendants forced electors using the

DRE machines in the Runoff to vote unwittingly on ballots for which the

tabulation cannot be reviewed or discrepancies corrected by the court in this

election contest. These Defendants include Secretary Kemp, Members of the State

Board, Barron, Members of the Fulton Board, Daniels, Members of the DeKalb

Board, Eveler, Members of the Cobb Board, and King.

                                       170.

       As alleged above (see ¶ 155), Secretary Kemp misled the electors,

effectively encouraging them to vote on the DRE System on which their votes

carried less weight than paper ballot votes

                                       171.

       It was “impracticable” to safely use the DRE System given its well-

understood multiple violations of the DRE System requirements at § 21-2-379 et

seq.




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                                       172.

      In this case, these Defendants had two readily available choices authorized

by the Election Code to avoid using an irreparably illegal DRE system. These

Defendants could have remediated the existing security issues, properly certified

the Optical Scanning System, and then fully employed the Optical Scanning

System as authorized by Georgia Code Sections 21-2-366 to -379 or they could

have employed hand-counted paper ballots as authorized by Section 21-2-281.

                                       173.

      These actions by these Defendants amount to purposeful and willful

substantial burdening of the right to vote. See SECSYS, LLC v. Vigil, 666 F.3d

678, 686 (10th Cir. 2012) (Gorsuch, J.) (in Section 1983 action, holding that

“[e]ven generally applicable laws initially enacted with entirely proper (non-

discriminatory) purposes can themselves later become tools of intentional

discrimination in the course of their enforcement.”)

                                       174.

      The use of unverifiable, illegal, and improperly constructed ballots in

Georgia’s DRE System severely infringed upon these Plaintiffs’ fundamental right

to vote by not providing the opportunity to cast a lawful and verifiable vote in

accordance with the Georgia Constitution or Code and by Defendants’ misleading

the electors with false claims of DRE System security and legal compliance.


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                                        175.

      The burdens and infringements imposed upon these fundamental rights were

differentially imposed upon Optical Scanning System (paper ballot) voters and

DRE System (voting computer) voters during the Runoff without justification by

any substantial or compelling state interest that could not have been accomplished

by other less restrictive means. As the United States Supreme Court has noted,

“The right to vote is protected in more than the initial allocation of the franchise.

Equal protection applies as well to the manner of its exercise. Having once granted

the right to vote on equal terms, the State may not, by later arbitrary and disparate

treatment, value one person’s vote over that of another.” Bush, 531 U.S. at 104-

105 (2000) (citing Harper v. Virginia Bd. of Elections, 383 U.S. 663, 665 (1966)

(“[O]nce the franchise is granted to the electorate, lines may not be drawn which

are inconsistent with the Equal Protection Clause of the Fourteenth Amendment.”)

The Supreme Court continued, “It must be remembered that ‘the right of suffrage

can be denied by a debasement or dilution of the weight of a citizen’s vote just as

effectively as by wholly prohibiting the free exercise of the franchise.’” Id.

(quoting Reynolds v. Sims, 377 U.S. 533, 555 (1964)). In this case, Georgia law

authorized two alternative systems—(1) the Optical Scanning System, if properly

remediated, certified, and implemented or (2) hand-counted paper ballots—that

could have been utilized to ensure equal protection of voters.


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                                        176.

      Even under a rational basis standard, there is no rational basis for unequal

treatment of electors predicated on actions in violation of the Georgia Constitution

and Code.

                                        177.

      Defendant’s conduct described herein violated the Fourteenth Amendment

right of these Plaintiffs to enjoy equal protection of the law.

                                        178.

      In violating the Fourteenth Amendment, Defendant’s conduct also violated

the Georgia Constitution’s Art. I, § 1, ¶ 2, equal protection guarantees, which “are

substantially equivalent of equal protection of the laws under the U. S.

Constitution.” Grissom v. Gleason, 262 Ga. 374, 381 (1992) (emphasis omitted)

(citation omitted).

                                        179.

      Plaintiffs ask this Court to declare that these Defendants have violated the

fundamental right to equal protection of these Plaintiffs and enjoin Defendants

from conducting future elections with Georgia’s Voting System as currently

configured, declare the Runoff and certification of its result void ab initio, and

order a new election to be held as the only just relief available under the laws of

Georgia. Plaintiffs also ask the Court to prohibit the use of Georgia’s DRE System


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in future elections. In addition, this Court should award nominal compensatory

relief in the amount of $1 in recognition of these Defendants’ violation of

applicable federal and state laws and, as subsequent causation, the rights of

Plaintiffs. Finally, this Court should award attorneys’ fees and costs, as per 42

U.S.C. § 1988, for these Defendants’ causation of concrete injury to Plaintiffs,

whose fundamental right to have their vote counted as cast was and continues to be

thwarted.




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              COUNT IV: FAILURE TO RECANVASS VOTES



(Plaintiff CGG against Defendants Secretary Kemp, Members of State Board,

 State Board, Daniels, Members of the DeKalb Board, DeKalb Board, Eveler,

Members of the Cobb Board, and Cobb Board in their Individual and Official

                                    Capacities)



                        Declaratory and Injunctive Relief

                     O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                         Ga. Comp. R. & Regs. 183-1-12

                                       180.

      The allegations of paragraphs 1 through 179 above are hereby incorporated

as the allegations of this paragraph 180 of Count Four of this complaint.

                                       181.

      Georgia election rules state: “The election superintendent shall, either of his

or her own motion, or upon petition of any candidate or political party or three

electors of the county or municipality, as may be the case, order a recanvass of all

the memory cards (PCMCIA cards) for a particular precinct or precincts for one or

more offices in which it shall appear that a discrepancy or error, although not


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apparent on the face of the returns, has been made.” Ga. Comp. R. & Regs. 183-1-

12-.02(7)(a).

                                        182.

      For the reasons alleged above, Georgia’s DRE System must be presumed to

have caused substantial discrepancies or errors in returns, even if not apparent on

the face of the returns. Given the fundamental insecurity and lack of auditability of

the DRE System, direct evidence of manipulation is not required to establish the

substantial likelihood that discrepancies or errors did, in fact, occur in these

particular returns.

                                        183.

      Plaintiff CGG includes members that petitioned the DeKalb Board and the

Cobb Board to recanvass certain precincts in both counties. (See Exhibit M.) The

precincts in which recanvassing was sought were selected based on anomalous-

appearing results–including extreme swings between purported absentee Optical

Scanning System results and purported results.

                                        184.

      Defendants Daniels, Members of the DeKalb Board, the DeKalb Board,

Eveler, Members of the Cobb Board, and the Cobb Board, despite being presented

with a recanvass request which explicitly informed them of their obligation to

recanvass the requested precincts, refused to recanvass these precincts. Their


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knowing refusal to recanvass represents willful misconduct and abuse of

discretion.

                                        185.

      On information and belief, Secretary Kemp was informed of these proper

requests for recanvassing and the denials of the requests, did not act to permit such

recanvassing, and certified the election result, despite his knowledge that voters

had concerns about anomalies in identified precincts and voters’ rights to recanvass

prior to certification had been violated.

                                        186.

      Defendants Daniels, Members of the DeKalb Board, the DeKalb Board,

Eveler, Members of the Cobb Board, and the Cobb Board willfully violated their

duty under Ga. Comp. R. & Regs. 183-1-12-.02(7)(a). Concurrently, these

Defendants and Defendant Kemp violated the citizen’s right of oversight and

review.

                                        187.

      Plaintiff CGG prays this court declare that Defendants Daniels, Members of

the DeKalb Board, the DeKalb Board, Eveler, Members of the Cobb Board, and

the Cobb Board are in violation of their duty to recanvass these precincts

permitting electors to explore presumed discrepancies and propose their correction

prior to election certification. Plaintiff CGG also prays that this court will void ab


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initio the Runoff and certification of its result, and declare a new election to be

held as the only just relief available under the laws of Georgia.



     COUNT V: LACK OF CERTIFICATION OF DRE SYSTEM AND

                        OPTICAL SCANNING SYSTEM



(All Plaintiffs against Defendant Secretary Kemp, in His Individual Capacity)



                         Declaratory and Injunctive Relief

       O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3 and O.C.G.A. § 21-2-379.2



                        Ga. Comp. R. & Regs. 590-8-1-.01

                                        188.

      The allegation of paragraphs 1 through 187 above are hereby incorporated as

the allegations of this paragraph 188 of Count Five of this complaint.

                                        189.

      Under Georgia law, the Secretary of State is responsible for approving

Georgia’s voting systems as safe and accurate under the provisions of Georgia

Code Section 21-2-379.2 (regarding DRE System) and Section 21-2-368

(regarding Optical Scanning System) certifying Georgia’s voting systems under


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Ga. Comp. R. & Regs. 590-8-1-.01(d)(7). The purpose of the certification process

is to ensure that “hardware, firmware, and software have been shown to be reliable,

accurate, and capable of secure operation before they are used in elections in the

state.” Id. at (a)(3).

                                       190.

       Compliance with the specific provisions of Ga. Comp. R. & Regs. 590-8-1-

.01 is required for all voting systems implemented after April 17, 2005, and also

for all systems implemented before April 17, 2005 if there has been “a

modification to the hardware, firmware, or software of the voting system.” Id. at

(b)(4). In such circumstances, under Georgia regulations, the previous State

certification becomes invalid. Id.

                                       191.

       On information and belief, Secretary Kemp has not properly tested

Georgia’s DRE System in its current configuration although significant changes to

the system have been implemented since the system was last certified in 2008.

Moreover, he has not certified the DRE System in its current form, and the DRE

System does not comply with the mandatory requirements of Ga. Comp. R. &

Regs. 590-8-1-.01.




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                                       192.

      The DRE voting system used in Georgia was last certified in May 2008 by

then-Secretary Handel. Because various key components and software have been

added and modified since, without the required new system certification, the

system in use is not certified and, therefore, was not and cannot be used legally.

                                       193.

      On information and belief, neither Secretary Kemp nor any previous

Secretary of State has ever certified that Georgia’s Optical Scanning System “can

be safely and accurately used by electors at primaries and elections,” as required

by Georgia law. O.C.G.A. § 21-2-368(b).

                                       194.

      By law, Secretary Kemp must certify any new system configuration, tested

as an integrated whole, before it can be used in any election. He has not. Under the

provisions of Ga. Comp. R. & Regs. 590-8-1-.01(d), the system must meet current

voting systems standards promulgated by the EAC. It does not. Georgia’s DRE

System and Optical Scanning System as deployed during the Special Election and

Runoff were, therefore, illegal. Secretary Kemp, on information and belief, intends

to allow the State’s election officials continued use of these uncertified systems,

including in the upcoming November 2017 municipal elections.




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                                        195.

      Moreover, Plaintiffs Curling, Price and CGG (then-named Rocky Mountain

Foundation) sued Secretary Kemp in this court (2017CV290630) and at the June 7,

2017 hearing, Secretary Kemp produced the history of voting system certifications.

A review of that file showed that no certification existed for Georgia’s DRE

System at the time of the Special Election or Runoff. (See Exhibit K.) Further, the

documents of voting system approvals and certifications produced show no

approval of the current DRE System declaring that it can be “safely and accurately

used” as required by § 21-2-379.2. Additionally, when asked in an open records

request to provide documentation of either federal or state certification of the

system in use for the Runoff, CES stated that there were no responsive records.

                                        196.

      Accordingly, pursuant to Georgia Code Section 9-4-2, Plaintiffs pray that

this court will declare that Secretary Kemp has not certified or approved Georgia’s

DRE System or Optical Scanning System as “safe and accurate” or certified it for

use in its present form, a violation of Georgia law. Pursuant to Section 9-4-3,

Plaintiffs also pray that this court will enjoin (1) Defendants’ use of any

configuration of Georgia’s DRE System because it cannot meet the previously

listed statutory requirements and (2) the use of the Optical Scanning System until

such system and its software has been verified and its compliance with Georgia


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statutory and constitutional requirements assured via applicable certification and

approval.



     COUNT VI: ELECTION CONTEST DUE TO MISCONDUCT AND

      IRREGULARITY -- USE OF ILLEGAL, UNSECURED AND/OR

                      UNCERTIFIED VOTING SYSTEMS



  (By all Plaintiffs, except Davis, Price, and CGG, against all Defendants in

                       their Official Capacity, except King)



                        Declaratory and Injunctive Relief

                     O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                                O.C.G.A. § 21-2-520

                                          197.

      The allegations of paragraphs 1 through 196 above are hereby incorporated

as the allegations of this paragraph 197 of Count Six of this complaint.

                                          198.

      Under Georgia Code Section 21-2-521, a Contestant is entitled to “contest

the result of any primary or election.”


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                                      199.

      A Contestant can be “any aggrieved elector who was entitled to vote” in an

election. O.C.G.A. § 21-2-521. The above-named Plaintiffs were all aggrieved

electors in the Runoff. On June 26, 2017, Karen Handel was certified as the winner

of the Runoff.

                                      200.

      An aggrieved elector has the right to contest the election by naming as a

defendant in a lawsuit the “election superintendent or superintendents who

conducted the contested primary or election.” O.C.G.A. § 21-2-520(c). Election

superintendents include either “the county board of elections [or] the county board

of elections and registration,” as the case may be. O.C.G.A. § 21-2-2(35)(A).

Additionally, it can include the Secretary of State. See Dawkins-Haigler v.

Anderson, 799 S.E.2d 180 (2017). Here, these Plaintiffs named such appropriate

defendants.

                                      201.

      Since the State and County Boards and their members are “superintendents”

under the meaning of this statute, by statute, Defendants State Board, Fulton

Board, DeKalb Board, Cobb Board–as well as their respective individual members,

including Secretary Kemp as Chair of the State Board, as well as Defendants




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Barron, Daniels, and Eveler–lack immunity to an election contest claim. O.C.G.A.

§ 21-2-520.

                                        202.

      The result of any election may be contested if, among other reasons, there is

“misconduct, fraud, or irregularity” on the part of any “election official or officials

sufficient to change or place in doubt the result.” O.C.G.A. § 21-2-522(1).

                                        203.

      Here, the Runoff produced tabulations that are speculative and based on the

illogical theory that the non-compliant and undeniably unsecured voting system

produced accurate results. The use of Georgia’s DRE System and Optical Scanning

System, given their compromised security, material and pervasive non-compliance

with the Election Code, and unverifiability of the results, and lack of certification

of Georgia’s Voting System as currently configured, amount to an “irregularity”

that, at a minimum, “place[s] in doubt” the result of this election. O.C.G.A. § 21-2-

522(1); see also Counts I; V (regarding lack of voting system certification for DRE

System and Optical Scanning System).

                                        204.

      Because the GEMS tabulation server itself was compromised, the tabulation

of all ballots has been compromised and the result has been placed in substantial

doubt. Moreover, the vast majority of the votes are not capable of verification or


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correction of discrepancies. Although the Optical Scanning System ballots, as with

the DRE ballots, were improperly counted through electronic means of the Optical

Scanning System, they can be recounted and any discrepancies corrected by

verifiable means in this proceeding. However, those ballots constitute a small

minority of total votes cast. In the Runoff, 260,455 ballots were cast. Of those

ballots, approximately 232,712 were cast using the DRE machines. The remaining

27,742 votes were cast by Optical Scanning ballot. 232,712 is significantly greater

than the margin of victory in the Runoff – 9,702. Thus, given the extensive use of

illegal ballots for which the tabulation cannot be verified, the result of the election

is not only placed in substantial doubt, but there is no ability for this court to

determine an accurate DRE vote count, recount the DRE ballots, or correct the

DRE discrepancies.

                                         205.

      Testimony of experts demonstrate their universal agreement that Georgia’s

DRE System (and, by logical inference and extension, the Optical Scanning

System) should not have been used in the Runoff, and cannot be relied on to

produce accurate results, placing the election results in significant doubt. (See

Exhibits F, G, and H)




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                                        206.

      Accordingly, these Plaintiffs file this petition to contest the Runoff election

result, in addition to their other claims herein. These Plaintiffs pray this court

declare this election and the certification of its result void ab initio and order a new

election to be held as the only just relief available under the laws of Georgia.



COUNT VII - ELECTION CONTEST DUE TO IRREGULARITY – USE OF

            ILLEGAL BALLOTS AND ILLEGAL PROCEDURES



  (By All Plaintiffs, except Davis, Price, and CGG, against All Defendants in

                       their Official Capacity, except King)



                         Declaratory and Injunctive Relief

                      O.C.G.A. § 9-4-2 and O.C.G.A. § 9-4-3



                                O.C.G.A. § 21-2-520

                                        207.

      The allegations of paragraphs 1 through 206 above are hereby incorporated

as the allegations of this paragraph 207 of Count Seven of this complaint.




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                                        208.

      Electors in the Runoff used illegal ballots. DRE ballots are illegal because

the DRE System on which they were cast is not certified and is in violation of the

statutory requirements for such a system and they cannot be cast and tabulated in

accordance with the statutory requirements of the Election Code. See O.C.G.A.

§§ 21-2-379.1 to -379.12. Absentee ballots used in the Runoff were also illegal

because the Optical Scanning System through which they were cast is not certified

and is in violation of the statutory requirements for such a system. See O.C.G.A.

§§ 21-2-365 to -379. Issuance of illegal ballots are an “irregularity” ordered by “an

election official or officials.” O.C.G.A. § 21-2-522(1).

                                        209.

      When illegal ballots are used, elector’s choices on the illegal ballots and

their purported tabulation is irrelevant. Mead, 278 Ga at 272.

                                        210.

      Instead, the question is whether the number of illegal ballots used is

“sufficient to change or place in doubt the result” of the election. The number of

illegal ballots is sufficient enough to change or place in doubt the result of the

election when the amount used by electors to cast their votes is greater than the

margin of victory. See Mead 278 Ga. 271.




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                                         211.

      Because the GEMS tabulation server itself was compromised, the tabulation

of ballots has been compromised and the entire results have been placed in doubt.

                                         212.

      Moreover, the vast majority of the votes are not capable of verification or

subject to the correction of discrepancies. Although the Optical Scanning ballots,

as with the DRE ballots, were improperly counted through electronic means, they

can be recounted and any discrepancies corrected by verifiable means in this

proceeding. However, those ballots constitute a small minority of total votes cast.

As stated above, given the extensive use of illegal DRE ballots that cannot be

verified, the result of the election is not only placed in substantial doubt, but there

is no ability for this court to determine an accurate vote count, to recount the

ballots, or to correct discrepancies.

                                         213.

      The DRE ballots and the Optical Scanning ballots used in the Runoff were

illegal because they did not substantially adhere to the Georgia Constitution or

Code. When a ballot does not follow a mandate from the Georgia Constitution or

the Georgia Code the ballot is “illegal.” See Mead, 278 Ga. at 269.




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                                         214.

         Defendants State Board, Fulton Board, DeKalb Board, Cobb Board, as well

as their respective individual members, including Secretary Kemp as Chair of the

State Board, and Defendants Barron, Daniels, and Eveler, bear statutory

responsibility, as “superintendents,” for allowing illegal ballots to be issued, cast

and counted under the DRE System and Optical Scanning System. O.C.G.A. § 21-

2-520(2)(C). They do not have sovereign or qualified immunity to preclude this

claim.

                                         215.

         Since the Runoff used illegal ballots in sufficient number to place the

election in doubt, including the misconduct and irregularities alleged above, and

these Defendants refused to recanvass the votes, the above-named Plaintiffs file

this petition to contest the Runoff election result, in addition to their other claims

herein. These Plaintiffs pray this court declare the Runoff election and the

certification of its result void ab initio and declare a new election to be held as the

only just relief available under the laws of Georgia.




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                    COUNT VIII: WRIT OF MANDAMUS



               (All Plaintiffs against Defendant Secretary Kemp)



                               Writ of Mandamus

           O.C.G.A. § 9-4-3 and O.C.G.A. § 9-4-2; O.C.G.A. § 9-6-20



 Requiring Exercise of the Public Duty to Reexamine Georgia’s DRE System

  Established by O.C.G.A. § 21-2-379.2(b) and to Use Optical Scan or Paper

     Ballots in Lieu of DRE Machines to Comply with “Safe or Accurate”

                       Requirements for Voting Machines

                                       216.

      The allegation of paragraphs 1 through 215 above are hereby incorporated as

the allegations of this paragraph 216 of Count Eight of this complaint.

                                       217.

      Mandamus is a remedy for “government[al] inaction – the failure of a public

official to perform a clear legal duty.” Southern LNG, Inc. v. MacGinnitie, 294 Ga.

657, 661 (2014).




                                        101
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                                        218.

      Mandamus is warranted when (1) a public official has a clear legal duty to

perform an official act (as requested); (2) that the requesting party has a clear legal

right to the relief sought or that the public official has committed a gross abuse of

discretion; and (3) that there is no other adequate legal remedy. See Bland Farms,

LLC v. Georgia Dept. of Agriculture, 281 Ga. 192, 193 (2006); SJN Props., LLC

v. Fulton County Bd. of Assessors, 296 Ga. 793, 800 (2015).

                                        219.

      The Georgia General Assembly has the power to determine the Secretary of

State’s clear legal duties. See Ga Const. Art. V, § 3, ¶ 5 (“[T]he General Assembly

shall prescribe the powers, duties, compensation, and allowances of… executive

officers...”). The General Assembly did so under Georgia Code Section 21-2-50,

which requires the Secretary of State to “perform such other duties as may be

prescribed by law,” including duties of approving the form of ballots, and

developing, programming, and reviewing DRE and Optical Scanning ballots.

                                        220.

      One clear duty of the Secretary of State, as prescribed by law, is that “The

Secretary of State may, at any time, in his or her discretion, reexamine any [DRE]

system.” O.C.G.A. § 21-2-379.2(a). The clear purpose Secretary of State’s power

to reexamine any DRE system at his discretion is to ensure that the DRE System


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can be “safely and accurately used by electors at primaries and elections.”

O.C.G.A. § 21-2-379.2(b). The Secretary of State has the same power, and

discretion, to reexamine any Optical Scanning system, with the same purpose of

ensuring that such a system be safely and accurately used. O.C.G.A. § 21-2-368.

                                       221.

      Although Secretary Kemp was aware of numerous security breaches and

statutory non-compliance of the DRE System, he violated his legal obligations by

not reexamining Georgia’s DRE System before the Runoff in response to the

repeated requests of electors pursuant to Georgia Code Section 21-2-379.2(a)—or

abused his discretion by not initiating the reexamination process sua sponte before

the Runoff pursuant to Section § 21-2-379.2. Secretary Kemp, likewise, violated

his legal obligations by not reexamining Georgia’s Optical Scanning System

before the Runoff in response to the repeated requests of electors—or abused his

discretion by not initiating the reexamination process sua sponte before the Runoff.

O.C.G.A. § 21-2-368.

                                       222.

      Secretary Kemp also violated his duty ultimately upon reexamination –

whether requested by electors or sua sponte – to remove from commission the

DRE System and the Optical Scanning System. If upon reexamination, should it

“appear that the system … can no longer be safely or accurately used by electors”


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as provided under the Georgia Code “because of any problem concerning its ability

to accurately record or tabulate votes,” then the Secretary of State should

“immediately” revoke his approval. O.C.G.A. § 21-2-379.2(c); see also O.C.G.A.

§ 21-2-368(c) (similar provision with respect to Optical Scanning System).

Georgia’s DRE System was not and is not safe or accurate, and its approval for use

should have been revoked, if such approval was ever given29; the same is true of

the Optical Scanning System. When Secretary Kemp, faced with knowledge of a

substantially non-compliant system, failed to take action to revoke and replace

Georgia’s Voting System, his inaction left county election officials without a

District-wide policy or directive to deploy a legally compliant voting system.

                                             223.

       Abuse of discretion is found when a public official acts in an “arbitrary,

capricious, and unreasonable” manner. Burke Cty. V. Askin, 291 Ga. 697, 701

(2012) (citing Massey v. Georgia Bd. Of Pardons & Paroles, 275 Ga. 127, 128(2)

(2002)). This includes acting in such an arbitrary, capricious way that their abuse




29
   That Secretary Kemp never examined the DRE System or the Optical Scanning System in the
first place (see Count V) provides no refuge here. The Secretary is obligated to ensure that “No
kind of direct recording electronic voting system not so approved shall be used at any primary or
election.” O.C.G.A. § 21-2-379.2(c); see also O.C.G.A. § 21-2-368(c) (similar provision with
respect to Optical Scanning System). That Kemp failed to properly certify the systems makes his
failure to examine in the face of the request and the information about the vulnerability of the
systems an even greater abuse of his discretion.



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of discretion “amounts to a failure on the part of the officer to exercise his

discretion at all.” S. View Cemetery Ass'n v. Hailey, 199 Ga. 478, 483 (1945).

                                           224.

       Here, well before the Runoff, Secretary Kemp was informed of at least three

breaches into CES system, and was warned by DHS, the FBI, and the EAC that

foreign actors were probing multiple states’ election systems, and such agencies of

the US government offered specific protective measures for Secretary Kemp to

undertake. He was warned repeatedly that Georgia’s DRE System (and, by logical

inference and extension, the Optical Scanning System) was highly susceptible to

attack based on the allegations stated throughout this Complaint. He was warned

by experts at the June 7 hearing (See Curling v. Kemp, Case No. 2017CV290630)

that the system could not be used “safely and accurately,” and could not be relied

on for accurate results. Although Secretary Kemp admitted that “anything is

possible”30 when it comes to Russians tampering with Georgia’s Voting System, he

refused to examine the DRE System or the Optical Scanning System for security

and compliance.




30
  Kim Zetter, Will the Georgia Special Election Get Hacked, Politico, June 14, 2017,
http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-election-get-
hacked-215255 , (last visited June 30, 2017).



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                                          225.

       Despite these repeated warnings and breaches, Secretary Kemp, the only top

state election official in the nation to do so, refused assistance from the Department

of Homeland Security to help protect Georgia’s Voting System in August 2016. He

did so because he did not “necessarily believe” that hacking of Georgia’s elections

is a real threat. About the issue he stated, “I think it was a politically calculated

move by the [Obama] administration.”31 His rationale for his belief: “The question

remains whether the federal government will subvert the Constitution to achieve

the goal of federalizing elections under the guise of security. … Designating voting

systems or any other election system as critical infrastructure would be a vast

federal overreach, the cost of which would not equally improve the security of

elections in the United States.”32

                                          226.

       Such beliefs are arbitrary. They are based on a solely personal belief,

unreasonable in that they are not rooted in fact, and contrary to empirically

supported concerns expressed to him repeatedly by his constituents, cybersecurity

31
  Paul Waldman, How Democratic Timidity May Have Helped Trump Get Elected, Washington
Post, June 23, 2017, https://www.washingtonpost.com/blogs/plum-line/wp/2017/06/23/how-
democratic-timidity-may-have-helped-trump-get-elected/?utm_term=.d36b828f5d08 (last visited
July 3, 2017).
32
  Allya Sternstein, At Least One State Declines Offer For DHS Voting Security, NextGov,
August 25, 2016, http://www.nextgov.com/cybersecurity/2016/08/some-swing-states-decline-
dhs-voting-security-offer/131037/ (last visited July 3, 2017).



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experts, voting system experts, the EAC, the FBI, and DHS. His beliefs and

reckless decision not to review the system are so arbitrary, capricious, and

unreasonable that they “amount[] to a failure on the part of the officer to exercise

his discretion at all.” S. View Cemetery Ass’n, 199 Ga. at 483.

                                       227.

      Georgia’s DRE System and Optical Scanning System were used in the 2016

General Election, as well as the Special Election, and the Runoff. On information

and belief, Secretary Kemp plans to use the systems again in remaining 2017

elections and beyond – despite being more than aware of the burden the systems

impose on Georgia electors’ right to vote and of the fact that the systems do not

comply with numerous provisions of the Election Code.

                                       228.

      The Secretary of State is clearly charged with ensuring the safety and

accuracy of Georgia’s Voting System. Yet, Secretary Kemp willfully ignores

known threats to Georgia’s election process against the informed counsel of the

Federal Government, security experts, voting system experts, and his constituents.

His misinformation—and the false assurances he has delivered to the public and

elected officials—likely caused voters to use DRE machines based on their

mistaken understanding that the DRE System was secure and would properly

record their votes. Secretary Kemp essentially did nothing to fulfill his duty to


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ensure the legal compliance, safety, and accuracy of Georgia's Voting System but,

instead, willfully misled electors by making false claims about the security and

certification of the systems in question here. Such reckless inaction and campaign

of misinformation constitutes an abuse of discretion. See S. View Cemetery Ass'n.,

199 Ga. at 483.

                                       229.

       Where the question is one of public right and the object is to procure the

enforcement of a public duty, no legal or special interest need be shown, but it

shall be sufficient that a plaintiff is interested in having the laws executed and the

duty in question enforced. O.C.G.A. § 9-6-24.

                                       230.

       The Court has full and complete power to issue mandamus under Georgia

Code Section 9-6-20, which provides, “All official duties should be faithfully

performed; and whenever, from any cause, a defect of legal justice would ensue

from a failure to perform or from improper performance, the writ of mandamus

may issue to compel a due performance, if there is no other specific legal remedy

for the legal rights.”

                                       231.

       Apart from this Court’s issuance of the writ of mandamus, Plaintiffs have no

other legal remedy to compel enforcement of Secretary Kemp’s official, public


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duty to conduct the reexamination required by Georgia Code Sections 21-2-

379.2(b) or 21-2-368(b), nor do they have any other remedy to compel

enforcement of Secretary Kemp’s duties to remove from commission voting

machines that are non-compliant and replace them with a safe, accurate and legally

compliant system. Various electors, including Davis, have attempted multiple

times to have Secretary Kemp reevaluate the system. However, he has resisted

their requests and imposed impractical fees and timelines, when he initially

responded, as a reason not to reevaluate. Although he has recently waived the fees

to be charged to the requesting electors, he remains unwilling to take timely action.

Additionally, Secretary Kemp can act on his own accord. Electors cannot force

Secretary Kemp to act in that capacity to fulfill his duties. Only the Court can.

                                       232.

      For the reasons provided, Plaintiffs respectfully ask this Court to issue a writ

of mandamus for Secretary Kemp to fulfill his public duty to timely reexamine the

DRE System and the Optical Scanning System and approve for future elections a

legally compliant voting scheme, which, given DRE system’s lack of safety and

accuracy, must be an optical scan-based system or hand-counted paper ballots.




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                     COUNT IX: WRIT OF MANDAMUS



   (All Plaintiffs against Defendants Members of State Board, State Board,

 Daniels, Members of the DeKalb Board, DeKalb Board, Eveler, Members of

  the Cobb Board, Cobb Board, Barron, Members of the Fulton Board, and

                   Fulton Board, in their Official Capacities)



                               Writ of Mandamus

          O.C.G.A. § 9-4-3 and O.C.G.A. § 9-4-2; O.C.G.A. § 9-6-20



Requiring Exercise of the Public Duty to Use Optical Scan or Paper Ballots in

     Lieu of DRE Machines to Comply with “Practicable” Requirements



                                      233.

      The allegation of paragraphs 1 through 236 above are hereby incorporated as

the allegations of this paragraph 237 of Count Nine of this complaint.

                                      234.

      Mandamus is a remedy for “government[al] inaction – the failure of a public

official to perform a clear legal duty.” Southern LNG, Inc. v. MacGinnitie, 294 Ga.

657, 661 (2014).


                                        110
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                                        235.

      Mandamus is warranted when (1) a public official has a clear legal duty to

perform an official act (as requested); (2) that the requesting party has a clear legal

right to the relief sought or that the public official has committed a gross abuse of

discretion; and (3) that there is no other adequate legal remedy. See Bland Farms,

LLC v. Georgia Dept. of Agriculture, 281 Ga. 192, 193 (2006); SJN Props., LLC

v. Fulton County Bd. of Assessors, 296 Ga. 793, 800 (2015).

                                        236.

      State Board, County Board, and County Election Officials abrogated a duty

to remove from use machines that are not practicable. O.C.G.A. § 21-2-334. Again,

these Defendants had two readily available choices authorized by the Election

Code: they could have fully employed a compliant optical scanning voting system

authorized by Georgia Code Section 21-2-366, or they could have used hand-

counted paper ballots as authorized by Section 21-2-281. They failed to perform

their duty during the Runoff, and without the intervention of his court, such failure

is subject to repetition for upcoming elections.

                                        237.

      Where the question is one of public right and the object is to procure the

enforcement of a public duty, no legal or special interest need be shown, but it




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shall be sufficient that a plaintiff is interested in having the laws executed and the

duty in question enforced. O.C.G.A. § 9-6-24.

                                        238.

       The Court has full and complete power to issue mandamus under Georgia

Code Section 9-6-20, which provides, “All official duties should be faithfully

performed; and whenever, from any cause, a defect of legal justice would ensue

from a failure to perform or from improper performance, the writ of mandamus

may issue to compel a due performance, if there is no other specific legal remedy

for the legal rights.”

                                        239.

       Apart from this Court’s issuance of the writ of mandamus, Plaintiffs have no

other legal remedy to compel enforcement of State Board, County Board, and

County Election Officials’ official, public duty to remove from commission voting

machines that are not “practicable,” and replace them with a safe, accurate and

legally compliant system.

                                        240.

       For the reasons provided, Plaintiffs respectfully ask this Court to issue a writ

of mandamus ordering State Board, County Board, and County Election Officials

to discontinue the use of the DRE System and either utilize a fully compliant and




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certified optical scanning voting system, pursuant to Georgia Code Section 21-2-

366, or, pursuant to Section 21-2-281, use hand-counted paper ballots.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully ask this court:

   ● to grant declaratory relief deeming that Defendants have violated the

      Georgia Constitution, 42 U.S.C. § 1983, the Election Code, including

      Georgia’s system certification regulations and provisions, and tabulation,

      recanvassing and results certification provisions; and declaring the

      certification of result of the Runoff and the Runoff election itself void ab

      initio;

   ● to grant declaratory relief deeming that Defendants Daniels, Members of the

      DeKalb Board, the DeKalb Board, Eveler, Members of the Cobb Board, and

      the Cobb Board are in violation of their duty to recanvass these precincts

      permitting electors to explore presumed discrepancies and propose their

      correction prior to election certification;

   ● to grant injunctive relief requiring Defendants to conduct a new election as

      the only just relief available under the laws of Georgia and enjoining all

      future use of Georgia’s DRE System and the future use of the Optical

      Scanning System as currently configured;


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● to issue a writ of mandamus for Secretary Kemp to fulfill his public duty to

   timely reexamine the DRE System and the Optical Scanning System and

   approve for future elections a legally compliant voting scheme, which, given

   DRE system’s lack of safety and accuracy, must be an optical scan-based

   system or hand-counted paper ballots;

● to issue a writ of mandamus for State Board, County Board, and County

   Election Officials to discontinue the use of the DRE system and either utilize

   a fully compliant and certified optical scanning voting system or hand-

   counted paper ballots;

● to grant nominal compensatory damages in the amount of $1, in recognition

   of Defendants’ violation of applicable federal and state laws, which have

   caused harm to Plaintiffs;

● to award attorneys’ fees and costs for the deprivation of civil rights arising

   from alleged Defendants’ patent and fundamental unfairness in conducting

   elections on Georgia’s Voting System, causing a Section 1983 violation; and

● to grant all other relief this court deems proper.




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Respectfully submitted this 4th day of August 2017.


                            /s/ Bryan M. Ward
                            Bryan Ward, Esq.
                            Georgia Bar No. 736656
                            Marvin Lim, Esq.
                            Georgia Bar No. 147236
                            Holcomb + Ward LLP
                            3399 Peachtree Rd NE, Suite 400
                            Atlanta, GA 30326
                            (404) 601-2803 (office)
                            (404) 393-1554 (fax)
                            Bryan.Ward@holcombward.com
                            Marvin@holcombward.com




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Andino, Marci

From:                        Brian Newby <BNewby@eac.gov>
Sent:                        Tuesday, August 23, 2016 4:22 PM                                        .
To:                          John.Merrill@sos.Alabama.gov; stevenreed@mc-ala.org; josie.bahnke@alaska.gov;
                             carol.thompson@alaska.gov; lealofi.uiagalelei@eo.as.gov; fiti.tavai@gmail.com;
                             espencer@azsos.gov; rvalenzuela@risc.maricopa.gov; cpekron@qgtlaw.com;
                            jacksoncountyclerk@gmail.com; Neal.kelley@rov.ocgov.com;
                             dwight.shellman@sos.state.co.us; rsantos@co.weld.co.us; peggy.reeves@ct.gov;
                             tdecarlo@waterburyct.org; elaine.manlove@state.de.us; howard.sholl@state.de.us;
                             Maria.Matthews@DOS.myflorida.com; plux@co.okaloosa.fl.us; bpkemp@sos.ga.gov;
                             lbailey@augustaga.gov; maria.pangelinan@gec.guam.gov; joe.iseke@gec.guam.gov;
                            Aulii.c.tenn@hawaii.gov; Shirley.magarifuji@mauicounty.us; thurst@sos.idaho.gov;
                             pattyweeks@co.nezperce.id.us; bglazier@elections.il.gov; lgough@earthlink.net;
                             bking@iec.in.gov; trethlake@co.st-joseph.in.us; carol.olson@sos.iowa.gov;
                            gveeder@co.black-hawk.ia.us; bryan.caskey@sos.ks.gov;
                            at_county_clerk@wan.kdor.state.ks.us; maryellen.allen@ky.gov;
                            cou ntyclerk@jeffersoncou ntyclerk. org; Angie. rogers@sos. lou isiana. gov; ljperret@I pclerk. com;
                            julie.flynn@maine.gov; KLJ@portlandmaine.gov; Nikki.Charlson@Maryland.gov;
                             katie.brown@maryland.gov; Michelle. Tassinari@sec.state.ma. us; elections@cobma.us;
                            WilliamsS 1@mich igan .gov; J Roncelli@Bloomfieldtwp.org; gary.poser@state.mn.us;
                            sharon.k.anderson@co.cass.mn.us; Hawley.robertson@sos.ms.gov;
                            bmosley@lafayettecoms.com; julie.allen@sos.mo.gov; Howell@sos.mo.gov;
                            lkimmet@mt.gov; charlotte.mills@gallatin.mt.gov; neal.erickson@nebraska.gov;
                            dshively@lancaster.ne.gov; jwendland@SOS.NV.gov; jpg@ClarkCountyNV.gov;
                            astevens@sos.nh.gov; robertd@pointing.com; Robert.Giles@sos.nj.gov; lvonnessi@aol.com;
                            Kari.Fresquez@state.nm.us; dkunko@co.chaves.nm.us; douglas.kellner@elections.ny.gov;
                            rachel.bledi@albanycounty.com; veronica.degraffenreid@ncsbe.gov;
                            Michael. Dickerson@mecklenburgcountync.gov; jsilrum@nd.gov; cbradley@nd.gov;
                            pwolfe@ohiosecretaryofstate.gov; HARSMANS@mcohio.org; carol.morris@elections.ok.gov;
                            dousan@oklahomacounty.org; james.r.williams@state.or.us;
                            derrin.robinson@co.harney.or.us; maschneide@pa.gov; jgreenburg@mcc.co.mercer.pa.us;
                            rallende@cee.gobierno.pr; WaValez@cee.gobierno.pr; rrock@sos.ri.gov; Andino, Marci;
                            vr14sblack@hotmail.com; Kristin.Kellar@state.sd.us; jerry.schwarting@state.sd.us;
                            Mark.Goins@tn.gov; astarling@tnaflcio.org; kingram@sos.texas.gov;
                            elections@traviscountytx.gov; mjthomas@utah.gov; sswensen@slco.org;
                            will.senning@sec.state.vt.us; dorsetclerk@gmail.com; Caroline.Fawkes@vi.gov;
                            genevieve.whitaker@vi.gov; edgardo.cortes@elections.virginia.gov;
                            Griddlemoser@staffordcountyva.gov; stuart.holmes@sos.wa.gov;
                            swansonk@co.cowlitz.wa.us; lbrown@wvsos.com; bwood@putnamwv.org;
                            michael.haas@wi.gov; bgoeckner@village.germantown.wi.us; jgonzales@co.albany.wy.us;
                            kai.schon@wyo.gov
Cc:                         EAC Leadership
Subject:                    Attached Security Document
Attachments:                BOE_FLASH_aug2016_final.pdf


Dear Standards Board Member,

On behalf of EACCommissioner Christy McCormick, as the agency's DFO for the Standards Board, I am sending the
attached security document to you that has been provided to us recently by the Federal Bureau of Investigation. The FBI
has asked that we share this document expressly with election officials.

You'll see that the document identifies specific Internet Protocol (IP) addresses and recommends that election officials
scan their systems to ensure these IP addresses are not accessing election systems.

Please share this with other election officials in your state, respecting the FBl's designation that this information be
shared on a need-to-know basis only. The attachment is non-classified, but it is not intended for distribution outside of
the election administrator community.

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Should you have any questions regarding this information, please call or email me. In the meantime, thank you for your
assistance regarding this information.



Brian D. Newby, CERA I Executive Director
Election Assistance Commission
1335 East West Highway Suite 4300
Silver Spring I Maryland 20910
                                       I
                            I
(301) 563-3959 (0) (202) 734-0639 (C)
bnewby@eac.gov I www.eac.gov


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                         ASSISTANC'.E(=()1\it
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attachments for the presence of viruses. The Election Assistance Commission accepts no liability for any virus transmitted by this email.




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                                 In furtherance of public-private partnerships, the FBI routinely advises private
                                 industry of various cyber threat indicators observed during the course of our
  18 August 2016
                                 investigations. This data is provided in order to help cyber security professionals
                                 and system administrators to guard against the persistent malicious actions of
       Alert Number
                                 cyber criminals.
    T-LD1004-TT
                                 This FLASHhas been released TLP: AMBER: The information in this product is only
                                 for members of their own organization and those with DIRECTNEEDTO KNOW.
  WE NEED YOUR                   This information is NOT to be forwarded on beyond NEEDTO KNOW recipients.
         HELP!
  If you find any of             Targeting         Activity Against State Board of Election
these indicators on              Systems
 your networks, or
                                 Summary
      have related
information, please              The FBI received information of an additional IP address, 5.149.249.172, which
                                 was detected in the July 2016 compromise of a state's Board of Election Web site.
        contact                  Additionally, in August 2016 attempted intrusion activities into another state's
    FBI CYWATCH                  Board of Election system identified the IP address, 185.104.9.39 used in the
                                 aforementioned compromise.
     immediately.
         Email:                  TechnicalDetails
cywatch@ic.fbi.gov
                                 The following information was released by the MS-ISACon 1 August 2016, which
          Phone:                 was derived through the course of the investigation.

   1-855-292-3937                In late June 2016, an unknown actor scanned a state's Board of Election website
                                 for vulnerabilities using Acunetix, and after identifying a Structured Query
    *Note: By reporting any      Language (SQL) injection (SQLi)vulnerability, used SQLmap to target the state
  related information to FBI     website. The majority of the data exfiltration occurred in mid-July. There were 7
 CyWatch, you ore assisting in   suspicious IPs and penetration testing tools Acunetix, SQLMap, and DirBuster used
   shoring information that      by the actor, detailed in the indicators section below.
     allows the FBIto track
      malicious actors and       Indicators associated with the Board of Elections intrusion:
    coordinate with private
industry and the United States       •   The use of Acunetix tool was confirmed when "GET/acunetix-wvs-test-for-
                                                                     11                               11          11

Government to prevent future             some-inexistent-file -443        and several requests with    wvstest=        appeared
    intrusions and attacks.              in the logs;




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    •   The user agent for Acunetix was identified in the logs -
        " Mozil Ia/5 .0+(Win d ows+NT +6, l;+WOW64 )+App leWe bl(it/53 7, 21++(KHTML,+Ii ke+Gecko)+Chrome/ 41,0, 2228,
        0+Safari/537.21";

    •   The use of SQLMap was confirmed after "GET /status,aspx DLIDNumber=l';DROP TABLEsqlmapoutput"
        appeared in the logs;

    •   The user agent for SQLMap is "Mozilla/5.0+(Macintosh;+U;+lntel+Mac+OS+X+10.7;+en-US;+rv:l,9,2,2)+
        Gecko/20100316+Firefox/3,6,2 200 0 0 421" (These are easily spoofed and not inclusive of all SQLMap activity);

    •   The user agent for the DirBuster program is "DirBuster-1.0-
        RCl +( http://www.owasp.org/index.  php/Category:OWASP _ DirBuster _Project<http://www.owasp.org/index,ph
        p/Category:OWASP _DirBuster_Project> )";

IP Addresses:


    •       185,104,11,154
    •       185,104,9,39
    •       204.15S.30.75
    •       204.15S.30.76
    •       204,155,30,80
    •       204,155,30,81
    •       89,188,9,91
    •       5.149.249.172 (new, per FBI)

Recommendations

The FBI is requesting that states contact their Board of Elections and determine if any similar activity to their logs, both
inbound and outbound, has been detected, Attempts should not be made to touch or ping the IP addresses directly,

Recommended Steps for Precautions

The FBI recommends all states take the following precautions to their state Board of Election databases:

    •   Search logs for commands often passed during SQL injection: SELECT,INSERT,UNION, CREATE,DECLARE,CAST,
        EXEC,and DELETE,', %27, --

    •   Search logs for privilege escalation attempts
           o Looking for references to "cmd.exe" and "xp_cmdshell" (115only)
           o Common to see these following SQL injection (logical next step)
           o Can limit search to entries with HITP status code 200 (success)




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    •   Search for signs of directory enumeration/traversal of the web server file system (used to identify the type of
        scripting language a web server supports)
             o Lookingfor series of unsuccessful connections with strange URIstrings, such as:
                     •   GET/Login// ..%Sc..%Sc..%Sc..%Sc..%Sc..%5c..%5c..%5cetc/passwd
                     •   GET/images"OTA2NjAw%40
                     •   GET/Login// ../../.,/.,/ ../ ../../ ../etc/passwd
                    •    GET /Login// ../ ../ ../ ../ ../ ../ ../ ../windows/win.ini
                            •   Shortly after these requests you should see SQL injection in the logs
                             •    May also be" ..\ ..\ .."

The following recommendations were released by the MS-ISACon 1 August 2016.

   •    Conduct vulnerability scans on local government and law enforcement websites and promptly remediate any
        vulnerabilities (or contact your hosting provider to do so on your behalf). Particular attention should be paid to
        SQLi vulnerabilities. Website hosting providers should also pay attention to vulnerabilities on other websites
        on the same server, which may provide a back-door into the local government's website.

   •    Ensure all software.and applications, especially content management software, are fully patched.

   •    Create custom, general error messages for the web application to generate, as malicious cyber actors can gain
        valuable information, such as table and column names and data types, through default error messages
        generated by the database during a SQLi attack.

   •    Validate user input prior to forwarding it to the database. Only accept expected user input and limit input
        length. This can be done by implementing a whitelist for input validation, which involves defining exactly what
        input is authorized.

   •    Implement the principle of least privilege for database accounts. Administrator rights should never be assigned
        to application accounts and any given user should have access to only the bare minimum set of resources
        required to perform business tasks. Access should only be given to the specific tables an account requires to
        function properly.

   •    The database management system itself should have minimal privileges on the operating system, and since
        many of these systems run with root or system level access by default, it should be changed to more limited
        permissions.

   •    Isolate the web application from the SQL instructions. Place all SQL instructions required by the application in
        stored procedures on the database server. The use of user-created stored procedures and prepared
        statements (or parameterized queries) makes it nearly impossible for a user's input to modify SQL statements
        because they are compiled prior to adding the input. Also, have the application sanitize all user input to ensure
        the stored procedures are not susceptible to SQLi attacks.

   •    l)se static queries. If dynamic queries are required, use prepared statements.




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    •   Enable full logging on web servers and email servers to aid in forensic and legal responses if a breach does
        occur.


Information in this product is for official use only. No portion of this FLASHshould be released to the media or the
general public. Organizations should not attempt to connect to any of the IP addresses or domain names referenced in
this FLASH.The indicators are being provided for network defense purposes only and any activity to these indicators or
release of this material could adversely affect investigative activities.


Reporting Notice

The FBI encourages recipients who identify the use of tool(s) or techniques discussed in this document to report
information to their local FBI Field Office or the FBl's 24/7 Cyber Watch (CyWatch). Field Office contacts can be
identified at www.fbi.gov/contact-us/field.   CyWatch can be contacted by phone at 855-292-3937 or by e-mail at
CyWatch@ic.fbi.gov. When available, each report submitted should include: the date; time; location; type of activity;
number of infected users; type of equipment used for the activity; name of the submitting company or organization;
and a designated point of contact.




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STATE
    UN1ti~sn~                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017



Background

On Wednesday March 1st at 9:29pm, a member of the KSUUITSInformation Security Office was
contacted by a KSUfaculty member regarding an alleged breach of data on the elections.kennesaw.edu
server. UITSstaff validated the vulnerability and notified the CIO regarding the incident. The data
contained hosted on the identified server was outside the scope of student information and no student
records are associated with this alleged breach. Log analysis identified that the largest file identified
contained voter registration information for 6.7 million individuals.

Actions Taken

Within an hour of initial contact, the vulnerability was confirmed and firewall rules established to block
accessto elections.kennesaw.edu. On March 2, 2017, UITS-ISOpulled apache and Drupal logs, reported
incident to USG,reset passwords, and seized the elections.kennesaw.edu server. On March 3, 2017, the
FBIwas engaged and the impacted server was turned over to FBIfor investigation.

IT staff which were reporting within the Center for Election systems were realigned to report within the
University Information Technology Services Information Security Office and a walkthrough of the area
performed to validate the isolated internal network's segregation from the public network. The
elections backup server- unicoi - was removed from the Center and physically secured within UITSISO
Evidence Storage.

On March 30th , KSUemployees (President Olens, CIO,AVP Strategic Communications, Legal Counsel,
CISO,CESRepresentatives) met with the FBIand USAttorney's Office regarding the outcome of the
Federal Investigation. Chad Hunt shared that the investigation had yielded no data that "escalates to the
point of breach". KSUReleaseda statement to the media on 3/31/17 as follows:

         KENNESAW,Ga (Mar. 31, 2017)-Kennesaw          State officials report there is no indication
         of any illegal activity and that no personal information          was compromised         following
         unauthorized       access of a dedicated server at the Center for Election Systems. KSU
         officials were briefed yesterday by the Federal Bureau of Investigation                (FBI).

         University officials were first notified of the situation       on March 1 and immediately
         isolated the server. Officials also contacted the Office of the Secretary of State and
        federal law enforcement,       which prompted        the FBI investigation.     According to the
         FBI, the server was accessed by an outside security researcher. No student data was
         involved.

        "We are working with experts within the University System of Georgia and an
        outside firm to validate that KSU's systems are secured and meet best practice
        standards,"      said KSU President Sam Olens. "We greatly appreciate the speed and
        dedication      of the FBI and the U.S. Attorney's     Office in helping us resolve this issue."




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STATE
    UNI~i~sn~                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
Financial Impact

None, although if it was determined that the data hosted on elections.kennesaw.edu was maliciously
disclosed, the notification and credit monitoring would have been approximately $2 million.

Successes

The following list describes those actions or systems that worked as intended, or better than
anticipated, during the execution of incident and breach response activities:

              o    The UITS ISO Incident Response process worked as intended, isolating the server and
                   preserving evidence for later analysis and hand-off to federal authorities.
              o    The time between initial report and the server being isolated was approximately 60
                   minutes.
              o    The open dialog between the faculty incident reporter and the Office of the CIO staff
                   facilitated timely notification and rapid response time.
              o    Having regular conversations with Legal Affairs, Strategic Communications, Center for
                   Election Systems staff, and the Office of the CIO ensured that all parties were informed
                   on developments, allowing for individual planning in each respective area.

Opportunities for Improvement

     1.   Issue: Poor understanding of risk posed by The Center for Election Systems IT systems. While a
          previous server scan and an external researcher had helped UITS understand the high threat
         level of CESsystems, the lack of understanding the hosted data set led to an incomplete picture
         of the asset value. This resulted in the existence of a high risk server (High Asset Value/ High
         Threat Level) which should have been prioritized.
     Action item(s): An objective 3'' party was hired to conduct a threat assessment for externally-facing
     applications. In addition, funding was secured to extend the current KSUvulnerability scanning
     engine to allow for external scans. Once these scans are complete, a thorough analysis of all
     vulnerable systems will quantify the threat level and remediation plans will be developed (and
     incorporated into remediation projects)
     Action Item Owner(s): UITS Information Security Office


     2.   Issue: Elections webserver and Unicoi backup server are running a vulnerable version of Drupal
          and vulnerable to exploitation.
     Action Items: Elections (externally-facing) was seized immediately and Unicoi (isolated network)
     was seized thereafter. Both were placed in ISOSecure Storage. UITSprovisioned a dedicated virtual
     server, FS-ES,and business documents were moved to a newly provisioned server. This share is
     limited the CESsubnet and CESActive Directory group users. Server administrators are limited to 2
     UITS 155Staff Members.
     Action Item Owner: UITS-15O,UITS-155,CESStaff


     3.   Issue: CESconfidential data handling processes were not defined.
     Action Items: Business processes were developed, documented, and implemented to ensure
     confidential data is handled appropriately. CEStechnicians were issued Iron Key encrypted hard


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STATE
    UN&i~SITA                                                                    Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
     drives and secure FTPtransfers established with Georgia Secretary of State's Office. To date, all
     processes have been approved by the Georgia Secretary of State's Office.
     Action Item Owner: UITS-I5O,CESStaff, Georgia Secretary of State Office


     4.   Issue: Center for Election System IT staff is not aligned with the University Information
          Technology Services, creating a scenario in which institutional risk could be accepted without
          CIO awareness.
     Action Items: CESIT staff reporting structure realigned to mirror UITSTSSmodel. CESIT staff will
     report directly to UITS-I5Owhile directly supporting the CES. Additionally, all processes will align
     with USGand KSUdata security policies. Strategically, UITS is launching a project to engage all
     external IT in order to better understand university-wide IT risk.
     Action Item Owner: UITS-I5O,CESStaff


     5.   Issue: Room 105a, the elections private network data closet, was not latching properly due to
          lock/door misalignment.
     Action Items: CISOcontacted Chief of Police to have lock and door aligned. Work was completed
     within one business day. ISOto develop processes to review access logs on a scheduled basis.
     Action Item Owner: UITS-I5O. KSU UPD, CESStaff


     6.   Issue: The elections private network data closet contains a live network jack to the
             · ' Q bl fZ >-(Public network)
     Action Items: UITS-I5Oshould acquire color-coded Ethernet Jack block-outs to "lock" all ports in the
     data closet to the public network AND to "lock" all ports to the private network outside the data
     closet. Key's should be maintained by 155and ISO, necessitating consulting with UITSstaff before
     connecting devices.
     Action Item Owner: UITS-I5O, UITS-I55


     7.   Issue: A number of IT Assets within the Center for Elections Systems have reached end-of-life
          and need to be replaced or migrated to different infrastructure.
                  1. Rackmount UPS Battery backups (one displaying warning light)
                  Recommendation: Replace batteries as needed and move under UITS 155management
                  2. 3com Switches -Age 10+ years -- No Support -- L2 only
                  Recommendation: Replace and move under UITS 155management
                  3. Dell 1950 (Windows Domain Controller) -Age 10+ years
                  Recommendation: Surplus
                  4. Dell PowerEdge R630 -Age 1 year
                  Recommendation: Migrate services from Dell 1950 and move under UITS 155
                  management on CESIsolated Network
                  5. EPIC-Vision Computer-Age Unknown - Ballot creation box
                  Recommendation: Continue as I5O/CESmanaged
                  6. EPICFiles - Dell 1900 -Age 6+ years - Ballot backups
                  Recommendation: Surplus
                  7. NAS - Dell 1900 -Age 6+ years - CESIsolated Network NAS
                  Recommendation: Surplus
                  8. elections.kennesaw.edu - Age 5 years - Dell PowerEdge R610


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                                                                                 Center for Election Systems
UITS Information Security Office                                 Incident Date: March 1, 2017
                 Recommendation: Format and reinstall on CESIsolated Network as NAS
                 9. unicoi.kennesaw.edu -Age 6+ years. Dell PowerEdge 1950
                 Recommendation: Surplus
                 10. Web server backup
                 Recommendation: Surplus
     Action Item Owner: UITS-ISO,UITS-ISS,CESStaff

     8.    Issue: An operating system and application security assessment has not been conducted on the
           CESIsolated Network
     Action Items: UITS-ISOshould perform a stand-alone security assessment of the CESIsolated
     Network using a laptop-based scanning engine. Servers and workstations should be hardened based
     on the scan results and regular testing of the network scheduled.
     Action Item Owner: UITS-ISO,UITS-155,CESStaff

     9. Issue: A wireless access point was found when UITS did a walkthrough of the CESHouse
     Action Items: Understanding the risk that a wireless access point presents to the CESisolated
     network, UITS-ISOshould prioritize CESfor wireless network upgrade and put guidelines in place
     which prohibit the use of non-KSU wireless devices in the house.
     Action Item Owner: UITS-ISO,UITS-ISS


     10. Issue: Inconsistent port colors in House 57. Data outlets throughout the building have different
           color bezels to indicate which network is public and which is private:
                   Red= analog voice/phone
                   Green= KSUdata public network
                   Blue= Elections private network
                   White= Elections 2nd private network
          Since the original cabling installation the two private networks established for elections now act
          as a single private network. In room 105a, the blue cables terminate to one patch panel and the
          white cables terminate to another patch panel. They have connected jumpers from both of
          these patch panels to the same switch thus eliminating any separation by the colors Blue or
          White.
     Action Items: Jacks for the public and private network should be reinstalled to conform to campus
     color standards. Additionally, jacks from the public and private networks should be on different
     panels. The total cost of this change will be approximately $3,000.
     Action Item Owner: UITS-ISO,UITS-ISS




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                             Edward W. Felten

Education

Ph.D. in Computer Science and Engineering, University of Washington, 1993.
   Dissertation title: “Protocol Compilation: High-Performance Communication for
   Parallel Programs.” Advisors: Edward D. Lazowska and John Zahorjan.
M.S. in Computer Science and Engineering, University of Washington, 1991.
B.S. in Physics, with Honors, California Institute of Technology, 1985.


Employment

Robert E. Kahn Professor of Computer Science and Public Affairs, Princeton University,
  2013-present

Deputy United States Chief Technology Officer, The White House, Office of Science and
  Technology Policy, 2015-2017

Professor of Computer Science and Public Affairs, Princeton University, 2006-2013.

Chief Technologist, U.S. Federal Trade Commission, 2011-2012.

Professor of Computer Science, Princeton University, 2003-2006.
Associate Professor of Computer Science, Princeton University, 1999-2003.
Assistant Professor of Computer Science, Princeton University, 1993-99.
Senior Computing Analyst, Caltech Concurrent Computing Project, California Institute
   of Technology, 1986-1989.

Director, Center for Information Technology Policy, Princeton University, 2005-present.

Elysium Digital LLC and various law firms. Consulting and expert testimony in
   technology litigation, 1998-2015
U.S. Federal Trade Commission: consulting regarding spam policy and investigation,
   2004, 2006.
U.S. Dept. of Justice, Antitrust Division: consulting and testimony in Microsoft antitrust
   case, 1998-2002..
Electronic Frontier Foundation. Consulting in intellectual property / free speech lawsuits,
   2001-2010.
Certus Ltd.: consultant in product design and analysis, 2000-2002.
Cigital Inc.: Technical Advisory Board member, 2000-2007.
Cloakware Ltd.: Technical Advisory Board member, 2000-2003.
Propel.com: Technical Advisory Board member, 2000-2002.
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NetCertainty.com: Technical Advisory Board member, 1999-2002.
FullComm LLC: Scientific Advisory Board member, 1999-2001.
Sun Microsystems: Java Security Advisory Board member, 1997-2001.
Finjan Software: Technical Advisory Board member, 1997-2002.
International Creative Technologies: consultant in product design and analysis, 1997-98.
Bell Communications Research: consultant in computer security research, 1996-97.


Honors and Awards

National Academy of Engineering, 2013.
Alumni Achievement Award, University of Washington, 2013.
American Academy of Arts and Sciences, 2011.
E-Council Teaching Award, School of Engineering and Appl. Sci., Princeton, 2010.
ACM Fellow, 2007.
EFF Pioneer Award, 2005.
Scientific American Fifty Award, 2003.
Alfred P. Sloan Fellowship, 1997.
Emerson Electric, E. Lawrence Keyes Faculty Advancement Award, Princeton
   University School of Engineering, 1996.
NSF National Young Investigator award, 1994.
Outstanding Paper award, 1997 Symposium on Operating Systems Principles.
Best Paper award, 1995 ACM SIGMETRICS Conference.
AT&T Ph.D. Fellowship, 1991-93.
Mercury Seven Foundation Fellowship, 1991-93.


Research Interests

Information security. Privacy. Technology law and policy. Internet software.
Intellectual property policy. Using technology to improve government. Operating
systems. Distributed computing. Parallel computing architecture and software.


Professional Service
Professional Societies and Advisory Groups

ACM U.S. Public Policy Council, Chair, 2014-2015.
ACM U.S. Public Policy Committee, Vice Chair, 2008-2010, 2012-2014.
DARPA Privacy Panel, 2010-2012.
Transportation Security Administration, Secure Flight Privacy Working Group, 2005.
National Academies study committee on Air Force Information Science and Technology
Research, 2004.
Electronic Frontier Foundation, Advisory Board, 2004-2007.
ACM U.S. Public Policy Committee, 2004-present (Executive Committee, 2005-present)
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ACM Advisory Committee on Security and Privacy, 2002-2003.
DARPA Information Science and Technology (ISAT) study group, 2002-2004.
Co-chair, ISAT study committee on “Reconciling Security with Privacy,” 2001-2002.
National Academy study committee on Foundations of Computer Science, 2001-2004.

Program Committees
World Wide Web Conference, 2006.
USENIX General Conference, 2004.
Workshop on Foundations of Computer Security, 2003.
ACM Workshop on Digital Rights Management, 2001.
ACM Conference on Computer and Communications Security, 2001.
ACM Conference on Electronic Commerce, 2001.
Workshop on Security and Privacy in Digital Rights Management, 2001.
Internet Society Symposium on Network and Distributed System Security, 2001.
IEEE Symposium on Security and Privacy, 2000.
USENIX Technical Conference, 2000.
USENIX Windows Systems Conference, 2000.
Internet Society Symposium on Network and Distributed System Security, 2000.
IEEE Symposium on Security and Privacy, 1998.
ACM Conference on Computer and Communications Security, 1998.
USENIX Security Symposium, 1998.
USENIX Technical Conference, 1998.
Symposium on Operating Systems Design and Implementation, 1996.

Boards
Verified Voting, Advisory Board, 2013-present.
Electronic Privacy Information Center, Advisory Board, 2013-present.
Electronic Frontier Foundation, Board of Directors, 2007-2010.
DARPA Information Science and Technology study board, 2001-2003.
Cigital Inc.: Technical Advisory Board (past).
Sun Microsystems, Java Security Advisory Council (past).
Cloakware Ltd.: Technical Advisory Board (past).
Propel.com: Technical Advisory Board (past).
Finjan Software: Technical Advisory Board (past).
Netcertainty: Technical Advisory Board (past).
FullComm LLC: Scientific Advisory Board (past).

University and Departmental Service
Council on Teaching and Learning, 2014-2015.
School of Engineering and Appl. Sci., Strategic Plan Steering Committee, 2014-2015
Committee on Online Courses, 2012-2013.
Director, Center for Information Technology Policy, 2005-present.
Committee on the Course of Study, 2009-present.
SEAS Strategic Planning, 2004.
       Member, Executive Committee
       Co-Chair, Interactions with Industry area.
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       Co-Chair, Engineering, Policy, and Society area.
Faculty Advisory Committee on Policy, 2002-present.
Council of the Princeton University Community, 2002-present (Executive Committee)
Faculty Advisory Committee on Athletics, 1998-2000.
Computer Science Academic Advisor, B.S.E. program, class of 1998 (approx. 25
  students)
Faculty-Student Committee on Discipline, 1996-98.
Faculty-Student Committee on Discipline, Subcommittee on Sexual Assault and
  Harrassment, 1996-98.


Students Advised
Ph.D. Advisees:
Harlan Yu (Ph.D. 2012). Dissertation: Designing Software to Shape Open Government
   Policy. Founder, Upturn Partners.
Ariel J. Feldman (Ph.D. 2012). Dissertation: Privacy and Integrity in the Untrusted
   Cloud. Assistant Professor of Computer Science, University of Chicago.
Joseph A. Calandrino (Ph.D. 2012). Dissertation: Control of Sensitive Data in Systems
   with Novel Functionality. Consulting Computer Scientist, Elysium Digital.
William B. Clarkson (Ph.D. 2012). Dissertation: Breaking Assumptions: Distinguishing
   Between Seemingly Identical Items Using Cheap Sensors. Technical staff member at
   Google.
Matthias Jacob (Ph.D. 2009). Technical staff member at Nokia.
J. Alex Halderman (Ph.D. 2009). Dissertation: Security Failures in Non-traditional
   Computing Environments. Associate Professor of Computer Science, University of
   Michigan.
Shirley Gaw (Ph.D. 2009). Dissertation: Ideals and Reality: Adopting Secure
   Technologies and Developing Secure Habits to Prevent Message Disclosure.
   Technical staff member at Google.
Brent Waters (Ph.D. 2004). Dissertation: Security in a World of Ubiquitous Recording
   Devices. Professor of Computer Science, University of Texas.
Robert A. Shillingsburg (Ph.D. 2004). Dissertation: Improving Distributed File Systems
   using a Shared Logical Disk. Retired; previously a technical staff member at Google.
Michael Schneider (Ph.D. 2004). Dissertation: Network Defenses against Denial of
   Service Attacks. Researcher, Supercomputing Research Center, Institute for Defense
   Analyses.
Minwen Ji (Ph.D. 2001). Dissertation: Data Distribution for Dynamic Web Content.
   Researcher, HP Labs.
Dirk Balfanz (Ph.D. 2000). Dissertation: Access Control for Ad Hoc Collaboration.
   Technical staff member at Google.
Dan S. Wallach (Ph.D. 1998). Dissertation: A New Approach to Mobile Code Security.
   Professor of Computer Science, Rice University.
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Significant Advisory Role:
Drew Dean (Ph.D. 1998). Advisor: Andrew Appel. Research Scientist, SRI
   International.
Stefanos Damianakis (Ph.D. 1998). Advisor: Kai Li. President and CEO, Netrics, Inc.
Pei Cao (Ph.D. 1996). Advisor: Kai Li. Technical staff at Facebook.
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                    EXHIBIT H
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA

DONNA CURLING, an individual, et al.      )
                                          )
                Plaintiffs,               )
                                          )
        v.                                )         CIVIL ACTION
                                          )         FILE NO.: 2017cv292233
BRIAN P. KEMP, in his individual capacity )
and his official capacity as Secretary of )
State of Georgia and Chair of the         )
STATE ELECTION BOARD, et al.,             )
                                          )
                Defendants.               )



                         DECLARATION OF BARBARA SIMONS


       BARBARA SIMONS ("Declarant"), being of lawful age and first duly sworn upon oath,
deposes and states as follows:


       1. I am computer scientist. I was a Research Staff Member at IBM Research. I
           subsequently worked as a researcher at IBM’s Application Development Technology
           Institute, followed by time working as a Senior Technical Advisor at IBM Global
           Services.
       2. I am the past Chair and current President of Verified Voting. I am also a former
           President of the Association for Computing Machinery, the world’s largest and oldest
           educational and scientific computing society.
       3. I co-authored Broken Ballots: Will Your Vote Count?, a book on voting technology. I
           wrote the chapter on Diebold that lists the many studies that repeatedly demonstrated
           the insecurities of Diebold DREs.
       4. My curriculum vitae is attached as Exhibit A.
Opinions of other experts
       5. I have reviewed the affidavit of Edward Felten filed with this court on July 3, 2017
           and reviewed the basic structure of Georgia’s DRE-based voting system. I concur
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          with the facts and opinions regarding Georgia’s voting DRE voting system as
          presented in the Felten affidavit.
      6. I have reviewed the affidavit of Duncan Buell dated June 29, 2017 and filed with this
          court on July 3, 2017. I concur with the facts and opinions regarding Georgia’s DRE-
          voting system as presented in the Buell affidavit.
Background related to Georgia’s 6th District Congressional Elections
      7. Upon learning of the March 1, 2017 compromise of the Center for Election Systems
          servers containing sensitive election files, I helped to organize the March 15, 2017
          letter to Secretary of State Kemp from 21 technology experts expressing our serious
          concerns regarding the safety and accuracy of Georgia’s DRE-based voting system.
          (Exhibit B.)
      8. After the April 15, 2017 alleged theft of poll books and the April 18 Fulton County
          memory card uploading issues, I helped to organize the May 24, 2017 follow up letter
          from16 technology experts to Secretary Kemp expressing our grave concerns about
          the escalating risks of Georgia’s paperless voting system, and urged the use of paper
          ballots. (Exhibit C.)
      9. The information published in the June 14, 2017 Politico article
          (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
          election-get-hacked-215255) concerning the long-term exposed nature of the CES
          server and its contents was alarming to me, furthering my grave concerns about
          Georgia’s voting system.
      10. I have reviewed Logan Lamb’s affidavit concerning his access to the system and filed
          with this court July 3, 2017.
      11. The facts leading up to the 2017 created an undeniable necessity for Georgia’s
          election officials to conduct the April 18 and June 20 special elections presuming that
          the DRE-based system had been compromised and could not be reasonably relied on
          for a valid election.
      12. I was gravely disappointed that Secretary Kemp and Georgia’s 6th Congressional
          District election officials chose not to conduct verifiable elections with paper ballots
          after the serious warnings of numerous respected voting system experts.
      13. I have researched DRE voting systems since 2003.
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       14. I have published my research with consistent findings that DRE machines cannot
          produce a reliable, auditable, re-countable results that provide assurance that voter
          intent is recorded and tabulated.
       15. I concur with the findings of the National Institute of Standards and Technology
          (NIST) in their January, 2011 report on the work of the Auditability Working Group
          of the Technical Guidelines Development Committee prepared for the Election
          Assistance Commission.
          (https://www.eac.gov/assets/1/28/AuditabilityReport_final_January_2011.pdf)
       16. Of particular importance and applicability to Georgia’s Special Elections is the NIST
          Executive Summary statement: “The Auditability Working Group found no
          alternative that does not have as a likely consequence either an effective requirement
          for paper records or the possibility of undetectable errors in the recording of votes.”
       17. The “likely consequence” of undetectable errors in Georgia’s unverifiable voting
          results became all the more likely when fundamental security requirements were
          violated by Georgia officials, causing the results of the recent elections to be
          unreliable.


Opinions related to use of DRE’s in the 6th Congressional District Special Elections


       18. The possibility and plausibility of undetectable errors has always existed in Georgia’s
          DRE-based system. However, the risk of undetected and undetectable errors has been
          exponentially increased by the fact that the system has shown to be exposed to
          cybersecurity threats at an unexpected level.
       19. The cybersecurity threats are heightened not only by the extreme risk caused by the
          inexplicably lax security at CES, but by the routine practices in Georgia of exposing
          memory cards and GEMS to equipment connected to the internet, and by lax physical
          security practices in storage of DRE machines when not in use.
       20. The multiple security lapses must be presumed to have caused undetectable
          manipulation of the tabulation results, which cannot be viewed with any reasonable
          degree of certainty.
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21. Georgia’s DRE equipment used in the Special Elections could not be reasonably
   evaluated prior to the Special Elections to determine whether the votes can be read
   correctly and accurately.
22. County level and precinct level election officials cannot fulfill their duty to determine
   that the DRE machines have no votes recorded on them before each machine is
   opened for voting. That is because the voting machines are essentially computers.
   Computers consist of distinct elements, such as the display (the screen), the memory,
   and the input mechanism (in this case the touch screen). These elements
   communicate via communication channels. If a computer’s software (firmware)
   contains software bugs or malicious software, the computer memory could store votes
   for Candidate A before the election begins, but the software (firmware) could instruct
   the printer to print wrongly that no votes have been recorded.
23. It is quite unlikely that standard physical security procedures in place in Georgia can
   prevent the operation of the “counting machinery” when it is stored and not in use.
   The “counting machinery” is subject to undetectable manipulation through physical
   or electronic intrusion.
24. County and precinct election officials charged with the duty to determine whether the
   machines count votes accurately cannot use the pre-election Logic and Accuracy
   Testing to make this determination because it is possible to detect when Logic and
   Accuracy testing is occurring and to program the voting machine to behave correctly
   during the testing, but to cheat during the election. This is how Volkswagen illegally
   passed emission tests with cars that were significantly polluting: the cars were
   programmed to limit the amount of harmful emissions (behave correctly) during the
   testing, but to allow the harmful emissions (cheat during the election) while driving.
   The same type of approach could be used with voting machines.
25. County and precinct officials cannot meet their duty to “thoroughly test” the
   machines because malware potentially loaded on the machines would rarely be
   detectable in standard testing.
26. County and precinct officials cannot reasonably certify that each machine is working
   properly because standard testing would not permit officials to determine whether
   each machine is working properly. Sophisticated malware would likely serve to
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   operate the machine properly when it is being tested, and operate in malicious ways
   during the election.
27. County and precinct officials cannot fulfill their duty to determine whether votes are
   already recorded in the machine memory card prior to opening of the polls. "Zero
   tape" print outs can be programmed to print -0- when the machine contains
   maliciously implanted votes.
28. If the machines have not been maintained and stored under continuous strict secured
   physical control prior to and after their use during voting, they are subject to
   relatively easy entry and manipulation, and must be presumed to be compromised. In
   such case, local election officials cannot determine whether the machines have been
   compromised.
29. The GEMS server, (DRE related equipment), is not secure when flash drives
   (memory cards) are moved between the GEMS server and internet-connected
   computers, as is the common practice on Election Night.
30. The GEMS servers are not secure when databases and memory cards used on the
   counties' GEMS servers have been exposed to the Internet as they apparently were
   through the CES server. Such voting system components must be presumed to have
   compromised the 2017 Special Elections.
31. Standard testing procedures and routine evaluation of Georgia's voting equipment are
   inadequate to detect malware in the voting system, or manipulation of results.
32. Because of the foregoing facts, results of Georgia's recent elections using the DRE­
   based voting system should not be relied on as accurate, and reflecting the intent of
   the voters.
33. Because Georgia's unverifiable voting system was repeatedly exposed to the Internet
   and other sources of potential intrusion and manipulation, the equipment should be
   taken out of service immediately.


   Further Declarant sayeth not.
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                                         Curriculum Vitae
                                         Barbara Simons
                               650.328.8730 voice / 215.243.8002 fax
                                         simons@acm.org


    Education

•   Ph.D., Computer Science, the University of California, Berkeley, June 1981 - thesis advisor
    Richard Karp. My dissertation, Scheduling with Release Times and Deadlines, solved a major
    open problem in scheduling theory by developing the first known algorithm for the problem.

    Employment

•   Co-author with Doug Jones, Broken Ballots: Will Your Vote Count?, April 15, 2012.
•   Consulting Professor, Stanford University, April 2001 – June 2002; taught courses on Internet
    technology policy; supervised several students in independent study.
•   Retired, IBM, 1998.
•   Senior Technology Advisor, IBM Global Services, IBM Corp., Nov. 1996 – 1998; worked with
    researchers and business people to develop and apply research to business problems.
•   Researcher, Application Development Technology Institute, IBM Corp., Oct. 1992 – Nov. 1996;
    did research on compiler optimization and development of a prototype retargeting compiler
    backend.
•   Research Staff Member, Foundations of Computer Science Group, IBM Research, Jan.1980 –
    Sept. 1992; did research on scheduling theory, compiler optimization, fault tolerant distributed
    computing, and communicating sequential processes.
•   Visiting Professor, U.C. Santa Cruz, Sept. 1984 – Dec. 1984; taught graduate algorithms course.

    Honors

•   Walnut Hills High School Hall of Fame Award, Cincinnati, Ohio, April 30, 2011.
•   The Making a Difference Award, Special Interest Group on Computers and Society, 2006.
•   Distinguished Alumni Award, College of Engineering, U.C. Berkeley, 2005.
•   Computing Research Association’s Distinguished Service Award, 2004.
•   ACM Outstanding Contribution Award, 2002.
•   Distinguished Alumnus Award in Computer Sciences and Engineering, U.C. Berkeley, May 21,
    2000.
•   Selected as one of the top 25 Women on the Web, 2001, by San Francisco Women on the Web.
•   Electronic Frontier Foundation (EFF) Pioneer Award 1998.
•   Selected as one of 26 Internet “Visionaries” by c|net, Dec. 1995.
•   Selected as one of the Top 100 Women in Computing by Open Computing, Dec. 1994.
•   Fellow, ACM, elected 1993.
•   Fellow, American Association for the Advancement of Science (AAAS), elected 1993.
•   Featured in special issue of Science on Women in Science, 1992.
•   Computer Professionals for Social Responsibility (CPSR) Norbert Wiener Award for Professional
    and Social Responsibility in Computing, 1992.
•   IBM Research Division Award for work on clock synchronization, 1988.


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    Policy Interactions with Governmental and Quasi-Governmental Organizations

•   Member, Board of Advisors of the federal Election Assistance Commission, appointed by Sen.
    Harry Reid, August 2008.
•   Testified before the Massachusetts legislature in support of voting machine audit legislation,
    October 22, 2007, Boston, MA.
•   Testified before the Committee on House Administration in a hearing on Electronic Voting
    Machines: Verification, Security, and Paper Trails, September 28, 2006, Washington, DC.
•   Member, Security Peer Review Group, a panel of experts who were invited by the U.S.
    Department of Defense’s Federal Voting Assistance Program to evaluate the Secure Electronic
    Registration and Voting Experiment (SERVE). Co-authored, “A Security Analysis of the Secure
    Electronic Registration and Voting Experiment (SERVE)”, with David Jefferson, Aviel Rubin, and
    David Wagner, released Jan 21, 2004. On Feb. 5, 2004 the Department of Defense announced the
    cancellation of SERVE because of security concerns.
•   Member, Public Interest Registry’s .ORG Advisory Council, starting March 2003 – 2006.
•   DARPA Panels
    • Member, Information Science and Technology (ISAT) study group on "Security with
        Privacy”, 2002.
    • Member, IPTO workshop on “eDNA: Identification of Origin", Aug. 5-6, 2002.
•   Member, National Workshop on Internet Voting, Oct 11-12, 2000, convened at the request of
    President Clinton. Co-authored with other attendees “Report of the National Workshop on
    Internet Voting: Issues and Research Agenda”, March 2001.
•   Runner-up for the North American seat on the Internet Corporation for Assigned Names and
    Numbers (ICANN) Board, 2000.
•   Expert witness, Universal, et al. v. 2600, et al. (the DVD decryption case), July 8, 2000.
•   Invited Participant, the White House Conference on the New Economy, Washington, DC, April 6,
    2000.
•   Member, President's Export Council Subcommittee on Encryption, 1998-2001.
•   Member, Information Technology Working Group of the President's Council on the Year 2000
    Conversion, 1998 – 2000.
•   Testified before Commerce Committee of the California State Senate on encryption, Aug. 26,
    1997.
•   Testified at hearings before the National Committee on Vital and Health Statistics on privacy
    issues in the Kennedy-Kassenbaum Bill, San Francisco, CA, June 4, 1997.
•   Testified in Social Security Administration hearing: Privacy and Customer Service in the
    Electronic Age, San Jose State Univ., May 28, 1997.
•   Testified in hearing of the Subcommittee of Science, Technology, and Space of the Senate
    Committee on Commerce, Science, and Transportation on the “Pro-Code” Bill, S.1726, June 26,
    1996.
•   Testified on Intellectual Property and the Internet before a panel of the Mega-Project III of the Information
    Infrastructure Task Force (IITF) Advisory Council and the Security Issues Forum of the IITF, Sunnyvale,
    CA., Oct. 20, 1994.

    Boards and Related Activities

•   Board of Directors, Verified Voting Foundation, 2004 – present. Currently President.
•   Advisory Council, Overseas Vote Foundation's End-to-End Verifiable Internet Voting Project,
    2013 – 2015.




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•   Board of Advisors, ACCURATE (A Center for Correct, Usable, Reliable, Auditable, and
    Transparent Elections), 2008 – 2012.
•   Board of Advisors, Electronic Frontier Foundation, 2008 – present.
•   Advisory Board, Oxford Internet Institute, Oxford Univ., 2002 – 2006.
•   Member, Public Interest Registry’s .ORG Advisory Council, 2003 – 2006.
•   Board of Directors, Electronic Privacy Information Center, 1998 – 2006. Board Chair, 2005-
    2006.
•   Berkeley Engineering Fund Board of Directors, U.C. Berkeley College of Engineering, 1998 –
    2005.
•   Advisory Board, Berkeley Foundation for Opportunities in Information Technology, 1999 –
    present.
•   Advisory Board, Public Knowledge, 2001 – 2005.
•   Advisory Board, Zeroknowledge Systems Inc., 2000 – 2004.
•   Advisory committee, Excellence and Diversity Student Programs, Department of Electrical
    Engineering and Computer Science, U.C. Berkeley, 1989 – 2004.
•   Board of Directors, Math/Science Network, 2002 – 2004.
•   Advisory Board, NSF Logging and Monitoring Project (LAMP), Univ. of Michigan, Ann Arbor,
    Michigan, 2000 - 2002.
•   Board of Directors, Council of Scientific Society Presidents, 1998 – 2000.
•   Member, steering committee, 21st Century Project, 1995 – 1998.
•   Advisory board, the Genome Radio Project and the Telecommunications Radio Project, the
    Science and Technology Radio Project, 1994 – 95.
•   Corporate Affiliates and Advisory Board, Computer Science Division, U.C. Davis, 1991 – 1994.
•   Dartmouth Institute for Advanced Graduate Studies, Dartmouth College, 1991 – 1995.
•   Member, advisory group, joint ACLU-CPSR projects on a national ID card and privacy, 1989 –
    1991.
•   Advisory committee, reentry program in computer science, U.C. Berkeley, 1983 - 1989.
•   Member, advisory committee at Mills College for the Interdisciplinary Computer Science
    Program (Masters degree) for returning adults, 1983 - 1986.

    Patents

•   Retargeting Optimized Code by Matching Tree Patterns in Directed Acyclic Graphs, with Vivek
    Sarkar and Mauricio Serrano, patent pending.
•   A Method of, System for, and Computer Program Product for Providing Efficient Utilization of
    Memory Hierarchy through Code Restructuring (Patent number 6839895), with Dz Ching Ju, K.
    Muthukumar, and Shankar Ramaswamy.
•   A System, Method, and Program Product for Loop Instruction Scheduling for Hardware
    Lookahead, with Vivek Sarkar, patent pending.
•   A System, Method, and Program Product for Instruction Scheduling in the Presence of Hardware
    Lookahead Accomplished by the Rescheduling of Idle Slots (Patent number 5887174), with
    Vivek Sarkar.
•   Decentralized Synchronization of Clocks (Patent numbers 4584643 and 4531185), with Danny
    Dolev, Joe Halpern, and Ray Strong.

    Selected Publications
•   Voting



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    •     Broken Ballots: Will Your Vote Count?, with Doug Jones, Center for the Study of Language
          and Information, Stanford, CA., June, 2012.
    •     Report on Election Auditing, by the Election Audits Task Force of the League of Women
          Voters of the United States, January, 2009.
    •     Statewide Databases of Registered Voters: Study of Accuracy, Privacy, Usability, Security,
          and Reliability Issues, co-chaired with Paula Hawthorn, commissioned by ACM’s U.S.
          Public Policy Committee (USACM), February 2006.
    •     Why Johnny Can’t Vote, APS (the American Physical Society) News, March 8, 2005, p. 8.
    •     Electronic Voting Systems – the Good, the Bad, and the Stupid, Queue, 2, 7, Oct 2004, pp. 20
          – 26.
    •     A Security Analysis of the Secure Electronic Registration and Voting Experiment (SERVE),
          with David Jefferson, Aviel Rubin, and David Wagner, released Jan 21, 2004. On Feb. 5,
          2004 the Department of Defense announced the cancellation of SERVE because of security
          concerns.
    •     Report of the National Workshop on Internet Voting: Issues and Research Agenda, with other
          workshop members, March 2001, sponsored by the National Science Foundation and
          published by the Internet Policy Institute.

•   Other Policy issues
    • Shrink-Wrapping our Rights, Inside Risks, Commun. ACM 43, 8, August 2000, p. 168.
    • To DVD or not to DVD, Commun. ACM 43, 5, May 2000, pp. 31 – 32.
    • Trademarking the Net, Commun. ACM 43, 3, March 2000, pp. 27 – 28.
    • Regulating Content on the Internet, a chapter in Capital for Our Time, Hoover Institution
       Press, Stanford, CA, 1999, pp. 156 – 174.
    • Melissa’s Message, Commun. ACM 42, 6, June 1999, pp. 25 – 26. Also in iMP, an on-line
       journal.
    • Starr Wars, Commun. ACM, Jan. 1999, pp. 26 – 27. Also in iMP.
    • Outlawing Technology, Commun. ACM, Oct. 1998, pp. 17 – 18. Also in iMP.
    • On Building a Research Agenda for Computer Science, Commun. ACM, 34, No. 10, Oct.
       1991, pp. 121 – 125.

•   Scheduling Theory
    • A Fast Algorithm for Multiprocessor Scheduling of Unit-Length Jobs, with Manfred
       Warmuth, SIAM J. on Comput., 18, No. 4, 1989, pp. 690 – 710.
    • Multiprocessor Scheduling of Unit-Time Jobs with Arbitrary Release Times and Deadlines,
       SIAM J. on Comput., 12, 1983, pp. 294 – 299.
    • Scheduling Unit-Time Tasks with Arbitrary Release Times and Deadlines, with Michael
       Garey, David Johnson, and Robert Tarjan, SIAM J. on Comput., 10, 1981, pp. 256 – 269.

•   Compiler Optimization
    • A Fast Heuristic for Loop Parallelization, with Richard Anderson, a special issue of Parallel
       Processing Letters, 4(3), 1994, pp. 281 – 299.
    • Parallel Program Graphs and their Classification, with Vivek Sarkar, Proceedings of the 6 th
       Annual Languages and Compilers for Parallelism Workshop, Portland, OR, Aug. 12 – 14,
       1993. Springer-Verlag Lecture Notes in Computer Science, Vol. 768, Jan. 1994, pp. 633 –
       655.
    • Instruction Scheduling for Compilers, with Krishna Palem, IBM Research Report 8535, Dec.,
       1991. Written to appear as a chapter in Optimization in Compilers, edited by Fran Allen,
       Barry Rosen, and Kenny Zadeck.




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    •     Scheduling Time-Critical Instructions on RISC Machines, with Krishna Palem, Transactions
          on Programming Languages (TOPLAS), 15, No. 4, 1993, pp. 632 – 658.

•   Fault Tolerant Distributed Computing
    • Dynamic Fault-Tolerant Clock Synchronization, with Danny Dolev, Joseph Halpern, and Ray
        Strong, Journal of the ACM 42:1, 1995, pp. 143 – 185.
    • Fault Tolerant Distributed Computing, coedited with Alfred Spector, Springer-Verlag
        Lecture Notes in Computer Science, Vol. 448, 1990.
    • A New Look at Fault Tolerant Network Routings, with Danny Dolev, Joseph Halpern, and
        Ray Strong, Information and Computation, 72, 1987, pp. 180 – 196.

•   Communicating Sequential Processes
    • Static Analysis of Interprocess Communication, with Peter Ladkin, to appear as a monograph
       in the Lecture Notes in Computer Science series published by Springer-Verlag.
    • Deadlock Detection for CSP-type Communications, with Peter Ladkin, Proceedings of the
       Third International Workshop on Responsive Computer Systems, Sept. 29 – Oct. 1, 1993,
       Lincoln, NH, pp. 229 – 239; a chapter in Responsive Computer Systems: Steps Toward Fault-
       Tolerant Real-Time Systems, ed. D. Fussell and M. Malek, Kluwer Academic Pub., 1995.

        Invited Talks

•   Invited speaker, Mathematical Sciences Research Insititute, Berkeley, Ca., Sept. 16, 2015.
•   Invited speaker, League of Women Voters, Manhattan, Kansas, September 15, 2013.
•   Invited speaker, “Garantias electorales para el Fortalecimiento de la Democracia”, sponsored
    by the National Registry and Minister of the Interior, Bogota, Colombia, May 22, 2013.
•   Invited speaker, the CRA-W/CDC (Computing Research Assoc. Comm. on the Status of Women /
    Coalition to Diversify Computing) Distinguished Lecture Series, Orlando, FL, March 26, 2013.
•   TED talk, “Why Can't we Vote Online?”, New York, NY, November 5, 2012.
•   Interviewed on Charlie Rose Show, National Public Television, October 4, 2012.
•   Distinguished lecture, IBM Research, San Jose, CA., September 12, 2012.
•   Invited speaker, Microsoft Research, Redmond, WA, August 8, 2012.
•   Keynote, Women in Science and Engineering workshop, Univ. of CA, Berkeley, CA, June
    21, 2012.
•   EFF “Geek Reading”, San Francisco, CA., May 29, 2012.
•   Invited speaker, “The Electoral Code that Colombia Needs”, sponsored by the United Nations
    Development Programme, Bogota Colombia, March 1, 2012.
•   Invited by the Mayor of Tallinn, Estonia on a fact finding mission of their Internet voting
    system, July 18 -19, 2011, Tallinn, Estonia.
•   Invited speaker, Workshop on e-voting, European Parliament, March 17, 2011, Brussels.
•   Speaker, panel on Internet Voting, Internet, Politics, Policy 2010: An Impact Assessment,
    Oxford Internet Institute, Oxford, UK.
•   Invited by U.S. Department of State's Bureau of Interational Information Program to speak on
    voting technology to representatives of government of Bahrain, March 24, 2010, Seattle, WA.
•   Keynote speaker, annual conference of The Consortium for Computing Sciences in Colleges
    Northwest Region, Ashland, OR, October 10, 2008.
•   Speaker, Distinguished Lecture Series, the University of Oregon, Eugene, OR, March 13,
    2008.
•   Invited speaker, Google, Mountain View, CA., December 7, 2007.




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•   Speaker, National Institute on Computing and the Law, sponsored by the American Bar
    Association, San Francisco, CA, June 25 – 26, 2007.
•   Speaker, Distinguished Speaker Series, U.C. Santa Cruz, Santa Cruz, CA, March 14, 2007.
•   Blair O. and Teresa A. Rieth Lecturer, DePauw University, Greencastle, Indiana, November
    1, 2006.
•   Speaker, Symposium on 21st Century Copyright Law in the Digital Domain, University of
    Michigan, Ann Arbor, MI, March 24, 2006.
•   Keynote speaker, 10th European Symposium on Research in Computer Security (ESORICS
    2005), Milan, Italy, September 12, 2005.
•   Speaker, Distinguished Lecture Series on Computation and Society, Harvard Univ., Dec. 16,
    2004.
•   Speaker, 2004 Industrial Physics Forum of the American Physical Society, IBM Research,
    Yorktown, NY, Oct 25, 2004.
•   Speaker, Gordon Research Conference on Science & Technology, Big Sky, MT., Aug. 16,
    2004.
•   Plenary speaker, 25th Anniversary Celebration, Informatics Division, Universitaet Bremen,
    Bremen, Germany, Oct. 10, 2003.
•   Speaker, 2003 Financial Markets Conference – Business Method Patents and Financial
    Services, sponsored by the Federal Reserve Bank of Atlanta, Sea Island, GA., April 2-5,
    2003.
•   Speaker, The Public Voice in the Digital Economy Conference, in conjunction with the
    OECD-APEC Global Forum: Policy Frameworks for the Digital Economy, Honolulu, HI, Jan
    14, 2003.
•   Plenary speaker, International Symposium on Computer and Information Sciences, Orlando,
    FL, Oct 28-30, 2002.
•   Keynote, IT Career Events for Indiana Women, Oct. 22, 2002.
•   Plenary session, Casting a Wider Net: Integrating research and policy on the social impacts
    of the Internet, conference inaugurating the Oxford Internet Institute, Oxford, England, Sept.
    27, 2002.
•   Plenary speaker, Management of Digital Rights, Germany, Nov. 20 – 21, 2000.
•   Speaker, World Knowledge Forum, South Korea, Oct. 18 – 19, 2000.
•   Keynote Panelist, Grace Hopper Conf. on the Future of Computing, Sept 16, 2000, Cape Cod,
    MA.
•   Keynote, S. Africa, SAICSIT'99 (The South African Institute for Computer Scientists and
    Information Technologists), Johannesburg, South Africa, Nov. 17 – 19, 1999.
•   Other talks on computerized voting
    • Panelist, Voter Registration Databases, Electronic Verification Network Conference, San
         Diego, CA, March 6, 2014.
    • League of Women Voters, California Convention, May 18, 2013.
    • Mills College, April 11, 2013.
    • Distinguished lecture: Clemson Univ., Wofford College, Furman College, Winthrop,
         Univ., (South Carolina), and Univ. of Iowa, Iowa City, Iowa, Feb. 17 – 22, 2013.
    • Panelist, EVT/WOTE conference, Bellvue, WA, August 7, 2012.
    • “Voice of the Voters!”, Philadelphia, PA (and the internet), April 30, 2008.
    • Tufts University, Boston, MA, October 24, 2007.
    • Boston University, Boston, MA, October 23, 2007.
    • E-voting, panelist, 1st Annual National Institute on Computing and The Law, sponsored
         by the American Bar Association, San Francisco, CA, June 25- 26, 2007.



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    •     Plenary session, Electronic Voting Integrity, Computers, Freedom, and Privacy
          Conference, Montreal, Canada, May 4, 2007.
    •     Are We a Democracy? Vote-Counting in the US, panelist at AAAS Annual Meeting, San
          Francisco, CA, February 16, 2007.
    •     Voting Databases, panelist at Computers, Freedom, and Privacy Conference,
          Washington, DC, May 4, 2006.
    •     University of California at Davis, Davis, CA, March 3, 2005.
    •     University of Virginia Law School, Charlottesville, VA, February 6, 2005.
    •     University of Michigan, Ann Arbor, MI, Oct. 5, 2004.
    •     Center for Discrete Mathematics and Theoretical Computer Science, Rutgers Univ.,
          Piscataway, NJ, May 26-27, 2004.
    •     San Francisco School of Law, San Francisco, CA., April 21, 2004.
    •     Oxford Internet Institute, Oxford, England, March 19, 2004.
    •     Cambridge University, Cambridge, England, March 18, 2004.
    •     Speaker, Claim Democracy Conference, Nov. 22-23, 2003, Washington, DC.
    •     Stanford Law School, Stanford, CA., Oct. 30, 2003.
    •     Panelist, Judge A. Leon Higginbotham Memorial Voting Rights Braintrust panel on
          voting, sponsored by the Congressional Black Caucus, Washington DC, Sept. 26, 2003.

•   Intellectual Property and the Net
    • 21st Century Copyright Law in the Digital Domain, Michigan Telecommunications and
        Technology Law Review Journal sponsored conference, University of Michigan, Ann
        Arbor, MI, March 24, 2006.
    • SIGGRAPH 2003. San Diego, July 28, 2003.
    • Harvey Mudd College, Dec. 5, 2002.
    • Distinguished Women Lecture Series, Univ. of Maryland, April 10, 2002.
    • National Institute of Standards and Technology (NIST), Feb. 8, 2002.
    • DIMACS Workshop on Management of Digital Intellectual Prop., Rutgers Univ., April 17 –
        18, 2000.
    • ABA National Convention, Aug. 8, 1999.
    • Plenary speaker, ACM Special Interest Group on Computer-Human Interaction, May 19,
        1999
    • Distinguished Lecture Series, Brown Univ., Feb. 14, 1999.
    • “Intellectual Capital: Business Strategies, Legal Protections, and Global Competitiveness”,
        Hoover Institution (Stanford), June 19, 1997.
    • Univ. of Maryland Distinguished Lecture Series, May 1, 1996.
    • Invited Conference Chair and speaker, Intellectual Property, Patent and Copyright Protection
        on the Internet, Atlanta, GA, April 29, 1996.

•   Privacy, Surveillance, and the USA/PATRIOT Act
    • Univ. of Maryland, April 10, 2002.
    • EDUCAUSE National Conference, Indianapolis, IN., Oct. 30, 2001.
    • Richard Tapia Celebration of Diversity in Computing, Houston, Texas, Oct. 20, 2001.
    • Policy Briefing: Emerging Cyberspace Issues Internet Jurisdiction and Global Privacy
        Protection, the National Press Club, Washington, DC, June 4, 2001
    • Policy Briefing: The Internet, Privacy and the Open Source Movement, the National Press
        Club, Washington, DC, June 5, 2000.




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    •      “The Future of Public Health: implications for Health Information/Communications Systems,”
          sponsored by the Ca. Dept of Health Services and the Nat. Centers for Disease Control, San
          Diego, Ca., March 6, 1996.
    •     World Affairs Council, San Francisco, CA, April 19, 1994.

•   Encryption and Computer Security
    • Plenary session speaker, 9th Annual Conference on Computers, Freedom, and Privacy,
       Washington, DC, April 1999.
    • “Security and Freedom through Encryption Forum (SAFE),” Stanford Univ., July 1, 1996.
    • Networld/Interop Conference, Sept 13, 1994.
    • KPFA radio, Sept. 6, 1994.
    • KQED radio, May 17, 1994.

•   National Information Infrastructure
    • DAGS '95 Conference on Electronic Publishing and the Information Superhighway, Boston,
        MA, June 1, 1995
    • “Issues in Science and Technology Policy,” a Brookings Institute Conference for Corporate
        and Government Managers, Williamsburg, VA, May 21, 1995.
    • Keynote speaker, Computer Science Conference, Nashville, Tenn., Feb. 28, 1995.
    • National Public Radio’s Science Friday, Feb. 17, 1995.
    • IBM Boulder TechExpo series, Feb. 11, 1995.
    • National Public Radio’s Science Friday, Dec. 10, 1993.

    Association for Computing Machinery and Other Professional Society Activities

•   Co-Chair, ACM panel on Databases of Registered Voters, 2005 – 2006.
•   Founder and Chair or Co-Chair, ACM Technology Policy Committee (USACM), 1993 – 2005.
•   Member, Committee to Diversify Computing, 2002 – present.
•   Chair, ACM Internet Governance Committee (ACM-IGC), 2000 – 2003.
•   Member, ACM-W (ACM’s Committee on Women), 2000 – present.
•   ACM President, 1998 – 2000.
•   Secretary, Council of Scientific Society Presidents, 1999 – 2000. (Board member 1998 – 2000).
•   Member, Computing Research Association (CRA) committee on Public Policy, 1992 – 1996.
•   ACM Secretary, 1990 – 1992.
•   Member, ACM Committee on Central and Eastern Europe 1990 – 1996.
•   Vice-chair, SIGACT (Special Interest Group on Automata and Computability Theory, ACM)
    1983 – 1990.
•   Member, ACM Government Information Activities Committee, 1989 – 1990.
•   Chair, ACM Committee on Scientific Freedom and Human Rights, June, 1987 – 1990.
•   Organizer and Chair, SIGACT Science Policy Committee, Nov. 1986 – 1990.

    Miscellaneous Professional Activities

•   Invited panelist, AAAS Workshop on Developing a Research Agenda for Electronic Voting
    Machines, Washington, DC, Sept 17 – 18, 2004.
•   Runner up for the N. American Seat on the ICANN (Internet Corporation for Assigned Names
    and Numbers) Board, 2000.
•   Women in Science



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    •   Invited participant, National Institutes of Health Summits (Achieving XXcellence ’99 and
        AXXS 2000) on Women in Science, Dec. 9 – 10, 1999 and June 2, 2000.
    • Invited participant, National Academy of Engineering Summit on Women in Engineering,
        May 17 – 18, 1999 and June 2, 2000.
    • Invited participant, Women in Science Summit, The Women's Leadership Institute at Mills
        College, Sept. 29 – Oct. 1, 1994.
    • Invited participant, Center for the Advancement of Public Policy multi-media CD-ROM
        project on Women in the Sciences, March 31, 1994.
    • Invited panelist, Forsythe Panel on Women in Computer Science, Stanford Univ., 1986 and
        1989.
    • Invited participant, Conference on Women and Computers, sponsored by MIT, Nov. 1984,
        and May 1985.
•   Associate Editor, ACM Transactions on the Internet Technology (TOIT).
•   Associate Editor, Journal of Computing and Information (JCI).
•   Member, the National Science Foundation's Collaboratives for Excellence in Teacher Preparation
    program review panel, Washington, D.C., Sept. 9 – 11, 1992.
•   Member, the National Science Foundation's Research Initiation Awards panel, Washington, D.C.,
    1989.
•   Invited participant, workshop on Science, Engineering and Ethics: State-of-the-Art, sponsored by
    the AAAS, Feb. 15 – 16, 1988, Boston, MA.
•   Member of the National Research Council's Graduate Fellowship Evaluation Panel in Computer
    Science, Washington, D.C., 1985 – 1987.




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                     EXHIBIT I
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March 15, 2017


The Honorable Brian Kemp
214 State Capitol
Atlanta, Georgia 30334


Dear Secretary Kemp,
On March 3rd it was reported that the Federal Bureau of Investigations is conducting a criminal
investigation into an alleged cyber attack of the Kennesaw State University Center for Election
Systems. According to the KSU Center for Election Systems’ website, “the Secretary of State
authorized KSU to create a Center for Election Systems, dedicated to assisting with the
deployment of the Direct Record Electronic (DRE) voting technology and providing ongoing
support.”1 The Center is responsible for ensuring the integrity of the voting systems and
developing and implementing security procedures for the election management software installed
in all county election offices and voting systems.
The Center has access to most if not all voting systems and software used in Georgia. It also is
responsible for programming these systems and accessing and validating the software on these
systems. It is our understanding that the Center also programs and populates with voter records
the electronic poll books used in polling places statewide. A security breach at the Center could
have dire security consequences for the integrity of the technology and all elections carried out in
Georgia.
In order for citizens to have faith and confidence in their elections, transparency is crucial,
including about events such as the KSU breach, and its extent and severity. While we understand
that this investigation is ongoing and that it will take time for the full picture to emerge, we
request that you be as forthcoming and transparent as possible regarding critical information
about the breach and the investigation, as such leadership not only will be respected in Georgia
but also emulated in other states where such a breach could occur. We expect that you are
already pursuing questions such as the following, regarding the breach, and trust that you will
make public the results of such inquiry:
      1.   Can you estimate when the attacker breached KSU’s system?
      2.   How did the attacker breach KSU’s system?
      3.   How was the breach discovered?
      4.   Which files were accessed?
      5.   Were any files accessed that related to software or "hashes" for the voting machines?
      6.   Is there any evidence that files were modified? If so, which files?
      7.   Had KSU begun ballot builds for the upcoming special election?
      8.   To whom are these attacks being attributed? Could this be an insider attack? Has the FBI
           identified any suspects or persons of interest?


1
    http://elections.kennesaw.edu/about/history.php



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   9. Has the FBI examined removable media for the possibility of implanted malware?
   10. Has the FBI examined the hash or verification program for tampering?
   11. What mitigations are planned for the near- and long-term?
In any state an attack on a vendor providing software and system support with such far-reaching
responsibilities would be devastating. This situation is especially fragile, because of the reliance
on DRE voting machines that do not provide an independent paper record of verified voter
intent. KSU has instead sought to verify the validity of the software on the voting machines by
running a hash program on all machines before and after elections in an effort to confirm that the
software has not been altered. However, if KSU’s election programming were compromised, it
is also possible that the verification program could have been modified to affirm that the
software is correct, even if it were not. This is a risk of using software to check the correctness of
software.
Of course all Georgia elections are important. This month and next include special elections as
well. If these upcoming elections are to be run on DREs and e-pollbooks that are maintained and
programmed by KSU while the KSU Center for Election Systems is itself the subject of an
ongoing criminal investigation, it can raise deep concerns. And today’s cyber risk climate is not
likely to improve any time soon.
We urge you to provide Georgia’s citizens with information they need to confirm before going to
vote that their name will appear correctly on the voter rolls, as well as back-up printed voter lists
in case anomalies appear. Most importantly, we urge you to act with all haste to move Georgia to
a system of voter-verified paper ballots and to conduct post-election manual audits of election
results going forward to provide integrity and transparency to all of Georgia’s elections. We
would be strongly supportive of such efforts and would be willing to help in any way we can.


Sincerely,


 Dr. Richard DeMillo
 Charlotte B, and Roger C. Warren Professor of Computing
 Georgia Tech

 Dr. Andrew W. Appel                                Dr. Duncan Buell
 Eugene Higgins Professor of Computer               Professor, Department of Computer Science
 Science,                                           & Engineering, NCR Chair of Computer
 Princeton University                               Science & Engineering,
                                                    University of South Carolina

 Dr. Larry Diamond                                  Dr. David L. Dill
 Senior Fellow, Hoover Institute and                Professor of Computer Science,
 Freeman Spogli Institute, Stanford University      Stanford University

 Dr. Michael Fischer                                Dr. J. Alex Halderman



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 Professor of Computer Science,                   Professor, Computer Science and Engineering
 Yale University                                  Director, Center for Computer Security and
                                                  Society
                                                  University of Michigan

 Dr. Joseph Lorenzo Hall                          Candice Hoke
 Chief Technologist,                              Co-Director, Center for Cybersecurity &
 Center for Democracy & Technology                Privacy Protection and Professor of Law,
                                                  Cleveland State University

 Harri Hursti                                     Dr. David Jefferson
 Chief Technology Officer and co-founder,         Lawrence Livermore National Laboratory
 Zyptonite, and founding partner, Nordic
 Innovation Labs.

 Dr. Douglas W. Jones                             Dr. Joseph Kiniry
 Department of Computer Science                   Principal Investigator, Galois
 University of Iowa                               Principled CEO and Chief Scientist,
                                                  Free & Fair

 Dr. Justin Moore                                 Dr. Peter G. Neumann
 Software Engineer, Google                        Senior Principal Scientist, SRI International
                                                  Computer Science Lab, and moderator of the
                                                  ACM Risks Forum

 Dr. Ronald L. Rivest                             Dr. John E. Savage
 MIT Institute Professor                          An Wang Professor of Computer Science,
                                                  Brown University

 Bruce Schneier                                   Dr. Barbara Simons
 Fellow and lecturer                              IBM Research (retired),
 Harvard Kennedy School of Government             former President Association for Computing
                                                  Machinery (ACM)

 Dr. Philip Stark                                 Dr. Vanessa Teague
 Associate Dean, Division of Mathematics and      Department of Computing & Information
 Physical Sciences,                               systems, University of Melbourne
 University of California, Berkeley


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                    EXHIBIT J
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May 24, 2017


The Honorable Brian Kemp
214 State Capitol
Atlanta, Georgia 30334


Dear Secretary Kemp,
On March 14th we sent a letter to you expressing grave concerns regarding the security of
Georgia’s voting systems and requesting transparency from your office concerning key questions
about the reported breach at Kennesaw State University Center for Election Systems (KSU).
The FBI has reportedly closed its investigation into the breach at KSU and will not be pressing
federal charges1 but regrettably little more is known. We remain profoundly concerned about the
security of Georgia’s votes and the continued reliance on Diebold paperless touchscreen voting
machines for upcoming elections.2
The FBI’s decision not to press charges should not be mistaken for a confirmation that the voting
systems are secure. The FBI’s responsibility is to investigate and determine if evidence exists
indicating that federal laws were broken. Just because the FBI concluded this hacker did not
cross that line does not mean that any number of other, more sophisticated attackers could not or
did not exploit the same vulnerability to plant malicious software that could be activated on
command. Moreover, the FBI’s statement should not be misinterpreted to conclude that KSU or
the Georgia voting system do not have other security vulnerabilities that could be exploited by
malicious actors to manipulate votes.
Any breach at KSU’s Election Center must be treated as a national security issue with all
seriousness and intensity. We urge you to engage the Department of Homeland Security and the
US Computer Emergency Readiness Team (CERT) to conduct a full forensic investigation. We
cannot ignore the very real possibility that foreign actors may be targeting our election
infrastructure.
The FBI investigation lasted a mere few weeks. It’s our understanding that this investigation was
designed to determine whether criminal charges should be brought. However, a truly
comprehensive, thorough and meaningful forensic computer security investigation likely would
not be completed in just a few weeks, and it could take many months to know the extent of all
vulnerabilities at KSU, if any have been exploited and if those exploits extended to the voting
systems. Time and again cyber breaches are found to have been far more extensive than initially
reported. When the breach at the Office of Personnel and Management was discovered in March
of 2014 it was not disclosed to the public because officials concluded (incorrectly) that there was
no loss of personal identifying information. The system was then reviewed by a private security


1 Torres, Kristina, “Feds: “Security Researcher” behind KSU data breach broke no federal law,” Atlanta Journal Constitution,
March 31, 2017
2 Diamont, Aaron, “KSU takes back seat in Georgia elections after server hack,” WSB-TV2 Atlanta News, March 17, 2017




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firm which determined in May (again incorrectly) that the system’s security was sound.3 One
month later news reports surface warning that 25,000 individuals’ personnel records have been
compromised. A year later, that number had grown to over 21 million plus the fingerprints of 5.6
million employees.4
Problems reported during the April 18th special election have only escalated our concerns.
According to news reports, an error occurred during the uploading of votes in Fulton County on
election night.5 Fulton’s director of registration and elections, claimed that when a memory card
was uploaded to transfer vote totals the operation failed and the system generated an error
message that was “gobbledygook, just junk, just letters.”6 This sort of error message could be the
result of a corrupted database and more investigation is needed.
While one cause of database corruption could be cyber intrusion which should not be ruled out, it
is important to note that it was documented over ten years ago that the Diebold GEMS database
used in Georgia is vulnerable to database corruption, especially if databases are run concurrently7
as reportedly occurred in the recent special election.8 This is because GEMS was built on
Microsoft JETS database software, an outdated database which cannot be relied upon to provide
accurate data.
According to Microsoft:

          “When Microsoft JETS is used in a multi-user environment, multiple client processes are
          using file read, write, and locking operations on a shared database. Because multiple
          client processes are reading and writing to the same database and because JETS does
          not use a transaction log (as do the more advanced database systems, such as SQL
          Server), it is not possible to reliably prevent any and all database
          corruption.”9[Emphasis added.]


The voting system database stores the vote data. Corruption of the database could mean vote
data, or vote counts, are lost. Because Georgia still relies on touchscreen voting machines that do
not provide a paper ballot, if votes data is corrupted, it is possible that vote totals could be lost
and without a physical paper ballot, there is no way to restore and correct the vote count.
This would be an excellent time to move with all expediency to replace Georgia’s outdated
voting system, to adopt paper ballot voting and implement robust manual post-election audits.
The threat that foreign hackers might target the Dutch national elections caused the Netherlands

3 “Timeline: What We Know about the OPM Breach,” NextGov.com, http://www.nextgov.com/cybersecurity/2015/06/timeline-
what-we-know-about-opm-breach/115603/
4 Rosenfeld, Everett, “Office of Personnel and Management: 5.6 million estimated to have fingerprints stolen in breach,” CNBC,

September 23, 2015
5 Kass, Arielle, “’Rare error’ delays Fulton County vote count in 6th district race,” Atlanta Journal Constitution, April 19, 2017
6 Ibid.
7
  Hoke, Candice, Ryan, Thomas, “GEMS Tabulation Database Design Issues in Relation to Voting System Certification
Standards,” https://www.usenix.org/legacy/event/evt07/tech/full_papers/ryan/ryan.pdf
8
  Kass, Arielle, “’Rare error’ delays Fulton County vote count in 6th district race,” Atlanta Journal Constitution, April 19, 2017
9 How to Troubleshoot and to Repair a Damaged Access 2002 or Later Database, (Rev. 6.1 2006) at

http://support.microsoft.com/default.aspx?scid=kb;en-us;283849




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to cancel all electronic voting and hold its March elections on paper ballots. The U.S. has not
responded to the threat of foreign hacking with the same accountability and speed. The former
director of U.S, national intelligence James Clapper recently told Congress that foreign hackers
will continue to attack and we should expect them in the 2018 and 2020 elections.10
We believe this is a profoundly serious national security issue. We stand ready to help you any
way we can to help protect our democratic process and regain the confidence of voters.


Sincerely,


 Dr. Richard DeMillo
 Charlotte B, and Roger C. Warren Professor of Computing
 Georgia Tech

 Dr. Andrew W. Appel                                        Dr. Duncan Buell
 Eugene Higgins Professor of Computer                       Professor, Department of Computer Science
 Science,                                                   & Engineering, NCR Chair of Computer
 Princeton University                                       Science & Engineering,
                                                            University of South Carolina

 Dr. David L. Dill                                          Dr. Michael Fischer
 Professor of Computer Science,                             Professor of Computer Science,
 Stanford University                                        Yale University


 Dr. J. Alex Halderman                                      Candice Hoke
 Professor, Computer Science and Engineering                Co-Director, Center for Cybersecurity &
 Director, Center for Computer Security and                 Privacy Protection and Professor of Law,
 Society                                                    Cleveland State University
 University of Michigan


 Harri Hursti                                               Dr. David Jefferson
 Chief Technology Officer and co-founder,                   Lawrence Livermore National Laboratory
 Zyptonite, and founding partner, Nordic
 Innovation Labs.

 Dr. Douglas W. Jones                                       Dr. Joseph Kiniry
 Department of Computer Science                             Principal Investigator, Galois
 University of Iowa                                         Principled CEO and Chief Scientist,
                                                            Free & Fair



10
     Ng, Alfred, “Ex-intel chief James Clapper warns of more Russian hacks,” CNET, May 8, 2017




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         Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 216 of 249




 Dr. Ronald L. Rivest                              Dr. John E. Savage
 MIT Institute Professor                           An Wang Professor of Computer Science,
                                                   Brown University

 Dr. Barbara Simons                                Dr. Philip Stark
 IBM Research (retired),                           Associate Dean, Division of Mathematics and
 former President Association for Computing        Physical Sciences,
 Machinery (ACM)                                   University of California, Berkeley

 Dr. Vanessa Teague
 Department of Computing & Information systems,
 University of Melbourne

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                                                                        EXHIBIT 3 -- Page 4
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                    EXHIBIT K
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                      OFFICE OF SECRETARY OF STATE

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      the attached nine pages , labeled A through I, are true and correct copies

      of voting equipment certifications; all as same appear on file in this office . -~




 ,---------------                        IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                                 the seal of my office, at the Capitol, in the C ity of At lanta,
                                                 this 18th day of April , in the yea r of our Lord Two
                                                 Thousand and Eight and of the Independence of the United
                                                 States of America the Two Hundred and Th irty-Second.




                                                               ~ t .~
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                                                           Karen C. Handel, Secretary of State
                         Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 220 of 249




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   the attached one ( 1) page constitutes a true and correct copy of the

   certification of the AccuVote TS R6 Voting System, consisting of GEMS

   Version 1.1822G, A VTS firmware version 4.5.2, AVOS firmware version

   1.94W, Encoder software1 .3.2, and Key Card Tools 1.0.1, manufactured

   by Diebold Election Systems, Inc., 1611 Wilmeth Road, McKinney, Texas

   75069, for use by the electors of the State of Georgia in all primaries and

   elections as provided in Georgia Election Code 21-2 ; all as same appear




  ~"v--,;....___,   __    ____. ____   .....--...~...--..---.--------.IN'l'ESTIMONY WHEREOF , I have hereunto set my hand and affixed
                                                                               the sea l of my office, at the Cap itol, in the C ity of At lanta,
                                                                               this 27t h da y of November, in the yea r of o ur Lo rd Two
                                                                               Thou sand and Seve n and of th e Independenc e of the United
                                                                               State s of America the Two Hundr ed and Th irty-Seco nd.




                                                                                        ~~fu/JJ
                                                                                    Karen C. Handel, Secretary of State
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                                                                                                                                        -
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             OFFICE OF SECRETARY OF STATE

_JJ Cathi/ Cox)Secretar'jo/ St ate o/ theSta te o/ (feor9iaJdohereb'j
                                    certi/rJthat
 The AccuVote TS R6 and the AccuVote TSX Voting system, consisting of
 GEMS version 1.18.22G, AVTS firmware version 4 .5.2, AVOS
 version1 .94w, Encoder software version 1.3.2, Key Card Tool 1.01, and
 ExpressPoll version 1.2.53, manufactured by Diebold Election Systems ,
 Inc., 1253 Allen Station Parkway, Allen , Texas 75002, has been
 thoroughly examined and tested and found to be in compliance with the
 applicable provisions of the Georgia Election Code, the Rules and
 Regulations of the State Election Board, and the Rules of the Secretary of
 State , and as a result of this inspection , it is my opinion that this kind of
 Direct Record Electronic voting system and its components can be safely
 used by the electors of this state in all primaries and elections as provided
 in Georgia Election Code 21-2; provided however, I hereby reserve my
 opinion to reexamine this Direct Record Electronic voting system and its
 components at anytime so as to insure that it continues to be one that can
 be safely used by the voters of this state.--~--~~--~~--~~                      :::,-<»



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                    IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                         the sea l of my office, at the Capi tol, in the City of Atl anta,
                                         this I 0th day of July, in the year of our Lord Two Thousan d
                                         and S i x a nd of t h e I n d epende n ce of th e United
                                         States of America the Two Hundred and Thirty-F irst.
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            OFFICE OF SECRETARY OF STATE

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                                    cerli/2lhal
  For the purposes of a Conditional Interim Certification the AccuVote TS
  R6 and the AccuVote TSX Voting System, consisting of GEMS version
   1.18.24, AVTS firmware version 4.6.4, and AVTS voting stations with the
  attached AccuView Printer Module (The following components of the
  Georgia voting system were included in the test to verify compatibility:
  GEMS 1.18.22G, AccuVote TS R6 voting stations with firmware AVTS
  4.5.2, AccuVote TSX voting stations with AccuVote firmware AVTS 4.5 .2,
  and ExpressPoll 4000 1.2.0.), manufactured by Diebold Election Systems,
  Inc., 1253 Allen Station Parkway, Allen, Texas 75002, has been
  thoroughly examined and tested and found to be in compliance with the
  applicable provisions of the Georgia Election Code, the Rules and
  Regulations of the State Election Board, and the Rules of the Secretary of
  State, and as a result of this inspection, it is my opinion that this kind of
  Direct Record Electronic voting system and its components can be safely
  used by the electors of this state in all primaries and elections as provided
  in Georgia Election ·code 21-2; the Conditional Interim Certification shall
  expire on December 31. 2006 ______    ____

                                IN TESTIMONY WHEREOF, I have hereunto set my hand and affixe d
                                        th e sea l of my offi ce, at the Capitol, in the City of A tlanta ,
                                        thi s 9th da y of Au gust , in the yea r of ou r Lo rd Two
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                                        States of Ame rica the Two Hundred and Thirty -First.
          Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 223 of 249




                 OFFICE OF SECRET ARY OF ST ATE

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     The AccuVote TS R6 and the AccuVote TSX Voting system , consisting of
     GEMS version 1.18.22G , A VTS firmware version 4 .5.2, AVOS
     version1 .94w , Encoder software version 1.3.2, Key Card Tool 1.01, and
     ExpressPoll version 1.2.53 , manufactured by Diebold Election Systems ,
     Inc., 1253 Allen Station Parkway , Allen, Texas 75002 , has been
     thoroughly examined and ·tested and found to be in compliance with the
     applicable provisions of the Georgia Election Code, the Rules and
     Regulations of the State Election Board, and the Rules of the Secretary of
     State, and as a result of this inspection, it is my opinion that this kind of
     Direct Record Electronic voting system and its components can be safely
     used by the electors of this state in all primar ies and elections as provided
     in Georgia Election Code 21-2; provided however, I hereby reserve my
     opinion to reexamine this Direct Record Electronic voting system and its
     components at anytime so as to insure that it continues to be one that can
     be safely used by the vote rs of th is state .        ----~---~- - - -----:
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                                _____
                                   ______ ____ IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                                   the sea l of my office, at the Cap itol, in the City of Atlanta ,
                                                   this 14th day of April , in the year of our Lord Two
                                                   Thousand and Six and of the Independe nce of the United
                                                   States of America the Two Hundred and Thirtieth .
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            OFFICE OF SECRETARY OF STATE

.J, Cath';jCox,Secretar';jo/ State o/ theState o/ {Jeorgia,dohereb'f
                                   certi/rJ
                                         that
 The AccuVote TS R6 Voting system , consisting of GEMS version
 1.18.22G, AVTS firmware version 4.5.2, AVOS version1 .94w, Encoder
 software version 1.3.2, Key Card Tool 1.01, and ExpressPoll version
 1.2.53, manufactured by Diebold Election Systems , Inc., 1611 Wilmeth
 Road, McKinney, Texas 75069, has been thoroughly examined and tested
 and found to be in compliance with the applicable provisions of the
 Georgia Election Code, the Rules and Regulations of the State Election
 Board, and the .Rules of the Secretary of State, and as a result of this
 inspection, it is my opinion that this kind of Direct Record Electronic voting
 system and its components can be safely· used by the electors of this
 state in all primaries and elections as provided in Georgia Election Code
 21-2; provided however, I hereby reserve my opinion to reexamine this
 Direct Record Electronic voting system and its components at anytime so
 as to insure that it continues to be one that can be safely used by the
                     --~ ~-
 voters of this state.



                       ---      IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                        the seal of my office, at the Cap itol , in the City of Atlan ta,
                                        this 20th day of September, in the yea r of ou r Lord Two
                                        Thousand and Five and of the Ind epende nce of the United
                                        States of America the Two Hundred and Thirtieth.
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                OFFICE OF SECRETARY OF STATE

J-) Cath'j Cox)S ecretar'j o/ St ate o/ the St ate o/ (}eor9ia)Johereb'j
                                                  certi/2that
  The AccuVote TS R6 Voting system, consisting of GEMS version
  1.18.22G, A VTS firmware version 4.5 .2, AVOS version 1.94w, Encoder
  software version 1.3.2 , Key Card Tool 1.01, and ExpressPoll version
  1.2.53, manufactured by Diebold Election Systems, Inc., 1611 Wilmeth
  Road , McKinney, Texas 75069, has been thoroughly examined and tested
  and found to be in compliance with the applicable provisions of the
  Georgia Election Code, the Rules and Regulations of the State Election
  Board , and the Rules of the Secretary of State, and as a result of this
  inspection, it is my opinion that this kind of Direct Record Electronic voting
  system and its components can be safely used by the electors of this
  state in all primaries and elections as provided in Georgia Election Code
  21-2 ; provided however, I hereby reserve my opinion to reexamine this
  Direct Record Electronic voting system and its components at anytime so
  as to insure that it continues to be one that can be safely used by the
  vote rs of this state. ---------~-----------------------------------------------------::::::::::::::::,,::::--


                              .....,,-------
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                     -- ~               -      IN TESTIMONY WHERE OF, I have hereunto set my hand and affixed
                                                       the seal of my off ice, at th e Capi to l, in the City of Atlant a,
                                                       thi s 20th day of Septem ber, in the yea r of ou r Lo rd Two
                                                       Thousand and Five and of the Independ ence of the Un ite d
                                                       States of America the Two Hundred and Thirtieth.
               Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 226 of 249




             OFFICE OF SECRETARY OF STATE

!}., Cathlj Cox,Secrelarljo/ Stat e o/ lhe Stale o/ (/eorgia,dohereblj
                                         certi/tJthat
 the AccuVote TS R6 Voting System , consisting of GEMS Version
  1.18.22G, AVTS firmware version 4.5 .2, AVOS firmware version 1.94W ,
 Encoder software 1.3.2, and Key Card Tools 1.0.1, manufactured by
 Diebold Election Systems , Inc., 1611 Wilmeth Road, McKinney , Texas
 75069 , has been thoroughly examined and tested and found to be in
 compliance with the applicable provisions of the Georgia Election Code,
 the Rules of the State Elections Board and the Rules of the Secretary of
 State, and as a result of this inspection , it is my opinion that this kind of
 Direct Record Electronic voting system and its components can be safely
 used by the electors of this state in all primaries and elections as provided
 in Georgia Election Code 21-2; provided, however , I hereby reserve my
 option to reexamine this Direct Record Electronic voting system and its
 components at anytime so as to insure that it continues to be one that can
 be safely used-by the voters of this state.,~-------------------------------------------~




               ----------------------~     IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed
                                             the sea l of my office , at the Ca pit ol, in the City of Atlanta ,
                                             thi s 3 1st day of December , in th e year of ou r Lord Two
                                             T housa nd and Four and of the Ind epe nde nce of the Un ited
                                             State s of America the Two Hundred and Tw e nty -N inth .
                       Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 227 of 249




  ~ C(f~                             C(fox,,/]J~                        o//]J(a/4 o/Ute /]J(a/4 o/
<{]-~.J              do~                                   ~ tftat"                  the AccuVote TS R6 Voting

   System, consisting of GEMS Version 1.18.15, and the AVTS firmware, Version 4.3.14,
   manufactured by Diebold Election Systems, Inc., 1611 Wilmeth Road, McKinney, Texas
   75069, has been thoroughly examined and tested and found to be in compliance with the
   applicable provisions of the Georgia Election Code, the Rules of the State Elections
   Board and the Rules of the Secretary of State , and as a result of this inspection, it is my
   opinion that this kind of Direct Record Electronic voting system and its components can
   be safely used by the electors of this state in all primaries and elections as provided in
   Georgia Election Code 21-2; provided, however, I hereby reserve my option to reexamine
   this Direct Record Electronic voting system and its components at anytime so as to insure
   that it continues to be one that can be safely used by the voters of this state ..........,.____.
                                                                                              ________________
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      __....__....,__...........--...._-,..._,..__.._.,.
                                                 .       -
                                                    ._-----   IN TEsTIMONY WHEREOF, I have hereunto set my hand and affixed

                                                                the seal of my office, at the Capitol, in the City of Atlanta, this

                                                                 1oth   day of    February                , in the year of our Lord

                                                                Two Thousand     and Three
                                                                and of the Independence of the United States of America the

                                                                Two Hundred and Twenty-ninth
                                           Case 1:17-cv-02989-AT Document 2 Filed 08/08/17 Page 228 of 249


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             System, consisting of the A VTS firmware, Version 4.1 .11, manufactured by Diebold
             Election Systems, Inc., 1611 Wilmeth Road , McKinney, Texas 75069, has been
             thorou ghly examined and tested and found to be in compliance with the applicable
             pro visions of the Georg ia Elect ion Code , the Rules of the State Election s Board and the
             Rules of the Secretary of State, and as a result of this inspec tion , it is my opinion that this
             kind of Direct Record Electronic voting system and its components can be safe ly used by
             the electors of this state in all primari es and elections as provided in Georgia Election
             Code 2 1-2; provided , however, I hereby reserve my option to reexamine this Direct
             Record Electronic voting system and its components at anytime so as to insure that it
             continues to be one that can be safe ly used by the voters of this state . .,,.....,.~~--- ...........
                                                                                                             ....-...~




                                                                     IN TESTIMONYWHEREOF,I have hereunto set my hand and affixed

                                                                          the sea l of my office, at the Capitol, in the City of Atlanta, this

                                                                           23 th day of     May                     , in the year of our Lord

                                                                          Two Thousand      and Two
                                                                          and of the Independence of the United States of America the

                                                                          Two Hundred and Twenty -sixth




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                    EXHIBIT L
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                    EXHIBIT M
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                                      George Balbona
                         180 Mathews Circle, Marietta, Georgia 30067
                    Telephone: (404) 641-9632 Email: balbonag@mac.com


                                          June 26, 2017

PETITION FOR RECANVASS BY ELECTORS IN THE 6th DISTRICT OF GEORGIA

We, citizens of the 6th District of DeKalb County, Georgia, hereby petition a recanvass of all the
memory cards (PCMCIA cards) for the following precincts in DeKalb County:

            Briarwood
            Ashford Park Elem
            Kittredge Elem
            Cross Keys High
            Mt Vernon West


Recounts and Recanvasses are governed by the Rules of the State Election Board of Georgia, Ga
Comp. R. & Regs. 183-1-12-.01:

           (7) Recounts and Recanvass.
                  (a) The election superintendent shall, either of his or her own
                      motion, or upon petition of any candidate or political party
                      or three electors of the county or municipality, as may be
                      the case, order a recanvass of all the memory cards
                      (PCMCIA cards) for a particular precinct or precincts for
                      one or more offices in which it shall appear that a
                      discrepancy or error, although not apparent on the face of
                      the returns, has been made. Such recanvass may be held at
                      any time prior to the certification of the consolidated
                      returns by the election superintendent and shall be
                      conducted under the direction of the election
                      superintendent. Before making such recanvass, the
                      election superintendent shall give notice in writing to each
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                       candidate and to the county chairperson of each party or
                       body affected by the recanvass. Each such candidate may
                       be present in person or by representative and each such
                       political party or body may send two representatives to be
                       present at such recanvass. If upon such recanvass, it shall
                       appear that the original vote count was incorrect, such
                       returns and all papers being prepared by the election
                       superintendent shall be corrected accordingly.


                  (b) The election superintendent shall conduct the recanvass
                      by breaking the seal, if the ballots cards have been sealed,
                      on the container containing the memory cards (PCMCIA
                      cards) and removing those memory cards (PCMCIA cards)
                      for the precinct or precincts for which the recanvass is
                      being conducted. The election superintendent shall then
                      cause the vote totals on each of the memory cards
                      (PCMCIA cards) to be transferred to either an accumulator
                      DRE unit or to the election management system computer.
                      After all of the vote totals from the memory cards
                      (PCMCIA cards) for the precinct or precincts for which the
                      recanvass is being conducted have been entered, the
                      election superintendent shall cause a printout to be made
                      of the results and shall compare the results to the results
                      previously obtained. If an error is found, the election
                      superintendent shall correct the error in the returns
                      accordingly.

We, three electors of the 6th District in DeKalb County, Georgia, hereby petition for a recanvass
of all of the memory cards for the aforementioned precincts because they may contain errors
and discrepancies, which must be examined and corrected.

Respectfully submitted,

            George Balbona
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                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 24, 2017

Fulton County Board of Elections
Hand delivered
(Also via email felisa.cordy@fultoncountyga.gov
richard.barron@fultoncountyga.gov
Dwight.Brower@fultoncountyga.gov )


Dear Fulton County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were voters in the June
20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. Fulton County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct of the Superintendent and staff by
certifying the election where legally required controls were absent, security protections
failed, and irregularities in the required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, Fulton County officials have been aware of gravely
      concerning security failures and intrusions, and the lack of even a minimally
      secured voting system. Officials are and have been aware of expert testimony in
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   the June 7 Curling v. Kemp et al. hearing that the security lapses render the
   system insecure and unfit for the conduct of the election. It goes without saying
   that the security failures have placed the results in considerable doubt, and
   results should not be certified. The extensive level of the security failures was
   further exposed in press reports before Election Day of the multiple intrusions
   into the wide-open CES server.
   (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
   election-get-hacked-215255 ) Fulton officials ignored the dire warning the reports
   provided. Such misconduct on the part of officials must not be exacerbated by
   certifying the returns.

2. On April 18, Fulton County officials exposed the GEMS server and all memory
   cards to cyber security attack from the Internet by using a common, shared flash
   drive to upload from the GEMS server to the on-line Clarity ENR system, and
   then reusing that flash drive in the GEMS server. Such serious lapses in security
   hygiene must be presumed to have compromised the system, and constitute
   misconduct on the part of the officials. It cannot be reasonably assumed that the
   system was safe for vote recording and tabulation, even if this practice had been
   discontinued on June 20. Exposure to the Internet via shared flash drives
   undermined the security of the entire election.

   Although regulations require direct upload of memory cards to the GEMS server
   for official results with the stated intent of avoiding cyber-attacks in election night
   electronic transmission, the poor security hygiene practices in Fulton County only
   escalate the risk of cyber-attack. The memory cards and the GEMS server were
   exposed and made vulnerable during the election night electronic transmission
   and during the physical upload to the GEMS server after the GEMS server was
   exposed to the Internet through the irresponsible use of shared flash-drives.
   Such misconduct cannot be ignored by this board.

3. The Fulton County collection centers’ use of TSx machines to transmit votes from
   TS machines over modem is not a federally approved standard use of the TSx
   machine, and not certified to be configured, connected and used in this manner,
   which exposes the memory cards and GEMS server to cyber-attacks during
   electronic transmission.

4. The election has been conducted on an illegal voting system that fails to comply
   with Georgia’s election code and related rules. The Secretary of State has not
   certified the system currently in use as a voting system that can be used “safely
   and accurately” as required by §21-2-379.2(a). The most recent system
   certifications by the Secretary of State office have not addressed the safety and
   accuracy of the systems as require by statute, nor have such certifications
   covered the current system configuration. Fulton County has chosen to deploy a
   collection of components that do not meet either the state statutes for an
   approved voting system or the Secretary of State’s regulations for certified voting
   systems.
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5. Physical security of the machines was inadequate prior to the election and during
   early voting. Given the known exposure of Georgia’s system to cyber-attacks and
   the risk of undetected hacking, it was irresponsible of Fulton County Board and
   Superintendent to leave machines exposed to easy access by malicious
   intruders cutting cables and using and replacing tamper-evident seals with
   identical seals. Although current regulations may permit such risky machine
   storage in unsecured areas, the board must not irresponsibly rely on permissive
   and outdated regulations when grave security risks are known to exist.
   Responsible decisions must be made in light of existing circumstances. If a
   hallway were flooded with water, machines would not be placed in the water just
   because the regulations don’t prohibit putting machines in flooded areas. Officials
   have a duty to protect the voting system, and have failed in that duty, in a
   negligent abuse of discretion.

6. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
   assurance of machine accuracy in the wake of the numerous security failures in
   various areas of the system. As you know, the LAT procedure tests machine
   operations only in “test mode,” and is not a reflection of whether the machine
   performs accurately in “election mode.”

7. On April 18, Fulton County experienced memory card uploading problems to the
   GEMS server. Officials stated that the GEMS server displayed a message that
   the upload was successful, with no error messages received until the export of
   the data from GEMS to the Clarity system. The Superintendent and Board are
   aware that a functioning, certified GEMS server produces error messages. and
   does not permit the upload of improper memory cards. This serious problem of
   no error message signals that the GEMS server is not in safe and proper
   operational condition, and cannot be relied on to generate accurate election
   results.

8. The barrage of recent national news with new information on the extent of
   Russian interference with 2016 elections cannot be ignored given the now
   proven open access to Georgia’s system that existed in 2016 and until at least
   March 2017. The Board and Superintendent must fulfil their legal duty to conduct
   a secure election free from the threats of a compromised system.

9. Despite the Superintendent’s authority to order a paper ballot election given the
   known security threats to the DRE system and illegal system configuration, the
   Superintendent abused his discretion by ignoring multiple expert warnings and
   conducting the election on a system he knew to be insecure and in violation of
   laws and regulations. Mr. Barron was present for testimony in the June 7 Curling
   v. Kemp hearing, and received the pleading including experts’ affidavits in that
   case, and therefore had more than adequate knowledge of the dangers of the
   uncertified system to require that he employ paper ballots for the proper conduct
   of the election.
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This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified. It supplements the petition for
paper ballots delivered to this board on May 11. (attached.)

Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,

Marilyn Marks
Executive Director
Rocky Mountain Foundation
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                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 26, 2017

Director Daniels and DeKalb County Board of Elections
Hand delivered
(Also via email voterreg@dekalbcountyga.gov )

Dear Director Daniels and DeKalb County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were eligible voters in
the June 20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. DeKalb County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election, or the
results you plan to certify today.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct by certifying the election where legally
required controls were absent, security protections failed, and irregularities in the
required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, DeKalb County officials have been aware of gravely
      concerning security failures and intrusions, (particularly those at KSU), and the
      lack of even a minimally secured voting system. Officials are and have been
      aware of expert testimony in the June 7 Curling v. Kemp et al. hearing that the
      security lapses render the system insecure and unfit for the conduct of the
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       election. It goes without saying that the security failures have placed the results
       in considerable doubt, and results should not be certified. The extensive level of
       the security failures was further exposed in press reports before Election Day of
       the multiple intrusions into the wide-open CES server.
       (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
       election-get-hacked-215255 ) DeKalb officials ignored the dire warning the
       reports provided. Such misconduct on the part of officials must not be
       exacerbated by certifying the returns.


   2. The election has been conducted on an illegal voting system that fails to comply
      with Georgia’s election code and related rules. The Secretary of State has not
      certified the system currently in use as a voting system that can be used “safely
      and accurately” as required by §21-2-379.2(a). The most recent system
      certifications by the Secretary of State office have not addressed the safety and
      accuracy of the systems as require by statute, nor have such certifications
      covered the current system configuration. DeKalb County has chosen to deploy a
      collection of components that do not meet either the state statutes for an
      approved voting system or the Secretary of State’s regulations for certified voting
      systems.


   3. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
      assurance of machine accuracy in the wake of the numerous security failures in
      various areas of the system. As you know, the LAT procedure tests machine
      operations only in “test mode,” and is not a reflection of whether the machine
      performs accurately in “election mode.”

   4. The barrage of recent national news with new information on the extent of
      Russian interference with 2016 elections cannot be ignored given the now
      proven open access to Georgia’s system that existed in 2016 and until at least
      March 2017. The Board and Elections Director must fulfil their duty to conduct a
      secure election free from the threats of a compromised system.

   5. Despite the Board’s authority to order a paper ballot election given the known
      security threats to the DRE system and illegal system configuration, the Director
      and Board abused their discretion by ignoring multiple expert warnings and
      conducting the election on a system she knew to be insecure and in violation of
      laws and regulations. The board was represented by attorneys for testimony in
      the June 7 Curling v. Kemp hearing, and received the pleadings in that case, and
      therefore had more than adequate knowledge of the dangers of the uncertified
      and compromised system to require that Ms.Daniels and the board employ paper
      ballots for the proper conduct of the election.

This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified.
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Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,


Marilyn Marks
Executive Director
Rocky Mountain Foundation

cc: Bennett Bryan (bdbryan@dekalbcountyga.gov )
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                           Rocky Mountain Foundation
                           7035 Marching Duck Drive E504
                                Charlotte, NC 28210
                                   704 552 1518
                        Marilyn@RockyMountainFoundation.org


June 26, 2017

Director Eveler and Cobb County Board of Elections
Hand delivered
(Also via email dwhite@hlclaw.com)


Dear Director Eveler and Cobb County Board of Elections:

As you consider the certification of the 6th Congressional District special election, we
respectfully request that you decline to certify the June 20 election results. Rocky
Mountain Foundation is a non-profit, non-partisan organization focused on election
integrity, and makes this request on behalf of our members who were eligible voters in
the June 20 election.

Significant security lapses and system intrusions are known to have plagued the voting
system in the months leading up the election. Cobb County election officials have not
taken responsible forensic measures to analyze whether the system was safe for use,
and in fact, has irresponsibly and repeatedly ignored experts’ warnings that the system
cannot be considered secure or accurate for the conduct of the June 20 election, or the
results you plan to certify today.

The current situation is analogous to a paper ballot election conducted using an
unsecured ballot box left open for the entire election with only sporadic oversight. This
board would be unable to certify the results of such a paper ballot election because of
the security failure of chain of custody of the ballots. The situation today with voters’
electronic ballots is no different. The ongoing significant security failures cannot be
overcome to permit a certification of the election.

We urge you not to ratify the improper conduct of the Superintendent and staff by
certifying the election where legally required controls were absent, security protections
failed, and irregularities in the required protocols exist in numerous areas.

The election results should not be certified for several reasons:

   1. For several months, Cobb County officials have been aware of gravely
      concerning security failures and intrusions, and the lack of even a minimally
      secured voting system. Officials are and have been aware of expert testimony in
      the June 7 Curling v. Kemp et al. hearing that the security lapses render the
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       system insecure and unfit for the conduct of the election. It goes without saying
       that the security failures have placed the results in considerable doubt, and
       results should not be certified. The extensive level of the security failures was
       further exposed in press reports before Election Day of the multiple intrusions
       into the wide-open CES server.
       (http://www.politico.com/magazine/story/2017/06/14/will-the-georgia-special-
       election-get-hacked-215255 ) Cobb officials ignored the dire warning the reports
       provided. Such misconduct on the part of officials must not be exacerbated by
       certifying the returns.


   2. The election has been conducted on an illegal voting system that fails to comply
      with Georgia’s election code and related rules. The Secretary of State has not
      certified the system currently in use as a voting system that can be used “safely
      and accurately” as required by §21-2-379.2(a). The most recent system
      certifications by the Secretary of State office have not addressed the safety and
      accuracy of the systems as require by statute, nor have such certifications
      covered the current system configuration. Cobb County has chosen to deploy a
      collection of components that do not meet either the state statutes for an
      approved voting system or the Secretary of State’s regulations for certified voting
      systems.


   3. The Board cannot reasonably rely on Logic and Accuracy Testing for any level of
      assurance of machine accuracy in the wake of the numerous security failures in
      various areas of the system. As you know, the LAT procedure tests machine
      operations only in “test mode,” and is not a reflection of whether the machine
      performs accurately in “election mode.”

   4. The barrage of recent national news with new information on the extent of
      Russian interference with 2016 elections cannot be ignored given the now
      proven open access to Georgia’s system that existed in 2016 and until at least
      March 2017. The Board and Elections Director must fulfil their duty to conduct a
      secure election free from the threats of a compromised system.

   5. Despite the Director’s authority to order a paper ballot election given the known
      security threats to the DRE system and illegal system configuration, the Director
      abused her discretion by ignoring multiple expert warnings and conducting the
      election on a system she knew to be insecure and in violation of laws and
      regulations. Ms. Eveler was present for testimony in the June 7 Curling v. Kemp
      hearing, and received the pleadings in that case, and therefore had more than
      adequate knowledge of the dangers of the uncertified and compromised system
      to require that she employ paper ballots for the proper conduct of the election.

This list is not exhaustive, but provides overwhelming rationale that dictates that a
certification of this election cannot be reasonably justified.
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Thank you for your consideration in this matter. We are happy to provide further
documentation of our concerns if it would be helpful to you in your deliberations.


Sincerely,


Marilyn Marks
Executive Director
Rocky Mountain Foundation

cc: Daniel W. White (dwhite@hlclaw.com )
